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Attorney for Plaintiffs

                               UNITED STATES DISTRICT COURT

                                     FOR THE DISTRICT OF IDAHO

 LYNN AND GLENN RASMUSSEN, a
 married couple residing in Grace, Idaho
                                               Case No. _______________________
       Plaintiffs and Petitioners,
                                               VERIFIED COMPLAINT, PETITION
 vs.                                           FOR INJUNCTIVE RELIEF, AND
                                               WRIT OF MANDATE
 J.R. SIMPLOT COMPANY, a Nevada
 corporation, IDAHO DEPARTMENT OF
 AGRICULTURE, a department organized
 under the State of Idaho, IDAHO
 DEPARTMENT OF
 ENVIRONMENTAL QUALITY, a
 department organized under the State of
 Idaho, U.S. ENVIRONMENTAL
 PROTECTION AGENCY, an agency of
 the United States of America, JOHN AND
 JANE DOES I-X, yet unknown parties

   Defendants and Respondents,


          COMES NOW, Plaintiffs LYNN AND GLENNA RASMUSSEN, a married couple, by

and through their attorney Nathan M. Olsen, of OLSEN TAGGART PLLC, and complains and seeks

relief against the above captioned Defendants for the actions of their agents and representatives

as follows:
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                                            PARTIES

   1. Plaintiffs and Petitioners Lynn and Glenna Rasmussen, hereafter referred to collectively

as “Rasmussen” or “Rasmussens,” and individually as “Lynn,” or “Glenna” are a married couple

residing in Grace, Idaho, who own and operates a cattle ranch in the Caribou Mountain Range in

Southeast Idaho, hereafter referred to as the “Ranch” or “Rasmussen Ranch.” Rasmussen’s son

Danny Rasmussen, hereafter referred to as “Danny,” is a designated agent of the Rasmussens

authorized to manage, operate and conduct the affairs of the Ranch.

   2. Defendant and Respondent J.R. Simplot Company, hereafter referred to as “Simplot,” is a

private corporation organized under the laws of the State of Nevada, and whose corporate

headquarters is located in Boise, Idaho.

   3. Defendant and Respondent, Idaho Department of Agriculture, hereafter referred to as

“IDA” and its Animal Industry Division, hereafter referred to as “IDAID,” is a department

organized under the laws of the State of Idaho and is governed by the Idaho State Governor Brad

Little. The IDA Director is Chanel Tewalt, hereafter referred to as “Tewalt,” and its Deputy

Director is Lloyd Knight, hereafter referred to as “Knight.” IDAID is charged with duties and

powers for the movement and disease control of livestock pursuant to I.C. §§ 25-203 – 214. The

Idaho State Veterinarian is Dr. Scott Liebsle, hereafter referred to as “Liebsle,” who is charged

with duties under the IDAID statutes and rules.

   4. The Idaho Department of Environmental Quality, hereafter referred to as “IDEQ,” is a

department organized under the laws of the State of Idaho and is governed by the Idaho State

Governor Brad Little. The IDEQ Director is Jesse Byrne. Subject to the terms of a

Memorandum of Agreement between the IDEQ and the U.S. Environmental Protection Agency


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(EPA) dated May 24, 2018, hereafter referred to as the “2018 EPA/IDEQ MOA,” IDEQ is

charged with compliance and enforcement of the U.S. Clean Water Act (CWA) 33 U.S.C. § 1251

et seq. (formerly the "Water Pollution Prevention and Control Act”) in the State of Idaho. Per the

terms of a Memorandum of Understanding between IDEQ and the U.S. Forest Service’s

Northern and Intermountain Regions, dated February 10, 2020, hereafter referred to as the “2020

FS/IDEQ MOU,” the IDEQ is charged with administering and enforcing CWA provisions of the

in the U.S. Forest Service lands in the State of Idaho.

   5. The U.S. EPA is an agency organized and administered under the laws of the United

States of America. The EPA’s Region 10 subdivision is responsible for enforcing and

administering EPA programs in the State of Idaho. The EPA administers the provisions of the

“Comprehensive Environmental Response, Compensation, and Liability Act” (CERCLA), 42

U.S.C. § 9601 et seq, and the “National Oil and Hazardous Substances Pollution Contingency

Plan” (NCP), which outlines CERCLA’s implementing regulations. The NCP sets the procedures

and standards that must be followed for enforcement and remediation of Agencies must follow

the procedures and standards detailed in the NCP the cleanup of hazardous substances releases,

the “Hazardous Substance Superfund,” hereafter referred to as “Superfund” for the remediation

of hazardous material on designated sites. The EPA Region 10 also retains some oversight and

enforcement authority of the IDEQ’s administration of the CWA in accordance with 40 CFR §

123.24(a), other applicable federal regulations, and the terms of the 2018 EPA/IDEQ MOA. As

noted in Section IX of this MOA: “If EPA determines that IDEQ has not taken timely

enforcement action against a violator and/or that the enforcement action has not been

appropriate, EPA may proceed with any or all enforcement options available under CWA §309.”


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    6. Defendants and respondents John and Jane Does I-X are yet to be known liable or

necessary parties to this action.

                                    JURISDICTION AND VENUE

    7. Jurisdiction is properly before the U.S. District Court of Idaho under 28 U.S.C. § 1331,

because this action involves several federal questions under the laws of the United States, and

under 28 U.S.C. § 1332 in that Simplot is a Nevada corporation and the Rasmussens are citizens

of Idaho, and that the amount in controversy exceeds $75,000.

    8. Jurisdiction is properly before the U.S. District Court of Idaho under 28 U.S.C. § 1367(a)

or the plaintiffs/petitioners state law claims form part of the same case or controversy as claims

within the court's original jurisdiction.

    9. Venue is appropriate in the U.S. District of Idaho located in Boise, Idaho under 28 U.S.C.

§ 1391(c)(2) in that defendant/respondents Simplot’s principal place of business is in Boise,

Idaho, and under U.S.C. § 1391(e) for the IDA, IDEQ, and the EPA, all of which reside and have

offices in Boise, Idaho.

    I. Facts

            A. Rasmussen Ranch and Operation Overview.

    10. The Rasmussens own and operate a cattle ranch in the Caribou Mountain Range in

Southeast Idaho (hereafter the "Rasmussen Ranch"). The Rasmussen Ranch has operated in the

same location for seven generations over the last 154 years, using the same cattle brand, "S

Quarter Circle," since its inception. This is one of the oldest brands recorded in Idaho, dating

back prior to statehood when the State was a territory in 1871.




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   11. The Rasmussen Ranch operation consists of 300 to 350 cows with 20 to 30 bulls, which

produces 285-300 calves annually. The ranch is one of the few remaining complete self

sustaining ranches in Idaho. The ranch is fully enclosed, which means it only runs one iron brand

with no outside cattle comingling with the operation. The Rasmussen Ranch has always retained

its female cattle for breeding and restocking, and they have an approximate floating average herd

size of between 300 to 350 cows. As such, the genetics of the herd have been built up over 153

year period, making the cattle thrive in the mountain region where they are raised. The feed for

the cattle is grown on the farmland portion of the ranch. The make-up of this operation has made

the Rasmussen Ranch completely self-sustaining.

   12. The Rasmussen Ranch consists of about 700 acres of private land, 640 acres of leased

land from the State of Idaho, and approximately 4,000 acres of permitted cattle allotments in the

Caribou National Forest (CNF) division of the U.S. Forest Service as divided across four

approximately1,000 acre units, much of which extends along the Diamond Creek watershed.

   13. Attached and incorporated herein as “Exhibit 1” are labeled maps showing the various

lands that make up the Rasmussen Ranch's grazing operation along Diamond Creek located in

the CNF, as well as a map of the Rasmussen’s “National Forest Service Allotment” (hereafter the

"Diamond Creek Allotment"). The Diamond Creek Allotment is broken into five units -- IA &

IB through 4 (hereafter “Units”). Each Unit is utilized as a grazing pasture by the Rasmussen

Ranch.

   14. The Rasmussens also own land in Grace, Idaho (hereafter the "Home Place"), where they

grow around 300 acres of alfalfa for their cattle that they feed during the fall and winter months,

as well as 2,000 acres of spring grazing pasture.


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   15. The Ranch’s grazing allotments from the State of Idaho and the CNF are irreplaceable

not only because of the unique grazing and water conditions on the land, but because there are no

other leases available in the Caribou Mountain Range. As such, full use of the land under these

allotments are vital to the Rasmussen Ranch's ability to operate a self-sustaining ranch wherein

the State and CNF.

   16. The Rasmussen Ranch allotments also consist of pristine forest, mountains, canyons,

meadows, streams, tributaries, and riparian areas teaming with various kinds of wildlife and plant

species. The area of concern in this lawsuit, Unit 2 of the Rasmusen’s grazing allotment,

includes a mountain stream “Hornet Creek” which drops down a canyon from a high mountain

ridge and feeds into a year round waterway, Diamond Creek, and its associated wetlands and

riparian areas. (See “Exhibit 1.”)

   17. Around May 10 of each year, the cattle are loaded in semi-trucks and transported 60

miles from the Home Place to the State of Idaho grazing allotment (hereafter "State Allotment"),

where they feed until the beginning of June. The State Allotment borders the Rasmussen's

private land and the Diamond Creek Allotment.

   18. In June the cattle are trailed from the State Allotment to the south, rotating across Units

1A & 1B, 2, and 3 to Unit 4 along Diamond Creek. While trailing, the cattle often drink from

Diamond Creek and Hornet Creek on their way to Units 3 and 4, located to the south of the

Diamond Creek Allotment. The Rasmussen Ranch uses a rotational grazing system of different

units on the Diamond Creek Allotment in cooperation with the CNF. The Cattle remain in Unit

4, then 3, and work down to Units 2 and 1A and 1B in the later summer months and are

thereafter transported to the Ranch's private land after October 10 each year.


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   19. The Rasmussen’s private grazing land near Diamond Creek consists of 160 acres located

inside Unit 1A, which is known as the "Campbell Flat." 440 acres of the Rasmussen's deeded

land is located immediately to the northwest of Unit IA. Further to the north the Rasmussens

own another 120 acres called the "Timothy Pasture."

   20. In October, the cows and bulls are then transported by semi-trucks and trailers back to the

Home Place where they graze on residual alfalfa fields harvested by the Rasmussens earlier that

year and to calve until the calves are sold at market. The cattle remain on the alfalfa fields until

December where they are then fed the new crop of alfalfa, grown that year, until May of the

following year. This cycle has been part of the Rasmussen Ranch for many decades.

   21. The Rasmussen family has spent 153 years refining its practices, and it has a reputation

for producing some of the highest quality cattle in the State of Idaho. Prior to 2023, the

Rasmussen Ranch had above-average birthrates, longevity, and heavy cattle. This is due to its

long history of operating an enclosed operation, providing regular veterinary care, and optimal

feeding conditions for cattle.

           B. Overview of the Smokey Canyon Mine Pipeline.

   22. Simplot owns and operates the Smoky Canyon Mine (hereafter the "Mine"), in southeast

Idaho, approximately 20 miles from Afton, Wyoming. Operations at the Mine consist primarily

of open-pit mining for phosphate ore. The Mine supplies Simplot's Don Plant in Pocatello, Idaho,

with the 1.7 million tons of phosphate ore it consumes annually, to make phosphate fertilizers.

   23. The Mine was developed in the mid-1980s and has a beneficiation plant on site, which

refines and grinds the ore into a powder. The powder is then mixed with water and other

compounds to form an ore concentrate (hereafter “Slurry”) that can be transported by pipeline to


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its processing facility. Simplot was granted permits by the U.S. Forest Service first in 1982,

1991, and extended in a October of 2010 (SUP) allowing Simplot to transport the Slurry from the

Mine to its “Don Plant” near Pocatello, Idaho, 86 miles away for processing via an 8 inch

pipeline (Pipeline.). A true and correct copy of the 2010 SUP is attached an incorporated herein

as “Exhibit 2.”

   24. The Pipeline largely traverses through the Caribou-Targhee National Forest System

including through the area managed by the CNF, and operates 24 hours a day, 7 days a week, to

transport up to 2 million tons of Slurry annually. This Pipeline continues to be the sole source of

phosphate ore for the Don Plant.

   25. The SUP identifies the product transported in the Pipeline, i.e. the Slurry, as “hazardous

material” and contains several strict and comprehensive “affirmative duties” for the protection of

public health and the environment. (See Sections IV E-H of the SUP). Simplot is further subject

to and required to comply with all applicable federal, state, and local environmental laws and

regulations, including but not limited to the “Resource Conservation and Recovery Act” 42

U.S.C. 6901et seq., the “Federal Water Pollution Control Act,” 33 U.S.C. 1251 et seq., the “Oil

Pollution Act,” 33 U.S.C. 2701et seq., the “Clean Air Act,” 42 U.S.C. 7401 et seq., the

“Comprehensive Environmental Response, Compensation, and liability Act CERCLA, 42 U.S.C.

9601 et seq., the “Toxic Substances Control Act,” 15 U.S.C. 2601 et seq., the Federal Insecticide,

Fungicide, and Rodenticide Act,” 7 U.S.C. 136 et seq., and the “Safe Drinking Water Act, 42

U.S.C 300f et seq.

   26. Simplot is also required to “immediately notify all appropriate response authorities,

including the National Response Center (NRP),” i.e. in accordance with the NCP’s regulatory


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requirements under CERCLA, “of any oil discharge or of the release of a hazardous material in

the permit area…” as well as “release or threatened release of any hazardous material in or near

the permit area which may be harmful to public health or welfare or which may adversely affect

natural resources on federal lands.” (See SUP Sections G and H.1.)

   27. The permit requires Simplot to “perform cleanup or remediation immediately upon

discovery of the release, threat of release, or discharge of hazardous materials.”

           C. The 2023 spill of massive quantities of toxic Slurry in Hornet Creek and Diamond
              Creek on Forest Service land the Rasmussen Allotment.

   28. On September 11, 2023, while in the process of moving cattle from Unit 2 to Unit 1 of

Rasmussen’s allotment (Hornet/Diamond Creek area), Danny noticed an unusual and observably

large amount dark substance collected in and around a dry creek bed in Hornet Creek which was

several feet deep. Rasmussens would later learn that this substance was in fact toxic Slurry which

had been released from a leak in Simplot’s Pipeline on the ridgeline above Hornet Creek.

   29. Upon further observation, the Rasmussens discovered that this Slurry had spread in

substantial volumes some 2.4 miles down the Hornet Canyon drainage to Diamond Creek and

the wetland in the valley below, contaminating much of Unit 2 and Unit 1A of the Rasmussen’s

CNF allotment, several primary watering and forage areas for their cattle.

   30. Hornet Creek drains into Diamond Creek, which runs across Unit 2 before spilling into

Diamond Creek over three miles below Hornet Canyon. Diamond Creek then flows across the

remainder of Units 2 and 1A before running across the Rasmussens' private land located to the

northeast of Units 1A and lB and across the Rasmussen’s State Allotment located to the

northwest of the Rasmussen’s private land. (See map in “Exhibit 1.”)



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   31. Attached as “Exhibit 3” is a map showing the approximate area of the spill and just a few

of the still camera shots taken from videos of the toxic Slurry as discovered by Rasmussens in

September of 2023.

   32. In early September, 2023, after Lynn suffered a broken vertebrae in his back and cracked

ribs caused by the overturning of his UTV, Lynn directed Danny to pursue the matter further

while he healed. Danny contacted the CNF on September 14, 2023, speaking first to Kevin

Parker who then directed Danny to Chris Colt (Colt), who was at that time the acting manager

for the CNF. Colt informed Danny that the CNF was aware that there had been a rupture and

leak in the Simplot Pipeline at the ridge over Hornet Canyon, and that Rasmussens should

contact Simplot to obtain additional information. The cattle were immediately moved out of

Unit 2 to Unit 4 of their allotment, upstream from the Hornet Canyon/Diamond Creek

intersection and contaminated areas.

   33. Simplot officials were aware of the Pipeline rupture as early as May 11, 2023, which it

first reported to the CNF as a “5 gallon leak” in the Pipeline. Simplot purportedly “patched” the

leak and resumed operation of the Pipeline on May 14, 2023. Simplot further purported that a

“second leak” occurred on July 17, 2023, when during a “maintenance check” Simplot workers

purportedly breached the pipe. Sometime during that period, Simplot was apparently allowed to

replace 4,000 feet of the Pipeline in the area. Despite a public records request by Rasmussens,

the CNF has provided no information whatsoever pertaining to its notifications regarding the

Pipeline leak and communications, plans, photos, documentation, photos, environmental

assessments, and so forth regarding the repair and replacement of nearly one mile of the Pipeline

during that period (May – July of 2023.)


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   34. Sometime later Simplot revised its estimate of the spill to be around 1,000 to 1,500 cubic

yards (approximately half the volume of an Olympic sized swimming pool.) However, although

significantly higher than the initial 5 gallon leak initially reported, Simplot’s revised estimate

belies and vastly understates what was visible on the ground. The Slurry was also visible to be

several feet deep in numerous locations stretching throughout the 2.4 mile stretch on the banks of

Hornet Creek to the Diamond Creek confluence and marsh, where it was observed piling up

behind the beaver dams. (See again the photographs in “Exhibit 3.”)

   35. Additionally, Simplot’s representation as to time and duration the Pipeline was breached

is highly suspect. A chart of the pressure levels provided by Simplot in subsequent reports

indicates substantial high/low pressure gyrations throughout 2023, and appears to omit

approximately three weeks of data in May 2023. (See “Exhibit 4.”)

   36. Additionally, given Simplot’s strict NRP reporting requirements under CERCLA and

business model, it is highly unlikely that Simplot did not document the amount of Slurry ore

placed into the pipe and received at the other end at its processing plant. Such records have not

been provided or disclosed in any records or reports provided by the agencies involved in this

incident.

   37. Local representatives of the CNF, Idaho Department of Environmental Quality (IDEQ),

U.S. Bureau of Land Management (BLM), Idaho Fish & Game (IDFG), were certainly aware of

the spill prior to August 4, 2023, when they held a conference call with Simplot officials to

discuss the spill, as well as another call on August 7, 2023. Several CMF officials had also only

visually inspected the Simplot spill site prior to that point. A site visit was conducted by

representatives of Simplot and the aforementioned state governmental entities on August 24,


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2023. A timeline of events generated by the IDEQ on May 22, 2024, a true and correct copy of

which is attached as “Exhibit 5” suggests that “DEQ expressed the need to put out a public

announcement and for the Forest Service to inform any land users such as the grazers and

hunters who use the area.”

   38. What is certain is that at no point prior to Lynn Rasmussen’s discovery of the spill on

September 11, 2023, and Danny’s query on September 14, 2023, did Simplot or any agency

involved and aware notify Rasmussens or the public of the spill. Additionally, based upon

information and belief, CNF agents consciously decided not to inform its affected permittees the

Rasmussens.

   39. Also, Simplot did not immediately notify the EPA’s NRC of the spill as required under

its CERCLA and SUP obligations. It is apparent that Simplot has also not reported to the EPA

and other federal agencies that have oversight the spill and levels of contamination released into

the environment with anything close to the sufficient detail required under the company’s legal

obligations to do so. Simplot also did not notify any of the other federal agencies in relation to

the numerous obligations under its SUP.

   40. Notably, the Smokey Mountain Mine was undergoing the public review process in May

and June 2023 for a determination as to whether the Mine, which is a CERCLA Superfund site,

should be included on the National Priority List. Additionally, Simplot was in the process of

negotiating a $150 million settlement with the U.S. Department of Justice related to a toxic spill

into the Portneuf river at the Don Plant, which settlement was reached and approved by the

district court on July 24, 2023.




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   41. On August 8, 2023, Simplot collected several wet and dry soil samples of the Slurry, and

sent them off to IAS EnviroChem for analysis to determine the heavy metal content (hereafter

“Aug 2023 EnviroChem Analysis”). A true and correct copy of the study is attached and

incorporated herein as “Exhibit 6.” The results of this study, which were withheld from

Rasmussens, showed extremely high concentrations of several metals that exceeded EPA

allowable by several hundred times the allowable levels for such metals. A summary of the

content of the samples, as compared to the EPA allowable limits in the tests as follows:

       i.      LDCl Dry:,

       Cadmium: 93.79 ppm (exceeds 1.0 ppm limit)
       Chromium: 251.78 ppm (exceeds 5.0 ppm limit)
       Selenium: 18.115 ppm (exceeds 1.0 ppm limit)
       Arsenic: 7.87 ppm (exceeds 5.0 ppm limit)
       Lead: 8.24 ppm (exceeds 5.0 ppm limit)
       Mercury: 0.23 ppm (exceeds 0.2 ppm limit)

       ii.     LDCl Wet:

       Cadmium: 95.38 ppm (exceeds 1.0 ppm limit)
       Chromium: 257.69 ppm (exceeds 5.0 ppm limit)
       Selenium: 18.110 ppm (exceeds 1.0 ppm limit)
       Arsenic: 7.64 ppm (exceeds 5.0 ppm limit)
       Lead: 8.48 ppm (exceeds 5.0 ppm limit)
       Mercury: 0.22 ppm (exceeds 0.2 ppm limit

       iii.    MHC Wet:

       Cadmium: 94.76 ppm (exceeds 1.0 ppm limit)
       Chromium: 223.92 ppm (exceeds 5.0 ppm limit)
       Selenium: 16.349 ppm (exceeds 1.0 ppm limit)
       Arsenic: 7.61 ppm (exceeds 5.0 ppm limit)
       Lead: 8.68 ppm (exceeds 5.0 ppm limit)
       Mercury: 0.21 ppm (exceeds 0.2 ppm limit)

       iv.     MHC Dry:

       Cadmium: 106.67 ppm (exceeds 1.0 ppm limit)

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       Chromium: 345.53 ppm (exceeds 5.0 ppm limit)
       Selenium: 30.859 ppm (exceeds 1.0 ppm limit)
       Arsenic: 9.39 ppm (exceeds 5.0 ppm limit)
       Lead: 8.54 ppm (exceeds 5.0 ppm limit)
       Mercury: 0.28 ppm (exceeds 0.2 ppm limit)

   42. Also particularly disconcerting are the extremely high levels of vanadium detected in

Aug 2023 EnviroChem Analysis. Vanadium is an industrial by product which can be spread by

water through natural processes such as wet and dry deposition, soil erosion, and leaching from

rocks and soils. Additionally, soluble vanadium present in soil appears to be easily taken up by

the roots of plants. Thus, vanadium can be transported through water and absorbed by plants,

potentially spreading its presence in the environment.

   43. Vanadium is known to have negative health effects on humans and animals, especially

when exposed to high levels, particularly through breathing or ingestion. In humans, exposure

can cause respiratory problems including lung damage, and gastrointestinal issues like nausea

and vomiting. In animals, vanadium exposure can lead to decreased red blood cells, increased

blood pressure, and neurological effects. High doses of vanadium can also be harmful to the liver

and kidneys. Vanadium has been linked to decreased fertility, birth defects, and other

reproductive problems in animal studies.

   44. The vanadium concentrations of 450.62 ppm (mg/kg dry weight in soil) in the Aug 2023

EnviroChem Analysis is likely harmful to certain ecological receptors, particularly avian

wildlife. The “Ecological Screening Levels” (Eco-SSL) for avian wildlife is set at 7.8 mg/kg dry

weight, which is significantly lower than 450.62 ppm. For mammalian wildlife, the Eco-SSL is

280 mg/kg dry weight, meaning 450.62 ppm exceeds this threshold as well and could be harmful

to mammals.


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   45. In an attempt to avoid the reporting of the potential extreme and apparent danger to

animal and human health posed by the Slurry spill, Simplot conducted no leaching analysis of

any kind to determine toxicity of the Slurry tested in the Aug 2023 EnviroChem Analysis, but

rather tested only surface water samples in a few sites along the spill selected by Simplot with no

oversight or independent tests conducted by involved agencies.

   46. The only known independent leaching test for soil conducted by regulatory agency was

the IDEQ on October 31, 2023, and only in two sites near each other in the lower part of Hornet

Creek dry bed. However, the test results taken from these samples are completely unreliable in

that IDEQ failed to first conduct an analysis of the metal content of the soil before proceeding

with the leaching test, which is a standard procedure under the NCP standards for testing

toxicity. Danny observed the collecting of the sample, which included some Slurry, but also

natural dirt and pine needles in the sample. Additionally, the method used for this testing, a

Toxicity Characteristic Leaching Procedure (TCLP) was not appropriate for the circumstances,

in that a TCLP is designed to test how hazardous materials could leach from a landfill into the

environment. The Hornet and Diamond Creek riparian and wetlands area is not a landfill.

   47. Nevertheless, as discussed in more detail supra in Section E, the Slurry was undoubtedly

highly toxic – in that virtually all of the Rasmussen’s cattle exposed to the Slurry and the calves

born to these cattle which were tested demonstrated high levels of metal contaminants

particularly in the kidneys, as well as signs of distress from the effects of the toxicity. These

tests, which were conducted under the direction of IDA’s animal health and safety division were

provided to Simplot, the Forest Service, and the IDEQ, but were never referenced or included in

any of the reports that have been prepared and submitted in relation to the spill.


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   48. Additionally, neither Simplot nor any of the involved agencies have conducted studies of

health standards or impacts of the Slurry spill on animal and wildlife health, other than vague

“observations” of wildlife activity.

   49. The solubility of the Slurry is self-evident, in that as of September of 2023 it had spread

over 2.4 miles by water from the source of the spill in a relatively short period of time.

   50. It should be further noted that Diamond Creek contains a complex series of beaver dams

covering the entire flood plain. The volume of Slurry that spilled from the Pipeline was so vast, it

filled many of these beaver dams, which effectively acted as settling ponds to trap massive

amounts of toxic spill. Diamond Creek is a habitat for a variety of bird species, eventually

making its way to the Blackfoot River, Blackfoot Reservoir, and eventually into the Snake River.

   51. The toxic high metal content of the Slurry has now been spread downstream over two

spring runoffs, with a third under way.

   52. Notably, the Rasmussen’s cattle were exposed to the contaminated soil and water for

approximately a month, yet have suffered severe effects from the toxicity. (See supra Section E.)

   53. Simply put, the massive amounts of toxic Slurry emitted by the Simplot Pipeline is

nothing short of an ecological disaster for the wide effected area.

   54. On September 1, of 2023, the CNF sent a “Notice of Non-Compliance” to Simplot

indicating violations of the SUP. However, the SUP has not since been terminated or even

suspended. Nor was this notice disclosed to the Rasmussens or the public.

   55. The Rasmussens collected several soil samples themselves, which on or around

September 15, 2023, were submitted for testing to the Utah State University Analytical Lab

(USUAL), Chemtech Ford out of Salt Lake City, Utah as well to the University of Idaho lab.


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The results of these tests were independently verified to contain high levels of cadmium,

chromium, nickel, and vanadium, among the other metals also tested in the Aug 2023 ChemTech

Analysis (again which had not been disclosed by Simplot.) All of these test results were

provided both to the IDEQ as well as on a thumb drive mailed to Idaho Governor Brad Little.

Attached and enclosed as “Exhibit 7” are true and correct copies of these studies incorporated

herein.

   56. Danny also had several recorded conversations with Simplot representatives Chad Gentry

(hereafter “Gentry”) and Simplot VP Alan Prouty (hereafter “Prouty”). Both admitted that

Simplot would be liable to Rasmussens if the Rasmussen’s cattle were found to be contaminated.

   57. On October 9, 2023, Gentry and Simplot’s insurance adjuster from Intermountain Claims

conducted a site visit with Danny on October 9, 2023, confirming the high amounts of Slurry, of

which no remediation had yet occurred. During this meeting, Gentry was asked whether the

contents of the Pipeline had been tested to determine its material components. Gentry claimed

that no test results were received by Simplot, despite having already received test results nearly

two months prior on August 8, 2023.

           D. Harmful effects of heavy metals, i.e. cadmium, arsenic and lead in cattle.

   58. Cadmium is a particularly toxic and devastating metal when absorbed by farm animals

such as cattle. (See Lane, E.A., Canty, M.J., & More, S.J. (2015); Cadmium exposure and

consequence for the health and productivity of farmed ruminants. Research in Veterinary

Science, 133-137. http://dx.doi.org/10.1016/j.rvsc.2015.06.004, hereafter referred to as “VS

Study”). Cadmium exposure can harm cows by slowing their growth, reducing milk production,




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and making it harder for them to reproduce. It also damages their kidneys and interferes with

important nutrients like copper, zinc, and iron, which are needed to keep the cattle healthy.

   59. Lead and arsenic consumed by cattle are also devastating. (See Tahir I and Alkheraije

KA (2023); A review of important heavy metals toxicity with special emphasis on nephrotoxicity

and its management in cattle. Frontiers in Veterinary Science, 10:1149720. doi:

10.3389/fvets.2023.1149720, hereafter “Frontiers Study.”) Lead exposure effects include weight

loss, poor growth, weak muscles, and difficulty moving. It can also harm animal organs such as

the kidneys, liver, and brain, and in severe cases, lead to death. Arsenic exposure can damage the

cattle’s stomachs, weight gain, milk production, and other ailments affecting health. It can also

damage their kidneys and cause inflammation in their digestive system.

   60. The cumulative effects of just these heavy metals, i.e. cadmium, lead and arsenic, are

profoundly devastating to the cattle, summarized as follows:

   Lead (Pb):

   •    Tissue Accumulation: Lead accumulates in the kidneys, liver, and bones, mimicking
        calcium in the body.
   •    Clinical Signs: Malnutrition, emaciation, muscle loss, abnormal fetal development,
        opaque hair, moderate anemia, and thickening of phalange epiphyses.
   •    Neurological Effects: Ataxia, paresis of the hypoglossal nerve, severe depression,
        muscle twitching, convulsions, coma, and respiratory failure.
   •    Kidney Damage: Lead exposure causes oxidative stress, lipid peroxidation, and
        apoptosis in kidney cells, leading to renal toxicity.

   Arsenic (As):

   •    Gastrointestinal Symptoms: Severe digestive tract inflammation, weight loss,
        unpredictable appetite, and decreased milk production.
   •    Oxidative Stress: Increased lipid peroxidation and decreased antioxidant enzyme
        activities in the kidneys.
   •    Kidney Damage: Tubular necrosis, glomerular sclerosis, and oxidative DNA damage.



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   Cadmium (Cd):

   •    Tissue Damage: Cadmium accumulates in the kidneys, liver, and muscles, disrupting
        normal metabolism and reducing levels of essential trace elements like zinc and copper.
   •    Kidney Dysfunction: Causes oxidative stress, tubular injury, and Fanconi syndrome,
        which affects protein, bicarbonate, phosphate, and amino acid reabsorption.
   •    Growth Impairment: Prolonged retention in storage tissues like the colon, liver, and
        kidneys can impair cellular clearance and growth.

(See VS and Frontier Studies.)

   61. Cadmium passed down to a calf through the placenta and milk is also particularly

devastating to calves. Such effects include:

   •    Reduced Growth and Development: Heavy metal toxicity can impair physiological and
        biochemical processes, leading to stunted growth and poor health.

   •    Immunosuppression: Heavy metals induce poor body conditions and reduced
        reproduction rates, weakening the immune system.

   •    Carcinogenic and Mutagenic Risks: Metals like cadmium and arsenic have mutagenic
        and carcinogenic properties, posing long-term health risks.

(See VS and Frontier Studies.)

   62. Consuming meat from contaminated cattle can lead to heavy metal exposure in humans,

potentially causing health issues such as kidney damage, neurological disorders, and oxidative

stress. (See VS and Frontiers studies.)

           E. Testing of Rasmussen Cattle at the direction of the Governor and Idaho
              Department of Agriculture finding contamination.

   63. On or about October 5, 2023, Rasmussens first attempted to test hair samples from live

cows who had been exposed to the Slurry, which were sent the Utah Veterinary Diagnostic

Laboratory (UVDL). UVDL sent the samples onto Kansas State Veterinary Diagnostic

Laboratory (KSVDL), a lab which specializes in the study of toxic metals and effects on animals.



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It was determined that hair samples were insufficient to determine whether the cows had elevated

levels of toxic metals in their system.

   64. On October 25, 2023, Idaho Governor Brad Little, and Lt. Governor Scott Bedke as well

as several heads of Idaho state agencies, including Director Tewalt of the IDA, held a “Capitol

for a Day” event in Bear Lake County, Idaho – where the Rasmussens reside. With the

assistance of their local state senator Mark Harris, the Rasmussens met privately with Governor

Little and Lt. Governor Bedke and Tewalt, to discuss the Simplot spill and measures that the

state should take to address the situation, in particular the potential harms to Rasmussens’

livestock and the environment. Governor Little directed Tewalt to coordinate with State

Veterinarian Scott Liebsle (hereafter “Liebsle”) the through its IDA Animal Industries Division

(IDAID) on animal safety and health and to conduct tests of the Rasmussen cattle

   65. Rasmussens would later follow-up by mailing Governor Little and his team a formal

letter and two jump drives with photographs and videos of the spill and the several test results of

the high metal content of the soil. This letter was forwarded by Governor Little to the IDEQ. A

true and correct copy of this letter as it appeared in the IDEQ records is attached as “Exhibit 8.”

   66. On November 6th, 2023, Liebsle traveled to Rasmussens’ Home Place and collected

samples using a needle from several of the live cows exposed to the Slurry. These samples were

sent to KSDVL for testing under the direction of Dr. Steve Ensley (hereafter “Ensley”), a

renowned and highly experienced veterinarian with MS and PhD in veterinary toxicology. It was

thereafter determined that tissue samples from a live cow would be insufficient to determine

toxic metals in their system. However, the biopsies performed by Ensley still showed high levels

of cadmium in three of the six animals tested, and the presence of arsenic, lead, cadmium and


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thallium, in all six tested animals. A true and correct copy of these biopsy results are attached

and incorporated herein as “Exhibit 9.”

    67. At the direction and recommendation of Liebsle, on or about November 29, 2023, the

Rasmussens sent 12 of their open cows which had been exposed to the Slurry to CS Beef Packers

LLC (hereafter “CS Packers,”) a cattle packing plan in Nampa, Idaho, to be euthanized so as to

obtain a sufficient liver and kidney sample to check for heavy metal contamination.

    68. On November 30, 2023, Liebsle collected liver and kidney samples from the cows sent to

CS Packers. Liebsle then sent the samples to KSDVL to be tested under the direction of Ensley,

which were received on December 1, 2023. The cattle were also slaughtered and packed for

consumption. CS Packers partially is owned and operated by Simplot.

    69. KSDVL and Ensley issued preliminary results on December 6, 2023, and a finalized

report on December 29, 2023, a true and correct copy of which is attached as “Exhibit 10.”

(hereafter “Dec 29 2023 KSDVL Rept.”) Multiple liver and kidney samples were analyzed for

minerals such as Arsenic (As), calcium (Ca), cadmium (Cd), cobalt (Co), chromium (Cr), copper

(Cu), iron (Fe), potassium (K), magnesium (Mg), manganese (Mn), molybdenum (Mo), sodium

(Na), phosphorus (P), selenium (Se), and zinc (Zn).1 The results indicated extremely high levels

of federally regulated contaminant cadmium and selenium in all of the samples. The tests also

tested positive for mid to high levels of arsenic and lead. There was also demonstrable signs of

tissue damage and improper function of the organs, in that there were low or unbalanced




1
 The tissues were not tested, nor has there been testing as of yet of the Rasmussen cattle for vanadium, which
existed at extremely high and unnatural levels in the Slurry. (See again Aug 2023 EnviroChem Analysis attached as
“Exh. 4.“ However, there are notable signs of the harmful effects of this potent toxin both in the studies of the
deceased cows and calves, as well as the remaining living cattle. (See this Section E.)
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volumes of key trace minerals including iron, calcium and zinc and other notable signs of

damage.

   70. Throughout December 2023 to mid-March of 2024, Rasmussens submitted several tissue

samples of their exposed cows who had died, and several aborted fetuses and stillborn calves

born from cows exposed to the Slurry (Hereafter “Deceased Cows Reports”). A true and correct

copy of these results are attached as “Exhibit 11.”) The results in these studies were consistent

with the Dec 29 2023 KSDVL Rept. i.e. elevated cadmium and low trace elements central for

animal health.

   71. The Deceased Cows Reports also noted a number of severe and disturbing clinical

abnormalities known to be caused by toxins including the following:

           •     Arthrogryposis: Detected in a full-term stillborn calf with fixed flexion of carpi,
                 elbows, and tarsi. Likely caused by reduced in utero limb movement due to
                 exposure to poisonous plants (e.g., Lupine spp. ), viral infections (e.g., bovine
                 viral diarrhea virus), or genetic defects.

           •     Severe Copper Deficiency: Found in multiple cases, contributing to decreased
                 immune function, poor vaccination response, and increased susceptibility to
                 infections. Linked to nutritional deficiencies during gestation.

           •     Bronchopneumonia: Severe bacterial bronchopneumonia caused by Pasteurella
                 multocida in a 3-month-old calf. Accompanied by enteritis, diarrhea, and weight
                 loss.

           •     Enterocolitis and Rumenitis: Necrotizing and hemorrhagic enterocolitis, along
                 with diffuse neutrophilic inflammation in the forestomachs, leading to
                 dehydration and hypovolemia. Poor nutritional state indicated by serous atrophy
                 of fat.

           •     Aborted Fetus: No infectious or inflammatory causes detected. Possible non-
                 infectious causes include nutritional, toxic, genetic, environmental, or
                 developmental abnormalities.




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           •   Severe Congenital Malformations:A stillborn calf with marked deformities,
               including limb attachment to the rib cage, gastroschisis, malformed organs, and
               missing reticulum, abomasum, bladder, and gonads.

           •   Trace Mineral Deficiencies: Deficiencies in copper, manganese, chromium, and
               selenium observed in liver and kidney samples. Elevated molybdenum, a copper
               antagonist, noted in one case.

   72. The Deceased Cows Reports were all sent to Liebsle. Additionally, on March 1, 2024,

Ensley submitted a summary of the test results discussing the toxicity and the resulting signs of

health harms of the cattle tested by KSDVL to Liebsle and Rasmussens, (hereafter referred to as

“March 2024 Ensley Rept.”) a true and correct copy of which is attached and incorporated herein

as “Exhibit 12.”

   73. In addition to the studies of the deceased cows and calves, the Rasmussens have observed

notable signs of distress and damage to their remaining living herd and their calves contaminated

by the Slurry, i.e. including weight loss, lack of growth, not eating or digesting properly,

lethargy, distress, and failure to breed or reproduce. These observed physical symptoms in the

cattle were determined to be consistent with exposure to toxic metals in the Slurry and its high

levels of heavy metals toxic to cattle, including, but not limited to, arsenic, boron, barium,

cadmium, chromium, lead, mercury, and selenium.

   74. The amount of open cows (cows that failed to breed) increased 2½ times in the following

season after exposure to the Slurry, from an average of 12 cows to over 30.

           F. IDA’s coordination and collusion with Simplot, failure to act, and allowance of
              contaminated meat into the food supply.

   75. On February 26, 2024, at the request and suggestion of Liebsle, Rasmussens sent an

additional 10 cows to CS Packers for slaughter and to have liver and kidney samples sent to

KSVDL for testing. These were 10 of the cows which had aborted or stillborn calves, nine of
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which had been exposed the Slurry, and one of which had not been exposed to be used as a

“control” sample.

    76. Tissue samples were collected, after which the slaughtered remains of the cattle were

packaged and distributed by CS Packers into commerce and the food supply. (See receipt

attached as “Exhibit 13”.)

    77. KSDVL sent the results of this latest test to Liebsle on March 1, 2024, a true and correct

copy of is attached and incorporated herein as “Exhibit 14” (hereafter referred to as the “March 1

2023 KSDVL Rep”). Notwithstanding having been removed from the contaminated area of the

Slurry for over six months, the effected cows still showed elevated levels of cadmium and

selenium in their system including amounts still well above the allowable limits, as well the

presence of arsenic and lead. The results also were consistent with all of the previous reports

which had been sent to Liesble indicating insufficient or unbalanced volumes of key trace

minerals including iron, calcium, and zinc essential to the animal’s health.

    78. As was only recently learned from a public records request submitted to the IDA and

IDAID, the senior officials IDA engaged in communications with Simplot representatives

regarding the toxicology results of Rasmussen’s cattle, coordinated and developed a strategy to

distance IDA and Liebsle from the matter and to dissuade the Rasmussens from conducting

further testing.

    79. As evidenced by a March 4-5, 2024, e-mail string attached and incorporated herein as

“Exhibit 15” and “Exhibit 16,” after receiving an e-mail from Danny summarizing the several

results showing toxic contamination of health defects in the Rasmussen’s cattle, Liebsle had

apparently engaged in several communications with IDA Deputy Director Lloyd Knight


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(Knight), and IDA Director Tewalt, with direction from Simplot VP Prouty on how to respond to

Danny. As part of an ongoing discussion, Knight drafted a suggested reply to Danny which

revealed the apparent purpose of redirecting Rasmussens away from IDA and Liebsle for future

analysis and incorporating Simplot’s influence in the matter. Notably, the initial e-mail from

Knight to Tewalt and Liebsle begins with:

    “Not sure if this is best put in a call or an email, but either way I amended your
   message a bit. I think we need to stress that his best resources for his
   case/investigation/research are the expert toxicologists and his local veterinarian. And I think
   he should call Alan (Prouty) and discuss with him.”

(See “Exhibit 16,” March 5, 2024, Knight e-mail to Liebsle and Tewalt not cc’d to Danny)

The draft communication also suggests that Rasmussens reach out to Prouty, as “Vice President

of Environmental and Regulatory Affairs.” (Id.) It is also apparent that Knight had engaged in

communications with Prouty in coordinating this strategy and approach. (Id.)

   80. On March 6, 2024, Liebsle also sent the results of the March 1 2023 KSDVL Rep. to

Simplot Veterinarian Randal Raymond. (See March 1, 2024, e-mail Ensley to Liesble in

“Exhibit 16.”)

   81. Liebsle did not ultimately send the draft e-mail put together by Knight, Tewalt and

Prouty, but rather Leibsle decided to follow their advice to call Danny instead. Liebsle

subsequently called Danny – however not yet removing IDA’s involvement with the matter, but

instead telling Danny that Rasmussens did not need to conduct any more testing because

Rasmussens “had all the tests they needed to go after Simplot.” In that conversation, Danny also

suggested that Liebsle reach out to the USDA “Food Safety and Inspection Service” (FSIS) and

the US “Food and Drug Safety” service (FDA) to ascertain what their standards and regulations

were with regard to cattle products contaminated with cadmium or selenium.

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   82. On March 29, 2024, Danny sent an e-mail requesting a report from Liebsle regarding the

multiple tests that had been conducted, expressing the Rasmussen’s concerns about their

potential liability if the toxicity of their cattle were not disclosed, and recommendations as to

what should be done with the exposed cattle. The e-mail states:

       “I was wondering if you could possibly prepare some kind of report, through email about
       what we've learned and discussed about the metals in the cows and the health effects thats
       causing on them and fetuses. Knowing we are bound now through liability of full
       disclosure on these cattle that they were exposed to high levels of toxic metals has really
       put us in a situation that needs remedy. Also a recommendation as to what should happen
       to these cattle, as we discussed earlier as if Simplot were to take them. (Condemned ?) It
       would be very helpful for us to have you correlate what the experts with toxicology and
       pathology reports are saying so they can understand that this is not just our opinion but
       factual information.”

(See March 29, 2024, e-mail attached as “Exhibit 17.”)

   83. Danny followed up this e-mail with a text to Liebsle attached and incorporated herein as

“Exhibit 18” drawing Liebsle’s attention to his e-mail and also seeking an update on Liebsle’s

efforts to reach out to FSIS. Liebsle replied that he had done so and had also reached out to FDA

as well. On April 2, 2024, Danny again texted Liebsle seeking a status on the responses from

FSIS and FSA and again “to compile a report to us for this incident.”

   84. Danny again followed up with Liebsle with a recorded call on April 3, 2024. In that call,

Liebsle at that time essentially expressed the sentiment that Knight/Tuwalt/Prouty wanted

Liebsle to convey in their suggested March 5, 2024, draft e-mail (see “Exhibit 16”): that he

(Liebsle) “didn’t have any expertise” in heavy metal exposure to cattle, and that “we just

collected the tissue and we sent it off for analysis and that’s basically where we are…” Liebsle

also oddly referred Danny to Jeffrey Hall (hereafter “Hall”) a doctor of veterinary medicine with

Huvapharma, Inc. despite the fact that extensive testing had already been conducted and report


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provided by renowned animal toxicology expert Steve Hensley with KSDVL. Based upon

information and belief, Hall is closely associated with and has performed work for Simplot.

    85. Liebsle forwarded an e-mail response to Danny the response to Liebsle’s inquiries to

FSIS and FDA on April 5, 2024, a true and correct copy of which (including the e-mail string) is

attached and incorporated herein as “Exhibit 19” (hereafter “April 5 2024 FDA/FSIS Resp.”)

The response explained that FDA and FSIS have distinct responsibilities in that area, with FDA

having “jurisdiction over food animals (as well as the feed they consume) until slaughter, at

which time jurisdiction falls to USDA FSIS.” (Id.) The response further indicated that while

FDA has no established regulatory levels for cadmium in most food products: “Evaluating a

cadmium contamination scenario would be done on a case-by-case basis in consultation with

both FSIS and FDA’s Center for Veterinary Medicine (CVM), given that animal food (forage),

live animals, and the final beef product are potentially involved.”2 (Id.)

    86. Regarding FSIS requirements, the April 5,2024, FDA/FSIS Resp indicates that anything

greater than 10 ppm of cadmium of the “total diet” of the cow would be of concern. (Id.) Again,

the Aug 2023 EnviroChem Analysis results show a range of greater than 93 ppm to greater 106

ppm in samples taken (See “Exhibit 4”), 9 to 10 times greater than the threshold “of concern” to

the FSIS.




2
  The likely reason that FDA does not have an established threshold for cadmium in beef products, but rather deals
with the issue on a “case-by-case” basis is because such contamination is extremely rare, less than 1% of all meat
products. See Zhang, T.-q., Tsutsumi, T., Wang, H., Wang, L., BilanovicWeyrauch, K. I., Duverna, R., Sisco, P. N.,
Domesle, A., Chen, P., & Peng, Q. (2024). “A survey of the levels of selected metals in U.S. meat, poultry, and
Siluriformes fish: Samples taken at slaughter and retail (2017–2022).”Journal of Food Protection, 87(4), Article
100243. https://doi.org/10.1016/j.jfp.2024.100243
 This case is therefore extraordinary, but as noted in studies attached, the detrimental effects of cadmium
contamination in animals and humans have been well studied and documented.
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   87. To best of Rasmussen’s knowledge, neither Liebsle nor the IDA have followed up with

or reported to FDA/FSA’s CVM the contaminated meat product from Rasmussen’s cattle that

made its way through Simplot’s company CS Packers with knowledge of the IDAID into the

food chain. Again, the cows that were tested by Liebsle at the CS Packer facility were

contaminated with several heavy metals, including cadmium, selenium, arsenic, and lead, as well

as other potential heavy metals and highly toxic material vanadium not tested which were present

at extremely high amounts in the Slurry exposed to the cattle. (See again Aug 2023 EnviroChem

Analysis, “Exhibit 4.”)

   88. The Rasmussens have made repeated requests for further action and information from

Liesble and IDAID since the April 3-4, 2024, communications. Liebsle and the IDA have cut off

all communications with Rasmussens. A formal request for action was submitted to Leibsle on

January 15, 2025, a true and correct copy of which is attached and incorporated herein as

“Exhibit 20” to which there has been no response.

   89. As apparent from documents received from IDA’s response to the record request, as well

as other known information and belief, that Liebsle and the top leaders of the IDA have

continued to communicate and coordinate with Simplot representatives and leaders regarding the

matter.

           G. Simplot’s admission of liability for contamination of Rasmussen’s cattle but false
              denials of its knowledge of the contamination.

   90. There have been multiple calls, letters, and meetings between Simplot and Rasmussens

about the Slurry spill and its effect on the Rasmussen’s cattle. These communications show that

Simplot’s motivation was to try and “buy” Rasmussen’s herd and their silence, and capitalize or



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salvage the contaminated cattle purchased from Rasmussens in any way Simplot could

financially – all while denying that the cattle were contaminated.

    91. The Rasmussen’s communications with Simplot representatives first occurred in

September 2023, with calls between Danny and Prouty on September 15 and September 25,

2023. Danny also spoke to Simplot representative Chad Gentry (Gentry) on October 7, 9, and 16,

2023, and met with Gentry and Simplot’s insurance adjuster at from Intermountain Claims at the

contamination site in Unit 2 on October 9, 2023. During these initial communications, numerous

misrepresentations or misleading statements were made to the Rasmussens about Simplot’s

knowledge of the size and scope of the Slurry spill and the tests that had been conducted,

including in particular the Aug 2023 EnviroChem Analysis (“Exhibit 4”) which these

representatives claimed they did not have. Nevertheless, from the outset that Simplot knew it

would be liable for the harms caused to the Rasmussens for contamination resulting from the

spill.

    92. Rasmussens also initially received written correspondence from Simplot on October 18,

2023, from Prouty, a true and correct copy of which is attached as “Exhibit 21.” In that letter,

Prouty misrepresented that Simplot had not received the results of any soil tests of the Slurry

when in fact it had the results of the Aug 2023 EnviroChem Analysis (see “Exhibit 4.”) In his

Oct. 18, 2023, letter, Prouty also attempted to steer the testing of the animals to Hall, who was

presented as a veterinarian working out of Utah State University – but in actuality may have been

associated with the university in some way but whose actual employer was Huvapharma, Inc,

and who is aligned with Simplot’s interest. Liebsle forward to Danny an e-mail from Hall dated




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January 10, 2024, attempting to downplay the results of the KSDVL and USDVL studies (which

were not conducted by Hall), a true and correct copy of which is attached as “Exhibit 22.”

   93. Rasmussens did not have further communication from Simplot until March of 2024,

when Simplot’s coordinated plan and strategy developed with IDA officials Tewalt, Knight and

Liebsle and very likely several other top Idaho officials was executed.

   94. Prouty called Danny on March 25, 2024, as well as on April 2, 17, and 18, 2024. Simplot

also dispatched Simplot’s “Environmental and Safety Manager” Lori Lusty (Lusty) to handle the

issue. Lusty placed calls to Danny on April 2, 17, and 18, 2024.

   95. Lusty and other Simplot representatives met on April 10, 2024. At that meeting, Lusty

was furious that Rasmussens brought their attorney with them, and insisted that this issue was

likely not going to be resolved if Rasmussens involved their attorneys.

   96. On April 29, 2024, Gentry and Simplot veterinarian Raymond met Rasmussens at their

home and traveled to the contamination site where they met up with Rasmussen’s veterinarian

Cutler. At that meeting, Raymond denied that he had seen the KSDVL reports, even though he

had been sent at least one of the reports as early as March 6, 2024, and likely well before that.

At that meeting Raymond and Gentry discussed the possibility of purchasing the Rasmussen’s

contaminated herd and mixing it with the Simplot herd. (Id.)

   97. Particularly notable is a letter Danny received from Prouty dated April 18, 2024, a true

and correct copy of which attached and incorporated herein as “Exhibit 23.” In that letter Prouty

indicates that: “Simplot understands and appreciates your concerns regarding the condition of

your cattle and the potential for reputational harm.” (Id.) Prouty further states that: “Simplot is

willing to work with you to come to a resolution that will ease your concerns regarding the


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health and welfare of your livestock and preserve your reputation as cattlemen who are

responsible to provide safe and wholesome product into the food chain.” (Id.) However, Plouty

falsely claimed that the “currently available diagnostics” resulted in in any abnormal tissue levels

of trace minerals or heavy metals, when in fact as discussed infra in Section E, Simplot was fully

aware of the KSDVL and USDVL studies which gave indication of the exact opposite. (Id.)

Prouty then continued with Simplot and its collaborators’ strategy to purchase the Rasmussen’s

exposed cow and their calves. (Id.)

   98. In a letter dated May 14, 2024, after the April 29, 2024 meeting attached and

incorporated as “Exhibit 24.” Simplot expanded the offer “to compensate you for the business

disruption by paying you the income (net of expenses) that you would have received from the

sale of the calves for a one-year period” but that “Simplot is not willing to offer anything more.”

Moreover, this offer was conditioned on the “bulls being let out with the cows when the herd is

let out.” In other words, Simplot would only purchase the contaminated cattle if the cows were

impregnated, leading to another crop of affected calves from which Simplot could profit. Again,

Simplot intended to place Rasmussen’s cattle into the market and food chain – regardless of the

very apparent harmful effects to the animal health and human consumption.

   99. Shortly thereafter, on June 4, 2024, Simplot executives Tom Basabe (hereafter “Basabe”)

and Raymond, along with Simplot accountant Bradley Sheldon, on their own volition traveled to

Grace, Idaho, to meet with the Rasmussens at their home. During the course of that meeting,

Basaba and Raymond admitted that Simplot was fully aware of the toxic metals in the Slurry and

knew that such toxins ingested by animals damaged their internal organs. Basaba again offered

to purchase Rasmussen’s cattle on the spot, i.e. a “take it or leave it” offer that again would still


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allow Simplot to profit from the sale and transfer of contaminated cattle directly into the market

place and without knowing full effects of the disaster. As discussed supra in Section H, Simplot

had not yet taken any significant measures to clean-up and mitigate the spill.

   100.    Rasmussen’s chief concerns about Simplot’s offer to purchase the Rasmussen’s herd

and Rasmussen’s silence regarding the Slurry include their liability and the detrimental effect on

their reputation if their contaminated cattle and defective calves were laced into the market. This

including liability caused spreading harm to cattle of their purchasers and harms caused by

human consumption of the contaminated meat. Rasmussen’s were also deeply concerned about

the failure of real remediation and clean up from the spill, the lack of accountability and outright

deception by Simplot and its collaborators.

           H. The lack of proper regulatory measures, disregard of environmental laws, lack of
              full disclosure, and dismissiveness of agencies charged to enforce such laws who
              instead have protected Simplot above all else.

   101.    Certain agencies, including the CNF, the IDEQ, IDA, Idaho Fish and Game

Department, and local officials for the U.S. BLM, were aware of the spill in early August of

2023. (See Section B infra.) The CNF was fully or should have been aware of the nature of the

spill as early as May of 2023. (Id.)

   102.    Additionally, the IDEQ was aware of the toxicity studies of the Rasmussen’s cattle

which the Rasmussens had sent to them. Additionally, suggesting that IDEQ was also

coordinating with the IDA, Liebsle sent the results of these studies to IDEQ Surface &

Wastewater Division Administrator Mary Anne Nelson by e-mail on May 22, 2024, a true and

correct copy of which is attached and incorporated herein as “Exhibit 25.”




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   103.    Rather than take the appropriate measures to address, remediate and contain the toxic

contamination into the environment caused by Simplot’s Pipeline, the IDEQ and IDA stridently

worked to contain, remediate and address the potential harms to Simplot.

   104.    While the CNF initially advised Simplot that it had violated its 2010 SUP (which was

not disclosed to the public or to Rasmussens), it did not terminate or suspend the SUP despite

Simplot’s flagrant violations of the permit. Simplot continued and continues operation of the

Pipeline to this day, having only discreetly stopped the flow of the Slurry in the Pipeline for a

mere three days in May of 2023 before restarting it again. It is evident from the known facts that

massive amounts of heavy metal and toxic materials spilled into the forest and the

environmentally sensitive watersheds of Hornet Creek and Diamond Creek riparian and wetland

areas for weeks if not months thereafter continued. The CNF issued a meager one page release

about the spill in October of 2023

   105.    Rather than inform the Rasmussens of the full scope of the disaster and bring in

independent and qualified experts to address the damage, these agencies instead relied almost

entirely upon Simplot to conduct its own investigation without any oversight and report its

“findings” to the regulating agencies. Simplot submitted reports on August 31, 2023, and in

early October of 2023, which vastly underestimates the situation, omit their own studies showing

extremely high level of heavy metal content in the soil, and cite only to unverified or reviewed

studies and analysis commissioned by Simplot. Reviews by any of the governmental agents were

limited to their own visual observations. Even the photos Simplot submitted in their reports as

approved by the CNF and IDEQ consist only of spots where the Slurry were not as visible and

did not include the particularly affected areas.


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   106.    The records of the CNF and IDEQ obtained by Rasmussens through public records

requests, of which there are apparent gaps, show that the little criticism made by some agency

individuals during the review process were ignored or not addressed. For instance, some

individuals criticized the deficient water samples that Simplot allegedly took to test the toxicity

of the water. (Again, there were no soil tests disclosed during these reports.) Additionally, a

“suggestion” that Simplot obtain a 404 Wetlands permit from the U.S Corp of Engineers for

remediation work was never pursued.

   107.    The Rasmussens made multiple efforts to notify the IDEQ of violations of the CWA

and demand action, i.e. through calls, meetings, letters, site visits their own studies, photos, and

discussed and provided information directly to the Governor, Lt. Governor, agency directors, and

state and federal legislators – who all acknowledged the issue, to no avail.

   108.    On March 26, 2024, the IDEQ issued a “Notice of Non-Compliance” to Simplot of

violations of its obligations under its Idaho Pollutant Discharge Elimination System (IPDES)

Permit IDR053128, a true and correct copy of which attached and incorporated herein as

“Exhibit 26.” The IDEQ and other officials conducted a couple of meetings and site visits in

May and June of 2024, all with the appearance that measures were being taken in relation to this

notice, but without any real results or follow-up.

   109.    Any substantive remediation did not begin until July of 2024, after two spring runoffs

that further spread the contaminated Slurry. The Slurry was still present in massive quantities

throughout the Diamond Creek and Hornet Canyon/Creek area, and also had spread throughout

the marshland wetland areas of Diamon Creek. Attached as “Exhibit 27” are photographs taken

both on the ground and in the air of this Slurry in May through July 2024.


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   110.    At no point has IDEQ or any agency independently investigated how much of the

toxic Slurry was spilled, nor how much of the contaminated soil has been actually been removed.

Attached as “Exhibit 28” is a large pile of an unknown quantity of contaminated soil piled up in

the Diamond Creek in November 2024, which Simplot was allowed to transport back to its

Smoky Mountain Mine facility and again run it through its Pipeline (again to try to best

maximize the value of the Slurry.) A substantial amount of toxic Slurry still remains in the

Diamond and Hornet Canyon area, having simply been packed down and flattened along the

Diamond Creek watershed. (See photograph attached as “Exhibit 29.”)

   111.    Simplot released another report on the Slurry contamination on August 12, 2024,

without any apparent oversight or review, which notwithstanding the numerous charts and tables

that are attached cannot be relied upon due to the unverified, undisclosed, and woefully

insufficient studies commissioned by Simplot in the report. In this report Simplot admits for the

first time that it obtained soil samples in August, October and November of 2023 admitting the

high metallic content of its Slurry spill. However, Simplot understates the results of the Aug

2023 EnviroChem Analysis in this report – still listing high levels but which are less than what

was in the actual report. Moreover, the actual test results apparently taken by Simplot in

September and November have never been disclosed. As such, the data points listed in the

August 12, 2024, report simply cannot be trusted as accurate and is yet another blatant example

of deception completely disregarded by the agencies involved.

   112.    Conspicuously absent in the Simplot’s August 12, 2024, report or any of the formal or

informal reports issued by IDEQ regarding the impacts of the spill are the multiple studies




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confirming the heavy metal contamination of Rasmussen’s cattle. These were the most critical

and significant studies of the toxic nature and effect of the Slurry, but were not included,

    113.      Moreover, there was no reporting to or involvement of the EPA, which was

absolutely required under CERCLA. Per the terms of the 2010 SUP, and IDEQ’s 2028 MOA

with the EPA, both Simplot and the IDEQ were required to immediately report and involve the

NPC pursuant to CERCLA, CWA and other applicable environmental regulations and standards.

These requirements have been intentionally disregarded by Simplot, IDEQ and other involved

agencies.

             I. Urgent action needed with regard to the 740 contaminated cattle still being care
                for by the Rasmussens.

    114.     Rasmussens, who are already in substantial debt as a result of the Slurry spill, are

now still caring for more than 740 contaminated cows and their calves which are currently

housed still on their private property at the Home Place. The breakdown of this herd as it exists

is as follows: approximately 280 cows that had been exposed to the Slurry, and 240 calves born

to these cows in the 2023-24 season, and 220 calves in the 2024-25 season.

    115.     They can no longer afford the expense of this feed and care, and the albatross that

hangs on their necks as a result.

    116.     Rasmussens would normally turn their herd out to their state and federal grazing

allotments in late May or early June, but cannot afford to, nor would it make any sense to

transport their herd to the contaminated allotments.3




3
  Rasmussens may have to find a way to transport the cattle to their state allotment while this matter is pending. But
the cattle can only remain there for a couple of weeks before they are normally moved to the CNF allotment, which
again is contaminated.
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    117.     The IDA, through its IDAID has completely failed in its obligations to evaluate and

condemn the contaminated herd, and even if it did, the Rasmussens cannot afford to euthanize

and dispense of the herd.

    118.     Simplot has repeatedly admitted that it is at the very least liable for replacement costs

of Rasmussen’s cattle damaged by exposure to the contaminated Slurry released by Simplot’s

Pipeline into Rasmussen’s grazing allotment.

    119.     As indicated in the multiple studies and clinical observations of the Rasmussen’s

cattle, there is no question that the Rasmussen’s herd has been contaminated and have suffered

devastating and debilitating effects caused by the toxic Slurry.

    120.     Immediate action is needed and justified to require Simplot to incur all costs

associated with the remediating the harm caused to the Rasmussen’cattle and that the IDA be

directed take appropriate steps to condemn, remove and dispense of the affected herd, and that

Simplot compensate the Rasmussens for the market value of the herd at a rate which Rasmussens

would have gained for the value of the cows, heifers, and calves as if they were unaffected by the

contamination. Such costs are estimated to be $2.32 million, as broken down as follows at the

current market level:

             a. $6,000 per pair (cow/calf combination), which at 280 X $6,000 is $1,680,0004

             b. 240 yearlings, i.e. the steers and heifer calves born in the 2023-24 season, for

                  $2,675 per head for a total of $642,000.

             J. Losses Sustained by the Rasmussens




4
 This includes the calves and cows lost as a result of the contamination, as well the calves not born to contaminated
cows in the amount above Rasmussen’s average open cow rate,
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   121.    Prior to the Slurry spill, the Rasmussen Ranch raised some of the finest cattle in the

State of ldaho. From 2019 to 2023, the Rasmussen Ranch increased its annual profits from

roughly $178,000 to $293,000. It was gradually increasing the size of its operation and had the

land, manpower, and resources to operate and grow a thriving business.

   122.    Since the spill, the Rasmussen Cattle have permanently been damaged by the

exposure to the toxic metals. The cattle are experiencing above-normal occurrences of stillborns,

abortions, and birth defects in their offspring. Consequently, the Rasmussens would have to

disclose that their cattle were exposed to toxic metals in the Slurry to prospective purchasers, and

there is simply no willing buyer under these conditions. Nor should these cattle be put into the

market to perpetuate the harms, nor into the food supply to cause potential harm to human and

animal health.

   123.    Even if some of the cattle may not be contaminated, Rasmussens cannot risk putting

any contaminated or affected cattle into the open market, i.e. for breeding or human

consumption. Again, these cattle cannot be sufficiently tested for contamination and effects

without having first euthanized.

   124.    Units 2, 1A, 1B of the Diamond Creek Allotment as well as the State Allotment and

the Rasmussen’s Private land near and along Diamond Creek are no longer safe to graze cattle

due to the high volumes of phosphate ore Slurry in the water sources, forage and the land

surrounding the banks of the water sources.

   125.    Given the damage to their grazing lands and expenses related to the disruption of their

business, the Rasmussens are unable continue operating their ranch with the same number of

cows and they do not have sufficient land and “Animal Unit Months (AUMs) to continue


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growing their operation. The reduction in suitable grazing land will necessitate a reduction in the

size of the herd of the Rasmussen Ranch, and therefore, a reduction in its gross annual income to

the point that Rasmussens will not have enough income to cover their expenses making the ranch

insolvent.

   126.      For the last couple of years, the Rasmussens have incurred additional expenses to try

to protect their operation. These additional costs include testing of their cattle and additional

trucking expenses to keep its cattle away from the contaminated lands, not to mention mounting

legal fees to address the issue. This year, it simply makes no sense to turn the cattle out. Yet, the

Rasmussen’s expenses continue to grow.

   127.      The Rasmussens have had to rely upon their long-time established line of credit with

their bank to cover their expenses relative to the ranch. They have drawn money from that line of

credit and withdrawn substantial sums of money from their retirement account to cover their

expenses and to address this matter. To date, they have had to withdraw and borrow several

hundred thousand dollars for their expenses. At the same time, the Rasmussens cannot obtain

revenue from the sale of their cattle to pay back the bank. They will also not be able to sell their

cattle, yet will continue to incur the expenses of managing the ranch and the cattle. The

Rasmussens are therefore in serious risk of defaulting on their obligations and draining their

retirement account, with catastrophic results to their business and livelihood. The longer that the

Rasmussens continue to suffer without any relief or remediation, the higher their losses will be.

   128.      Moreover, the Rasmussens cannot simply purchase additional cows to produce the

same quality of cattle. Because only 30 cows were not contaminated, over 90% of the herd must

be euthanized.


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   129.       Furthermore, the Rasmussens cannot simply lease or purchase additional land and

expect to produce the same quality of cattle and still generate their anticipated gross annual

income. This is primarily because there is no comparable land available for lease or for sale near

the rest of their grazing operation. The land upon which the cattle graze was some of the highest

quality grass and water in Idaho. Finding similar land of this quality near the current area of

operation is practically impossible. As a result, any additional land would have to be purchased a

long distance from the current grazing land. This will require additional costs and labor to

transport cattle in the middle of the grazing season over long distances. Additionally, this will

reduce the quality of the herd by adding additional stress during multiple in-season

transportations.

   130.       The initial estimates are that, under the current circumstances, the baseline of the

Rasmussen's economic losses are estimated to be as much as 29.5 million dollars in lost revenue

over the next 15 years. The Rasmussens had plans in place to continue their operation in

perpetuity.

   131.       Moreover, the loss of value to the Rasmussens' real property, which would include

their deeded lands and permit rights, is yet to be determined in that this will require a full

appraisal. However, assuming that the land is now cut off from primary grazing and water

sources, and that it will no longer be able to sustain a viable cattle operation, the losses to the

land value will be substantial.

   132.       The Rasmussens have done everything they can to mitigate their damages, but to no

avail. Their options and resources to do so are extremely limited.




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   133.    The Rasmussens, particularly Lynn and Glenna who are in their 70's, have suffered

severe emotional distress - not only caused by the ramifications of the spill itself, but also the

manner in which Simplot has handled this matter over the past two years. Both Lynn and Glenna

have and continue to deal with ongoing health issues which have been aggravated by this

situation. They have and continue to suffer numerous lost nights of sleep and loss of appetite,

which has substantially increased the deterioration of their health. Lynn and Glenna are

tormented by the thought that their seven-generation family legacy may be coming to an end

while they were at the helm. The amount of these damages will be determined by the jury.

However, particularly as time passes during which Rasmussens continue to suffer emotional

distress resulting from Simplot’s ongoing failures, the facts in this matter will support a

reasonable amount perhaps equivalent or more than double amount of the direct losses. In truth,

no amount of money will ever be sufficient to cover the devastating consequences of Simplot's

actions to Lynn and Glenna’s emotional health and well-being.\

   134.    Rasmussens also have standing under CERCLA to seek recovery of, or to compel

mitigation costs. Again, what is required for Simplot to meet its CERCLA obligations has yet to

be determined. However, given the sheer size and scope of this ongoing disaster, and the

minimal efforts by Simplot to this point to clean-up and mitigate the site, the mitigation costs

likely exceed many millions of dollars.

           K. Simplot’s blazon and systematic disregard, indifference to basic obligations to
              prevent and address harms, and outrageous conduct warranting punitive
              damages.




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   135.      Simplot is a privately owned company which conducts several highly profitable

phosphorus mining operations throughout the county, earning billions of dollars in profit

annually.

   136.      The nature of Simplot’s business is to mine, transport and process highly toxic

materials extremely harmful to animals, humans and the environment if not properly handled.

   137.      Due to Simplot’s lack of action, and the feckless response of the agencies involved, it

is unlikely at this point that the Slurry can ever be fully remediated. The harm that has been

caused will never be fully recoverable.

   138.      Simplot has been cited for numerous violations of its obligations to the public and

affected parties over the past several years, and has been able to reduce its fines and penalties by

making representations to the governing agencies and the public of its intention to accurately

report and address its actions, which have been relied upon by these agencies and the public,

particularly the U.S. Department of Justice and EPA NPC in its CERCLA and Superfund

oversight.

   139.      This case is a demonstration of Simplot’s deceitful actions and blatant disregard of its

critical obligations to protect affected individuals, the environment, including a wide variety of

wildlife and plants which are a treasured hallmark of our national forests, and by extension the

public at large from the harms that arise when the desire for profit is placed above its

responsibility to prevent and harms that could result in permanent and lasting damage.

   140.      Notably, this deception occurred at the very time Simplot was under review over

whether its Smokey Canyon Mine should be added to the CERCLA National Priority List, which




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in itself would have subjected Simplot to increased scrutiny and required resources to be devoted

to remediation under Superfund, another example to protect profits over obligations.

   141.     Additionally, Simplot did not want the spill to jeopardize its settlement discussions

with the U.S. Department of Justice in the Don Plant spill matter, and therefore conveniently

withheld disclosing the spill until after a settlement had been reached.

   142.     Further, Simplot has utilized its connections and influence in the highest offices of the

Idaho State Government, including the Governor, Lt. Governor, the IDA, the IDEQ and any

other yet unknown public officials to promote its own interests above that of the affected parties

and public and their legal obligations under law and its permits which allow Simplot to engage in

business involving hazardous materials.

   143.     From the very outset of when Simplot became aware of the Pipeline leak, Simplot has

engaged in a willful and deliberate pattern of conduct to withhold information regarding the

scope of the spill of its highly toxic materials, and to minimize potential consequences to its

bottom line, resulting in devastation to the Rasmussens, their legacy, the affected ecosystem, and

actual and potential harms to public health,

   144.     The known facts in this matter strongly support the imposition of punitive damages

against Simplot in an amount to be determined by the trier of fact, but given the scale of

Simplot’s deliberate and outrageous conduct and the assets and profit of the company, $250

million would not be unreasonable.



   II.      Causes of Action

         COUNT I: Immediate Writ of Mandate and Injunctive Relief Re: Condemnation and
         removal of contaminated herd and financial compensation.

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    145.    Pursuant to 28 U.S.C. § 1651, the Court may issue all writs necessary or appropriate

in aid of their respective jurisdictions and agreeable to the usages and principles of law.

    146.    Pursuant to F.R.C.P. § 65(c), the Court may provide injunctive relief when there

been has made a strong showing that a petitioner is likely to prevail on merits of its appeal, has

shown that without such relief petitioner will be irreparably injured, whether the issuance of a

stay would substantially harm other parties interested in the proceedings, and wherein lies the

public interest.

    147.    As set forth in the general allegations infra, in particular Sections I and J, a current

crisis and emergency exists which justifies urgent and immediate relief include a writ of mandate

and injunctive relief.

    148.    In short, the Rasmussens are currently caring for approximately 740 cows and calves

contaminated and/or which have been exposed to toxic high metals and the resulting effects, and

which are not marketable and must be disposed of immediately. Rasmussens do not have the

financial or physical resources to care and manage this contaminated herd during the pendency

of this matter, and will have no place to put their herd and lack resources to care and feed the

herd in just a few short weeks. Rasmussens also do not have the resources to dispose of the herd

themselves, in that they lack both the finances, equipment and manpower to do so.

    149.    Pursuant to I.C. § 25-209 the director of the Idaho Department of Agriculture’s

Animal Industries division is “directed” to take action “to prevent the introduction or

dissemination of disease among the animals of this State,” Id. Such action includes condemning

potentially “diseased” animals, which would by definition include cattle exposed to heavy

metals, and overseeing the slaughter of these animals. See I.C. §§ 25-210, 212.

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    150.    As set forth infra in the general allegations Section E and F, the Idaho State

Veterinarian Liebsle and IDAID initiated measures to inspect, investigate and determine that the

Rasmussen cattle exposed to the Slurry were in fact contaminated and affected by heavy metals

in the Slurry. However, IDAID did not complete its mandates under law by taking appropriate

action, including issuing a report and condemning the cattle – which is the only viable option for

addressing the issue. Moreover, Liebsle and the USAID took no action while knowing of the

potential harms both to animal and human health and safety if these cattle were placed into

commerce.

    151.    The Court should therefore mandate that the IDAID issue a report and condemn the

contaminated and affected cattle, and oversee their proper disposal preventing further harm.

    152.    As set forth infra in Sections F and G of the general allegations, Simplot is fully

aware of the effects of the toxic Slurry on the Rasmussen’s cattle and have admitted that liability

exists if the herd is contaminated.

    153.    Simplot should therefore incur the cost of the proper disposal of the affected cattle,

and should reimburse the costs that the Rasmussens have incurred in the care and management of

these cattle.

    154.    If the Court determines that IDAID should not be issued a writ of mandate as

requested herein, the Court should at least declare that the affected cattle be condemned and

properly disposed of under the direction and supervision of IDAID or any other appropriate

agency or authority, with Simplot bearing all of the costs.




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   155.    The Court should not allow Simplot to take the herd, or independently conduct any

action, in that Simplot has expressly indicated and has in fact allowed contaminated cattle to be

placed into commerce for production and consumption.

   156.    The Court should also award monetary damages to the Rasmussens for the value of

their contaminated cattle as set forth in Section I above, or any other amount deemed appropriate

by the Court related to this injunctive relief, with all other damages alleged in this action to be

determined by the trier of fact or in future proceedings.

       COUNT II: Relief under CERCLA

   157.    The previous allegations are restated and incorporated herein.

   158.    The Ninth Circuit has recognized a private cause of action under the "Comprehensive

Environmental Response, Compensation and Liability Act of 1980 (CERCLA). The Ninth

Circuit summarizes such a claim under CERCLA as follows:

       CERCLA "generally imposes strict liability on owners and operators of facilities at which
       hazardous substances were disposed." 3550 Stevens CreekAssocs. v. Barclays Bank, 915
       F.2d 1355, 1357 (9th Cir.1990). To achieve that end, CERCLA "authorizes private
       parties to institute civil actions to recover the costs involved in the cleanup of hazardous
       wastes from those responsible for their creation." Id; accord Pinal Creek Group, 118 F.3d
       at 1300 ("Section 107(a) ... authorizes suits against certain statutorily defined 'responsible
       parties' to recover costs incurred in cleaning up hazardous waste disposal sites.") (internal
       quotation marks and citation omitted).

Carson Harbor Vill., Ltd. v. Unocal Corp:., 270 F.3d 863, 870-71 (9th Cir. 2001)

   159.    Pursuant to Section 101(9), 42 U.S.C. § 9601(9); the established elements of a private

cost recovery action are that (1) the site on which the hazardous substances are contained is a

"facility" under CERCLA's definition of that term, (2) a "release" or "threatened release" of any

''hazardous substance" from the facility has occurred, 42 U.S.C. § 9607(a)(4); (3) such "release"

or "threatened release" has caused the plaintiff to incur response costs that were "necessary" and

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"consistent with the national contingency plan," 42 U.S.C. §§ 9607(a)(4) and (a)(4)(B); and (4)

the defendant is within one of four classes of persons subject to the liability provisions of Section

107(a). Id.

   160.       As set forth in the allegations of this complaint, Simplot is liable under 42 U.S.C.A. §

9607(a) for the following types of costs:

              a. all costs of removal or remedial action incurred by the United States Government

                 or a State or an Indian tribe not inconsistent with the national contingency plan;

              b. any other necessary costs of response incurred by any other person consistent with

                 the national contingency plan;

              c. damages for injury to, destruction of, or loss of natural resources, including the

                 reasonable costs of assessing such injury, destruction, or loss resulting from such

                 _a release; and

              d. the costs of any health assessment or health effects study carried out under section

                 104(i).

   161.       Simplot is strictly liable for the damages, relief and remediations provisions under

CERCLA. See 3550 Stevens Creek Assocs, 915 F.2d at 1357.

   162.       In that Rasmussens own forage and water rights on their allotments which have been

contaminated by hazardous waste, under CERCLA, the Rasmussens are entitled to costs for both

the assessment and damages related to the destruction and loss of these natural resources. They

will also be entitled to costs related to a health effects study to their cattle and any damages

stemming therefrom.




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   163.    Simplot is also liable for costs related to a complete remediation and clean- up of the

contamination.

   164.    The Court should also order injunctive relief as soon as possible to address, mitigate

and as much as possible prevent further harm caused by Simplot’s failure to comply with its

NPR and Superfund requirements under CERCLA including the following:

           a. That the EPA NPC be immediately notified of all known and available

                 information pertaining to the Slurry spill from the Pipeline, and that the NPA

                 report its receipt of this information to the Court;

           b. That the EPA NPC immediately conduct a full investigation into the matter and

                 report its involvement and efforts to the Court;

           c. That an independent and qualified experts, not associated with or involving

                 Simplot or IDEQ whatsoever, be appointed to conduct an assessment of the

                 necessary clean-up and restoration of the area, and to properly assess damage to

                 the affected ecosystem.

           d. That the EPA be required to provide sufficient notice to the public and all affected

                 parties and agencies of this matter.

           e. That the operation of the Pipeline be suspended or terminated.

           f. That all measures required under CERCLA and the NPC regulations be enforced.

   165.    The Rasmussens are entitled to their attorneys fees and costs incurred in pursuing a

private cause of action under CERCLA.

       COUNT III: Per Se Negligence for Release of Hazardous Materials

   166.    The previous allegations are hereby restated and incorporated herein.


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   167.    As set forth in the general allegations herein, Simplot is subject to numerous federal

statutes including CERCLA and the other statutes listed in its 2010 SUP in relation to its

handling of hazardous materials obtained and transported from its Smokey Canyon phosphorous

mine, and which includes the Slurry transported by its Pipeline some 86 miles to its Don Plant

processing center near Pocatello, Idaho.

   168.    Additionally, Simplot is subject to several state statutory and regulatory obligations in

the handling and storage of its hazardous Slurry including, Idaho Code§ 39-4408-

UNAUTHORIZED TREATMENT, STORAGE, RELEASE, USE OR DISPOSAL OF

HAZARDOUS WASTE PROHIBITED et. al, and Idaho Rule Section 58.01.02.850 -

HAZARDOUS MATERIAL SPILLS et. al.

   169.    “Hazardous materials” is defined under Idaho law as: “A material or combination of

materials which, when discharged in any quantity into state waters, presents a substantial present

or potential hazard to human health, the public health, or the environment” and includes “Waste

or used oil or other material which is contaminated or mixed with any hazardous waste.” See

I.C. § 39-4408(3) and Idaho Rule Section 58.01.02.850, subsection 47.

   170.    These and any other applicable statutes and rules regarding the handling and storage

of hazardous materials are designed to protect affected persons and the public from harm.

   171.    These and any other applicable legislative enactments or administrative regulations

set the standard of conduct of a reasonable person. See Restatement of (Second) of Torts § 286

   172.    Simplot is negligent per se for its violation of the standards of applicable laws and

rules, and therefore the first two elements of negligence duty and breach are therefore

established.


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   173.    Simplot may also strictly liable for its actions in that the extremely high pressure

utilized and necessary to move millions of tons of toxic Slurry annually through its 86 mile

Pipeline. Under common law, a party engaging in a "abnormally dangerous" and "ultra

hazardous" activity. See Restatement (Second) of Torts § 520.

   174.    Simplot’s actions did proximately cause damages to the Rasmussens as set forth in

Sections I and J in the general allegations in an amount to be determined by the trier of fact.

   175.    For the reasons set forth in Section K of the general allegations, Simplot is subject to

punitive damages for its willful disobedience and disregard of its strict statutory and regulatory

duties in the handling of and response to the spill of a massive amount toxic Slurry into the

environment, in amount to be determined by the trier of fact but in which $250 million would not

be unreasonable.

       COUNT IV: Ordinary Negligence, gross negligence and willful deliberate conduct

   176.    The previous allegations are hereby restated and incorporated herein.

   177.    Simplot has a common law duty to prevent harm to third persons from the spill of

hazardous materials including the toxic Slurry, and to immediately notify affected third persons,

timely fix and/or properly remediate any leak of such hazardous materials to prevent harm to

third persons.

   178.    Simplot breached their common law duties in failing to properly maintain and

monitor their Pipeline which pumps millions of gallons of toxic Slurry on an annual basis, to

notify affected third persons including the Rasmussens of the spill, and/or to timely fix the

problem, and/or has failed to properly remediate the issue.




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   179.    Simplot's breach did proximately cause damages to the Rasmussens as set forth in

Sections I and J in the general allegations in an amount to be determined by the trier of fact.

   180.    Simplot’s conduct constitutes gross negligence in that its mishandling of the incident

was the doing or failing to do an act which a reasonable person in a similar situation and of

similar responsibility would, with a minimum of contemplation, be inescapably drawn to

recognize as a duty to do or not do such act and that failing that duty shows deliberate

indifference to the harmful consequences to others.

   181.    Simplot’s conduct constitutes reckless, willful and wanton conduct in that it its

actions in mishandling the incident, in that it intentionally and knowingly did or failed to do acts

creating unreasonable risk of harm to another, and which involves a high degree of probability

that such harm will result.

   182.    For the reasons set forth in Section K of the general allegations, Simplot is subject to

punitive damages for its gross negligence, reckless or willful conduct in amount to be determined

by the trier of fact but in which $250 million would not be unreasonable.

       COUNT V: Nuisance

   183.     The previous allegations are hereby restated and incorporated herein.

   184.    Under I.C. § 52-111: "Anything which is injurious to health or morals, or indecent, or

offensive to the senses, or an obstruction to the free use of property, so as to interfere with the

comfortable enjoyment of life or property, is a nuisance and the subject of an action. In the case

of a moral nuisance, the action may be brought by any resident citizen of the county; in all other

cases the action may be brought by any person whose property is injuriously affected, or whose




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personal enjoyment is lessened by the nuisance; and by the judgment the nuisance may be

enjoined or abated, as well as damages recovered."

   185.      Simplot’s actions as set forth in the general allegations constitute a nuisance in that

such conduct did injure the Rasmussen’s property, and Rasmussen’s personal enjoyment of their

property were affected and lessened as a result of the nuisance.

   186.      Pursuant to I.C. § 52-401 et. al. Rasmussens are entitled to multiple available

remedies for Simplot’s nuisance, including abatement, damages and fines or penalties pursuant

to I.C. § 52-415 which include a lien on Simplot’s property for the amount of the abatement

costs, an accounting, forfeiture of property, investigative costs, court costs, reasonable

attorney’s fees arising out of the preparation for, and trial of the cause, and appeals therefrom,

and other costs allowed on appeal, printing costs of trial and appellate briefs, and all other papers

filed in such proceedings, and other remedies set forth therein.

       COUNT VI: Trespass

   187.      The previous allegations are hereby restated and incorporated herein.

   188.      I.C. § 6-202 provides two forms of civil trespass where: 1) "[a]ny person who enters

or remains upon the real property of another person without permission commits a civil trespass,

and 2) "[a] person commits a civil trespass with damage when he enters or remains on the real

property of another without permission, knowing or with reason to know that his presence is not

permitted, and causes damage to real or personal property in excess of one thousand dollars

($1,000)."

   189.      Idaho also permits claims for damages under a theory of common law trespass where

a person is in legal possession of land.


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    190.     Simplot's spill of the Slurry out of the Pipeline it controlled constitutes a trespass in

that it entered "upon or over real property ... by causing [a]... substance... to go upon... real

property” leased by the Rasmussen Ranch, as well as their forage and water rights. See I.C. § 6-

202(l)(d).

    191.     I.C. § 6-202(3)(a) entitles Rasmussens to “(i) treble the amount of actual damages

caused by the trespass, (ii) reasonable attorney’s fees, which shall be taxed as costs in any civil

action brought to enforce the provisions of this section, if the plaintiff prevails and (iii)

reasonable costs associated with investigating any trespass, as approved by the court, which shall

be taxed as costs in any civil action brought to enforce the provisions of this section, if the

plaintiff prevails.”

        COUNT VII: Citizen Suit under the Clean Water Act

    192.     The previous allegations are hereby restated and set forth herein.

    193.     Pursuant to 33 U.S.C.A. § 1365, any citizen may commence a civil action on his own

behalf against any person (including (i) the United States, and (ii) any other governmental

instrumentality or agency to the extent permitted by the eleventh amendment to the Constitution

who is alleged to be in violation of:

        (A) an effluent standard or limitation under the provisions of this chapter (i.e.) Clean

              Water Act or (B) an order issued by the Administrator or a State with respect to such

              a standard or limitation, or

        (B) against the Administrator where there is alleged a failure of the Administrator to

              perform any act or duty under this chapter which is not discretionary with the

              Administrator.


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    194.    Pursuant to the 2018 EPA/IDEQ MOA, and the 2020 FS/IDEQ MOU, the IDEQ

bears responsibility as the Administrator for enforcing the provisions of the CWA in the CNF,

subjection to restrictions and oversight of the EPA.

    195.    As set forth in the general allegations herein, in particular Sections B-D and H, the

IDEQ has failed in its obligations to enforce the provisions of the CWA.

    196.    Simplot has committed several acts in violation of the CWA which require

enforcement and remedies under the act.

    197.    The Rasmussens have repeatedly provided effective notice to the IDEQ through

numerous communications of Simplot’s violations of the CWA more than 60 days prior to the

filing of this lawsuit.

    198.    Several remedies should be taken for IDEQ’s and Simplot’s failures, including but

not necessarily including the following:

            a. IDEQ should be removed as the agency of enforcing the CWA for this matter, and

                all such responsibilities and authority should be restored to the EPA;

            b. Simplot’s 2010 SUP Permit allowing the operation of the Pipeline should be

                suspended and/or cancelled;

            c. All previous agreements, understandings, actions or any other such measures

                taken by the IDEQ regarding this matter should be rescinded;

            d. A proper and complete investigation should be ordered to ascertain violations of

                the CWA, and to set the framework for remediation and enforcement of the

                CWA, and that the results of this investigation be fully disclosed to the public;




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           e. All reports issued by and under the direction or influence of Simplot should be

                 disregarded and replaced by reports conducted by independent and qualified

                 experts and administrators;

           f. That Simplot pay any penalties and fines for its violations of the CWA to the full

                 extent of the law;

           g. That all proper measures be taken to remediate the violations of the CWA;

           h. Any and all other appropriate measures be taken to address this matter not

                 referenced herein.

   199.    Rasmussens should be awarded litigation costs including reasonable attorney and

expert witness fees pursuant to 33 U.S.C.A. § 1365(d). Any security bond which may be

required for any injunctive or declaratory relief should be waived by the Court.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs and Petitioners Lynn and Glenna Rasmussen hereby seek the

following relief:

   1. A writ of mandate and preliminary injunction as set forth herein in Count I

   2. An award of monetary damages as set forth in the respective claims herein.

   3. Injunctive and declaratory relief as set forth in the respective claims herein.

   4. Attorneys fees and costs under applicable law and the rules for the respective claims

       herein.

   5. All equitable relief as deemed appropriate and within the jurisdiction of the Court

       pursuant to the respective claims set forth herein.

    PLAINTIFFS REQUEST A JURY TRIAL FOR ALL CLAIMS TRIABLE BY A JURY


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            DATED: May 1, 2025

            OLSEN TAGGART PLLC


            /s/ Nathan M. Olsen
            Nathan M. Olsen
            Attorney for the Plaintiff




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                                         V E R I F I C AT I O N




 STATE OF IDAHO )
                          )ss.
 County of Caribou        )

   Lynn Rasmussen and Glenna Rasmussen, the Plaintiffs and Petitioners in this action, being

first duly sworn, deposes and says:

   That they are the Plaintiffs and Petitioners, that they have read the foregoing Verified

Complaint, Petition for Injunctive Relief, and Writ of Mandate, know the contents thereof and

believe the allegations therein to be true and correct to the best of their knowledge, information

and belief




                                                                  DATED:
                     Rasmussen




                          tl aFQU\ D A T E D : 4 3 0                                  sl5
               Glenna Rasmussen,


SUBSCRIBED ANO SWORN TQ-                 ire   me   this3^dayofApril2025.



               NOTARY PUBLIC ^p> w                                            5     5                    =
               Residing at:
               Commission expires:                                                            1C
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AuthorizationCase  4:25-cv-00236-DCN            Document 1         Filed 05/02/25        Page 64 FS-2700-4
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                                                              EXHIBIT 2
              ID: SSC51
Contact ID:       SIMPLOT                                                                             OMB 0596-0082
Expiration Date: 12/31/2037
Use Code:         761

                               U.S. DEPARTMENT OF AGRICULTURE
                                           Forest Service
                                       SPECIAL USE PERMIT
                                            AUTHORITY:
                 FEDERAL LAND POLICY AND MGMT ACT, AS AMENDED October 21, 1976
                                  (Ref.: FSH 2709.11, section 41.53)

J. R. SIMPLOT CO. of C/O VIC CONRAD P.O. BOX 27 BOISE ID 83707 (hereinafter "the holder") is authorized to use
or occupy National Forest System lands in the Caribou-Targhee National Forest or unit of the National Forest
System, subject to the terms and conditions of this special use permit (the permit).

This permit authorizes a 50-foot right-of-way (ROW) for an existing slurry pipeline and communications line on
lands managed by the Soda Springs Ranger District (SSRD) and Westside Ranger District (WRD) of the Caribou-
Targhee National Forest (Forest). It was originally issued as two separate Special Use Permits (SUPs): SUP 4067-
03 issued September 16, 1982, for the SSRD; and SUP 4067-05 issued February 4, 1991, for the WRD. The ROW
will be used for continued operation and maintenance of the slurry pipeline, communications line, and related
facilities.

The slurry pipeline is used for the conveyance of phosphate ore concentrate from the Smoky Canyon millsite to the
Conda Plant (SSRD portion), and then from the Conda Plant to the Don Plant (WRD portion). The length of the
pipeline that crosses the Forest is approximately 135.7 acres (see Exhibit A for map). Of this total, 98.5 acres is
located on the SSRD and 37.2 acres is located on the WRD.

The communications line is entirely within the WRD and is used to monitor the status of the pipeline. It is located
within the slurry pipeline ROW and crosses NFS lands from the Forest boundary in Inman Canyon to the top of
Inman Ridge for a distance of 17,102 feet.

The following sections of NFS lands are crossed by the pipeline ROW within the SSRD:

                           TOES, R45E, Boise Meridian — 19, 22, 23, 24, 25, 27, 28, 29, 30
                                  T0ES, R44E, Boise Meridian — 23, 24, 26, 27, 28
                                    T08S, R43E, Boise Meridian — 27, 28, 29, 30

The following sections of NFS lands are crossed by the pipeline/communications line ROW within the WRD:

                                        T06S, R37E, Boise Meridian — 33, 34
                                   T07S, R37E, Boise Meridian — 1, 2, 3, 4, 5, 6, 12

Details regarding the construction, operation, and other aspects of the slurry pipeline were provided in the 1982
EnvironmentalImpact Statement for the Smoky Canyon Phosphate Mine (for the portion within the SSRD) and the
1989 Environmental Assessment for the Conda-Pocatello Phosphate Slurry Pipeline Project (for the portion within
the WRD). These documents are provided electronically Exhibit B. The pipeline from the Smoky Canyon millsite to
the Conda Plant began operations in 1984 and the pipeline from the Conda Plant to the Don Plant began operations
in 1991. The entire pipeline is currently operated 24 hours per day and 7 days per week and can be used to
transport approximately 2 million tons of ore concentrate per year.

Authorization under this permit includes (1) related facilities and roads required for access and/or maintenance in
accordance with designs and specifications approved by the U.S. Forest Service and (2) the right to repair, replace,
and maintain all of the foregoing.

The following information was provided by Simplot for permit renewal and is included electronically Exhibit C:

 •   Map of pipeline from Smoky Canyon Mine to the Don Plant (hard copy included as Exhibit D)
 •   Pipeline profiles for segments crossing NFS lands
 •   Drawings of stream crossings, road crossings, cathodic protection stations, test station vaults, and french drains

Soecial Use Permit SSC51                                                                                  Paee 1 of 16
 •           Case
     Photos of       4:25-cv-00236-DCN
               test station vaults, rectifiers, andDocument  1 catchment
                                                   Diamond Creek Filed 05/02/25
                                                                         basin             Page 65 of 212
 •   Piping and instrument diagrams
 •   Results of pipeline surveys and testing
 •   Results of slurry chemical analyses
 •   Pipeline operating manual (non-confidential portions only)
 •   Geographic information system (GIS) shapefile of pipeline

                                              TERMS AND CONDITIONS
I. GENERAL TERMS

A. AUTHORITY. This permit is issued pursuant to [name of and cite for authority] and 36 CFR Part 251, Subpart
   B, as amended, and is subject to their provisions.

B. AUTHORIZED OFFICER. The authorized officer is the Forest or Grassland Supervisor or a subordinate officer
   with delegated authority.

C. TERM. This permit shall expire at midnight on 12/31/2037, years or months from the date of issuance.

D. RENEWAL. This permit is not renewable. Prior to expiration of this permit, the holder may apply for a new
   permit that would renew the use and occupancy authorized by this permit. Applications for a new permit must
   be submitted at least 6 months prior to expiration of this permit. Renewal of the use and occupancy authorized
   by this permit shall be at the sole discretion of the authorized officer. At a minimum, before renewing the use
   and occupancy authorized by this permit, the authorized officer shall require that (1) the use and occupancy to
   be authorized by the new permit is consistent with the standards and guidelines in the applicable land
   management plan; (2) the type of use and occupancy to be authorized by the new permit is the same as the
   type of use and occupancy authorized by this permit; and (3) the holder is in compliance with all the terms of
   this permit. The authorized officer may prescribe new terms and conditions when a new permit is issued.

E. AMENDMENT. This permit may be amended in whole or in part by the Forest Service when, at the discretion
   of the authorized officer, such action is deemed necessary or desirable to incorporate new terms that may be
   required by law, regulation, directive, the applicable forest land and resource management plan, or projects
   and activities implementing a land management plan pursuant to 36 CFR Part 215.

F. COMPLIANCE WITH LAWS, REGULATIONS, AND OTHER LEGAL REQUIREMENTS. In exercising the
   rights and privileges granted by this permit, the holder shall comply with all present and future federal laws and
   regulations and all present and future state, county, and municipal laws, regulations, and other legal
   requirements that apply to the permit area, to the extent they do not conflict with federal law, regulation, or
   policy. The Forest Service assumes no responsibility for enforcing laws, regulations, and other legal
   requirements that fall under the jurisdiction of other governmental entities.

G. NON-EXCLUSIVE USE. The use or occupancy authorized by this permit is not exclusive. The Forest Service
   reserves the right of access to the permit area, including a continuing right of physical entry to the permit area
   for inspection, monitoring, or any other purpose consistent with any right or obligation of the United States
   under any law or regulation. The Forest Service reserves the right to allow others to use the permit area in any
   way that is not inconsistent with the holder's rights and privileges under this permit, after consultation with all
   parties involved. Except for any restrictions that the holder and the authorized officer agree are necessary to
   protect the installation and operation of authorized temporary improvements, the lands and waters covered by
   this permit shall remain open to the public for all lawful purposes.

H. ASSIGNABILITY. This permit is not assignable or transferable.

I. TRANSFER OF TITLE TO THE IMPROVEMENTS.

      1.Notification of Transfer. The holder shall notify the authorized officer when a transfer of title to all or part of
        the authorized improvements is contemplated.

      2.Transfer of Title. Any transfer of title to the improvements covered by this permit shall result in termination
        of the permit. The party who acquires title to the improvements must submit an application for a permit.
        The Forest Service is not obligated to issue a new permit to the party who acquires title to the
        improvements. The authorized officer shall determine that the applicant meets requirements under
        applicable federal regulations.
Soecial Use Permit SSC51                                                                                      Pare 2 of 16
            Case 4:25-cv-00236-DCN              Document 1         Filed 05/02/25        Page 66 of 212
 J. CHANGE IN CONTROL OF THE BUSINESS ENTITY.

     1. Notification of Change in Control. The holder shall notify the authorized officer when a change in control of
        the business entity that holds this permit is contemplated.

        a. In the case of a corporation, control is an interest, beneficial or otherwise, of sufficient outstanding
           voting securities or capital of the business so as to permit the exercise of managerial authority over the
           actions and operations of the corporation or election of a majority of the board of directors of the
           corporation.

        b. In the case of a partnership, limited partnership, joint venture, or individual entrepreneurship, control is
           a beneficial ownership of or interest in the entity or its capital so as to permit the exercise of managerial
           authority over the actions and operations of the entity.

        c. In other circumstances, control is any arrangement under which a third party has the ability to exercise
           management authority over the actions or operations of the business.

     2. Effect of Change in Control. Any change in control of the business entity as defined in paragraph 1of this
        clause shall result in termination of this permit. The party acquiring control must submit an application for a
        special use permit. The Forest Service is not obligated to issue a new permit to the party who acquires
        control. The authorized officer shall determine whether the applicant meets the requirements established
        by applicable federal regulations.

II. IMPROVEMENTS

A. LIMITATIONS ON USE. LIMITATIONS ON USE. Nothing in this permit gives or implies permission to build or
   maintain any structure or facility or to conduct any activity, unless specifically authorized by this permit. Any
   use not specifically authorized by this permit must be proposed in accordance with 36 CFR 251.54. Approval of
   such a proposal through issuance of a new permit or permit amendment is at the sole discretion of the
   authorized officer.

B. PLANS. All plans for development, layout, construction, reconstruction, or alteration of improvements in the
   permit area, as well as revisions to those plans must be prepared by a professional engineer, architect,
   landscape architect, or other qualified professional based on federal employment standards acceptable to the
   authorized officer. These plans and plan revisions must have written approval from the authorized officer
   before they are implemented. The authorized officer may require the holder to furnish as-built plans, maps, or
   surveys upon completion of the work.

III. OPERATIONS.

A. PERIOD OF USE. Use or occupancy of the permit area shall be exercised at least 365 days each year.

B. CONDITION OF OPERATIONS. The holder shall maintain the authorized improvements and permit area to
   standards of repair, orderliness, neatness, sanitation, and safety acceptable to the authorized officer and
   consistent with other provisions of this permit. Standards are subject to periodic change by the authorized
   officer when deemed necessary to meet statutory, regulatory, or policy requirements or to protect national
   forest resources. The holder shall comply with inspection requirements deemed appropriate by the authorized
   officer.

C. OPERATING PLAN. The holder shall prepare and annually revise by April for inclusion in the annual
   operations report an operating plan. The operating plan shall be prepared in consultation with the authorized
   officer or the authorized officer's designated representative and shall cover all operations authorized by this
   permit. The operating plan shall outline steps the holder will take to protect public health and safety and the
   environment and shall include sufficient detail and standards to enable the Forest Service to monitor the
   holder's operations for compliance with the terms and conditions of this permit. The operating plan shall be
   submitted by the holder and approved by the authorized officer or the authorized officer's designated
   representative prior to commencement of operations and shall be attached to this permit as an appendix. The
   authorized officer may require an annual meeting with the holder to discuss the terms and conditions of the
   permit or operating plan, annual use reports, or other concerns either party may have.

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            Case BY
D. INSPECTION      4:25-cv-00236-DCN
                       THE FOREST SERVICE.Document              1 Filed
                                                   The Forest Service  shall05/02/25      Page 67
                                                                             monitor the holder's    of 212 and
                                                                                                  operations
   reserves the right to inspect the permit area and transmission facilities at any time for compliance with the
   terms of this permit. The holder's obligations under this permit are not contingent upon any duty of the Forest
   Service to inspect the permit area or transmission facilities. A failure by the Forest Service or other
   governmental officials to inspect is not a justification for noncompliance with any of the terms and conditions of
   this permit.

IV. RIGHTS AND LIABILITIES

A. LEGAL EFFECT OF THE PERMIT. This permit, which is revocable and terminable, is not a contract or a lease,
   but rather a federal license. The benefits and requirements conferred by this authorization are reviewable solely
   under the procedures set forth in 36 CFR Part 251, Subpart C, and 5 U.S.C. 704. This permit does not
   constitute a contract for purposes of the Contract Disputes Act, 41 U.S.C. 601. The permit is not real property,
   does not convey any interest in real property, and may not be used as collateral for a loan.

B. VALID OUTSTANDING RIGHTS. This permit is subject to all valid outstanding rights. Valid outstanding
   rights include those derived under mining and mineral leasing laws of the United States. The United States is
   not liable to the holder for the exercise of any such right.

C. ABSENCE OF THIRD-PARTY BENEFICIARY RIGHTS. The parties to this permit do not intend to confer any
   rights on any third party as a beneficiary under this permit.

D. SERVICES NOT PROVIDED. This permit does not provide for the furnishing of road or trail maintenance,
   water, fire protection, search and rescue, or any other such service by a government agency, utility,
   association, or individual.

E. RISK OF LOSS. The holder assumes all risk of loss associated with use or occupancy of the permit area,
   including but not limited to theft, vandalism, fire and any fire-fighting activities (including prescribed burns),
   avalanches, rising waters, winds, falling limbs or trees, and other forces of nature. If authorized temporary
   improvements in the permit area are destroyed or substantially damaged, the authorized officer shall conduct
   an analysis to determine whether the improvements can be safely occupied in the future and whether
   rebuilding should be allowed. If rebuilding is not allowed, the permit shall terminate.

F. DAMAGE TO UNITED STATES PROPERTY. The holder has an affirmative duty to protect from damage the
   land, property, and other interests of the United States. Damage includes but is not limited to fire suppression
   costs, damage to government-owned improvements covered by this permit, and all costs and damages
   associated with or resulting from the release or threatened release of a hazardous material occurring during or
   as a result of activities of the holder or the holder's heirs, assigns, agents, employees, contractors, or lessees
   on, or related to, the lands, property, and other interests covered by this permit. For purposes of clause IV.F
   and section V, "hazardous material" shall mean (a) any hazardous substance under section 101(14) of the
   Comprehensive Environmental Response, Compensation, and Liability Act (CERCLA), 42 U.S.C. § 9601(14); (b)
   any pollutant or contaminant under section 101(33) of CERCLA, 42 U.S.C. § 9601(33); (c) any petroleum
   product or its derivative, including fuel oil, and waste oils; and (d) any hazardous substance, extremely
   hazardous substance, toxic substance, hazardous waste, ignitable, reactive or corrosive materials, pollutant,
   contaminant, element, compound, mixture, solution or substance that may pose a present or potential hazard
   to human health or the environment under any applicable environmental laws.

    1. The holder shall avoid damaging or contaminating the environment, including but not limited to the soil,
       vegetation (such as trees, shrubs, and grass), surface water, and groundwater, during the holder's use or
       occupancy of the permit area. If the environment or any government property covered by this permit
       becomes damaged during the holder's use or occupancy of the permit area, the holder shall immediately
       repair the damage or replace the damaged items to the satisfaction of the authorized officer and at no
       expense to the United States.

    2. The holder shall be liable for all injury, loss, or damage, including fire suppression, prevention and control
       of the spread of invasive species, or other costs in connection with rehabilitation or restoration of natural
       resources associated with the use or occupancy authorized by this permit. Compensation shall include but
       not be limited to the value of resources damaged or destroyed, the costs of restoration, cleanup, or other
       mitigation, fire suppression or other types of abatement costs, and all administrative, legal (including
       attorney's fees), and other costs. Such costs may be deducted from a performance bond required under
       clause IV.I.
Soecial Use Permit SSC51                                                                                  Paee 4 of 16
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    3. The holder shall be liable for damage caused by use of the holder or the holder's heirs, assigns, agents,
       employees, contractors, or lessees to all roads and trails of the United States to the same extent as
       provided under clause IV.F.1, except that liability shall not include reasonable and ordinary wear and tear

G. HEALTH, SAFETY, AND ENVIRONMENTAL PROTECTION. The holder shall promptly abate as completely
   as possible and in compliance with all applicable laws and regulations any activity or condition arising out of or
   relating to the authorized use or occupancy that causes or threatens to cause a hazard to public health or the
   safety of the holder's employees or agents or harm to the environment (including areas of vegetation or timber,
   fish or other wildlife populations, their habitats, or any other natural resources). The holder shall prevent
   impacts to the environment and cultural resources by implementing actions identified in the operating plan to
   prevent establishment and spread of invasive species. The holder shall immediately notify the authorized officer
   of all serious accidents that occur in connection with such activities. The responsibility to protect the health and
   safety of all persons affected by the use or occupancy authorized by this permit is solely that of the holder. The
   Forest Service has no duty under the terms of this permit to inspect the permit area or operations and activities
   of the holder for hazardous conditions or compliance with health and safety standards.

H. INDEMNIFICATION OF THE UNITED STATES. The holder shall indemnify, defend, and hold harmless the
   United States for any costs, damages, claims, liabilities, and judgments arising from past, present, and future
   acts or omissions of the holder in connection with the use or occupancy authorized by this permit. This
   indemnification provision includes but is not limited to acts and omissions of the holder or the holder's heirs,
   assigns, agents, employees, contractors, or lessees in connection with the use or occupancy authorized by this
   permit which result in (1) violations of any laws and regulations which are now or which may in the future
   become applicable, and including but not limited to those environmental laws listed in clause V.A of this permit;
   (2) judgments, claims, demands, penalties, or fees assessed against the United States; (3) costs, expenses,
   and damages incurred by the United States; or (4) the release or threatened release of any solid waste,
   hazardous waste, hazardous materials, pollutant, contaminant, oil in any form, or petroleum product into the
   environment. The authorized officer may prescribe terms that allow the holder to replace, repair, restore, or
   otherwise undertake necessary curative actions to mitigate damages in addition to or as an alternative to
   monetary indemnification.

I. BONDING. The authorized officer may require the holder to furnish a surety bond or other security for any of
   the obligations imposed by the terms and conditions of this permit or any applicable law, regulation, or order.

    1. As a further guarantee of compliance with the terms and conditions of this permit, the holder shall deliver
       and maintain a surety bond or other acceptable security, such as cash deposited and maintained in a
       federal depository or negotiable securities of the United States, in the amount of $1,276,000. The
       authorized officer may periodically evaluate the adequacy of the bond or other security and increase or
       decrease the amount as appropriate. If the bond or other security becomes unsatisfactory to the authorized
       officer, the holder shall within 30 days of demand furnish a new bond or other security issued by a surety
       that is solvent and satisfactory to the authorized officer. If the holder fails to meet any of the requirements
       secured under this clause, money deposited pursuant to this clause shall be retained by the United States
       to the extent necessary to satisfy the obligations secured under this clause, without prejudice to any other
       rights and remedies of the United States.

    2. The bond shall be released or other security returned 30 days after (a) the authorized officer certifies that
       the obligations covered by the bond or other security are met and (b) the holder establishes to the
       satisfaction of the authorized officer that all claims for labor and material for the secured obligations have
       been paid or released.

    3. Prior to undertaking additional construction or alteration not covered by the bond or other security, or
       when the authorized improvements are to be removed and the permit area restored the holder may be
       required to obtain additional bonding or security.



V. RESOURCE PROTECTION

A. COMPLIANCE WITH ENVIRONMENTAL LAWS. The holder shall in connection with the use or occupancy
   authorized by this permit comply with all applicable federal, state, and local environmental laws and
   regulations, including but not limited to those established pursuant to the Resource Conservation and Recovery
Special Use Permit SSCS1                                                                                  Pane 5 of 16
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    Act, as amended,                            Document
                       42 U.S.C. 6901 et seq., the            1 Pollution
                                                   Federal Water  Filed 05/02/25        Page
                                                                           Control Act, as     69 of33
                                                                                           amended,  212U.S.C. 1251
    et seq., the Oil Pollution Act, as amended, 33 U.S.C. 2701 et seq., the Clean Air Act, as amended, 42 U.S.C.
    7401 et seq., CERCLA, as amended, 42 U.S.C. 9601 et seq., the Toxic Substances Control Act, as amended, 15
    U.S.C. 2601 et seq., the Federal Insecticide, Fungicide, and Rodenticide Act, as amended, 7 U.S.C. 136 et seq.,
    and the Safe Drinking Water Act, as amended, 42 U.S.C. 300f et seq.

B. VANDALISM. The holder shall take reasonable measures to prevent and discourage vandalism and disorderly
   conduct and when necessary shall contact the appropriate law enforcement officer.

C. PESTICIDE USE. Pesticides may not be used outside of buildings to control undesirable woody and
   herbaceous vegetation (including aquatic plants), insects, rodents, fish, and other pests and weeds without
   prior written approval from the authorized officer. A request for approval of planned uses of pesticides shall be
   submitted annually by the holder on the due date established by the authorized officer. The report shall cover a
   12-month period of planned use beginning 3 months after the reporting date. Information essential for review
   shall be provided in the form specified. Exceptions to this schedule may be allowed, subject to emergency
   request and approval, only when unexpected outbreaks of pests or weeds require control measures that were
   not anticipated at the time an annual report was submitted. Only those materials registered by the U.S.
   Environmental Protection Agency for the specific purpose planned shall be considered for use on National
   Forest System lands. Label instructions and all applicable laws and regulations shall be strictly followed in the
   application of pesticides and disposal of excess materials and containers.

D. ARCHAEOLOGICAL-PALEONTOLOGICAL DISCOVERIES. The holder shall immediately notify the
   authorized officer of all antiquities or other objects of historic or scientific interest, including but not limited to
   historic or prehistoric ruins, fossils, or artifacts discovered in connection with the use and occupancy authorized
   by this permit. The holder shall leave these discoveries intact and in place until directed otherwise by the
   authorized officer. Protective and mitigative measures specified by the authorized officer shall be the
   responsibility of the holder.

E. NATIVE AMERICAN GRAVES PROTECTION AND REPATRIATION. In accordance with 25 U.S.C. 3002(d)
   and 43 CFR 10.4, if the holder inadvertently discovers human remains, funerary objects, sacred objects, or
   objects of cultural patrimony on National Forest System lands, the holder shall immediately cease work in the
   area of the discovery and shall make a reasonable effort to protect and secure the items. The holder shall
   immediately notify the authorized officer by telephone of the discovery and shall follow up with written
   confirmation of the discovery. The activity that resulted in the inadvertent discovery may not resume until 30
   days after the authorized officer certifies receipt of the written confirmation, if resumption of the activity is
   otherwise lawful, or at any time if a binding written agreement has been executed between the Forest Service
   and the affiliated Indian tribes that adopts a recovery plan for the human remains and objects.

F. PROTECTION OF HABITAT OF THREATENED, ENDANGERED, AND SENSITIVE SPECIES. The location
   of sites within the permit area needing special measures for protection of plants or animals listed as threatened
   or endangered under the Endangered Species Act (ESA) of 1973, 16 U.S.C. 1531 et seq., as amended, or
   identified as sensitive or otherwise requiring special protection by the Regional Forester under Forest Service
   Manual (FSM) 2670, pursuant to consultation conducted under section 7 of the ESA, may be shown on the
   ground or on a separate map. The map shall be attached to this permit as an appendix. The holder shall take
   any protective and mitigative measures specified by the authorized officer. If protective and mitigative
   measures prove inadequate, if other sites within the permit area containing threatened, endangered, or
   sensitive species or species otherwise requiring special protection are discovered, or if new species are listed as
   threatened or endangered under the ESA or identified as sensitive or otherwise requiring special protection by
   the Regional Forester under the FSM, the authorized officer may specify additional protective and mitigative
   measures. Discovery of these sites by the holder or the Forest Service shall be promptly reported to the other
   party.

G. CONSENT TO STORE HAZARDOUS MATERIALS. The holder shall not store any hazardous materials at the
   site without prior written approval from the authorized officer. This approval shall not be unreasonably
   withheld. If the authorized officer provides approval, this permit shall include, or in the case of approval
   provided after this permit is issued, shall be amended to include specific terms addressing the storage of
   hazardous materials, including the specific type of materials to be stored, the volume, the type of storage, and
   a spill plan. Such terms shall be proposed by the holder and are subject to approval by the authorized officer.

H. CLEANUP AND REMEDIATION

Soecial Use Permit SSC51                                                                                     Paee 6 of 16
     1. The Case
             holder 4:25-cv-00236-DCN             Documentresponse
                    shall immediately notify all appropriate  1 Filed      05/02/25
                                                                       authorities,        Page
                                                                                    including the 70 of 212
                                                                                                  National Response
        Center and the authorized officer or the authorized officer's designated representative, of any oil discharge
        or of the release of a hazardous material in the permit area in an amount greater than or equal to its
        reportable quantity, in accordance with 33 CFR Part 153, Subpart B, and 40 CFR Part 302. For the purposes
        of this requirement, "oil" is as defined by section 311(a)(1) of the Clean Water Act, 33 U.S.C. 1321(a)(1).
        The holder shall immediately notify the authorized officer or the authorized officer's designated
        representative of any release or threatened release of any hazardous material in or near the permit area
        which may be harmful to public health or welfare or which may adversely affect natural resources on
        federal lands.

     2. Except with respect to any federally permitted release as that term is defined under Section 101(10) of
        CERCLA, 42 U.S.C. 9601(10), the holder shall clean up or otherwise remediate any release, threat of
        release, or discharge of hazardous materials that occurs either in the permit area or in connection with the
        holder's activities in the permit area, regardless of whether those activities are authorized under this
        permit. The holder shall perform cleanup or remediation immediately upon discovery of the release, threat
        of release, or discharge of hazardous materials. The holder shall perform the cleanup or remediation to the
        satisfaction of the authorized officer and at no expense to the United States. Upon revocation or
        termination of this permit, the holder shall deliver the site to the Forest Service free and clear of
        contamination.

I.   CERTIFICATION UPON REVOCATION OR TERMINATION. If the holder uses or stores hazardous
     materials at the site, upon revocation or termination of this permit the holder shall provide the Forest Service
     with a report certified by a professional or professionals acceptable to the Forest Service that the permit area is
     uncontaminated by the presence of hazardous materials and that there has not been a release or discharge of
     hazardous materials upon the permit area, into surface water at or near the permit area, or into groundwater
     below the permit area during the term of the permit. This certification requirement may be waived by the
     authorized officer when the Forest Service determines that the risks posed by the hazardous material are
     minimal. If a release or discharge has occurred, the professional or professionals shall document and certify
     that the release or discharge has been fully remediated and that the permit area is in compliance with all
     federal, state, and local laws and regulations.

VI. LAND USE FEE AND ACCOUNTING ISSUES

A. LAND USE FEES. The holder shall pay an initial annual land use fee of $4257.43 for the period from January
   01, 2011 to December 31, 2011, and thereafter on January l s` shall pay an annual land use fee of $4257.43. The
   annual land use fee shall be adjusted annually using the insert applicable indexing factor.

B. MODIFICATION OF THE LAND USE FEE. The land use fee may be revised whenever necessary to reflect
   the market value of the authorized use or occupancy or when the fee system used to calculate the land use fee
   is modified or replaced.

C. FEE PAYMENT ISSUES.

     1. Crediting of Payments. Payments shall be credited on the date received by the deposit facility, except that if
        a payment is received on a non-workday, the payment shall not be credited until the next workday.

     2. Disputed Fees. Fees are due and payable by the due date. Disputed fees must be paid in full. Adjustments
        will be made if dictated by an administrative appeal decision, a court decision, or settlement terms.

     3. Late Payments

         (a) Interest. Pursuant to 31 U.S.C. 3717 et seq., interest shall be charged on any fee amount not paid
             within 30 days from the date it became due. The rate of interest assessed shall be the higher of the
             Prompt Payment Act rate or the rate of the current value of funds to the Treasury (i.e., the Treasury
             tax and loan account rate), as prescribed and published annually or quarterly by the Secretary of the
             Treasury in the Federal Register and the Treasury Fiscal Requirements Manual Bulletins. Interest on the
             principal shall accrue from the date the fee amount is due.

         (b) Administrative Costs. If the account becomes delinquent, administrative costs to cover processing and
             handling the delinquency shall be assessed.


Special Use Permit SSC51                                                                                   Paee 7 of 16
        (c) Case   4:25-cv-00236-DCN
            Penalties.                        Document
                       A penalty of 6% per annum            1 Filed
                                                  shall be assessed on 05/02/25      Page
                                                                       the total amount that71 of 212
                                                                                            is more than 90 days
            delinquent and shall accrue from the same date on which interest charges begin to accrue.

        (d) Termination for Nonpayment. This permit shall terminate without the necessity of prior notice and
            opportunity to comply when any permit fee payment is 90 calendar days from the due date in arrears.
            The holder shall remain responsible for the delinquent fees.

    4. Administrative Offset and Credit Reporting. Delinquent fees and other charges associated with the permit
       shall be subject to all rights and remedies afforded the United States pursuant to 31 U.S.C. 3711 et seq.
       and common law. Delinquencies are subject to any or all of the following:

        (a) Administrative offset of payments due the holder from the Forest Service.

        (b) If in excess of 60 days, referral to the Department of the Treasury for appropriate collection action as
            provided by 31 U.S.C. 3711(g)(1).

        (c) Offset by the Secretary of the Treasury of any amount due the holder, as provided by 31 U.S.C. 3720
            et seq.

        (d) Disclosure to consumer or commercial credit reporting agencies.

VII. REVOCATION, SUSPENSION, AND TERMINATION

A. REVOCATION AND SUSPENSION. The authorized officer may revoke or suspend this permit in whole or in
   part:

    1. For noncompliance with federal, state, or local law.

    2. For noncompliance with the terms of this permit.

    3. For abandonment or other failure of the holder to exercise the privileges granted.

    4. With the consent of the holder.

    5. For specific and compelling reasons in the public interest.

    Prior to revocation or suspension, other than immediate suspension under clause VI.B, the authorized officer
    shall give the holder written notice of the grounds for revocation or suspension. In the case of revocation or
    suspension based on clause VII.A.1, 2, or 3, the authorized officer shall give the holder a reasonable time,
    typically not to exceed 90 days, to cure any noncompliance.

B. IMMEDIATE SUSPENSION. The authorized officer may immediately suspend this permit in whole or in part
   when necessary to protect public health or safety or the environment. The suspension decision shall be in
   writing. The holder may request an on-site review with the authorized officer's supervisor of the adverse
   conditions prompting the suspension. The authorized officer's supervisor shall grant this request within 48
   hours. Following the on-site review, the authorized officer's supervisor shall promptly affirm, modify, or cancel
   the suspension.

C. APPEALS AND REMEDIES. Written decisions by the authorized officer relating to administration of this
   permit are subject to administrative appeal pursuant to 36 CFR Part 251, Subpart C, as amended. Revocation or
   suspension of this permit shall not give rise to any claim for damages by the holder against the Forest Service.

D. TERMINATION. This permit shall terminate when by its terms a fixed or agreed upon condition, event, or
   time occurs without any action by the authorized officer. Examples include but are not limited to expiration of
   the permit by its terms on a specified date and termination upon change of control of the business entity.
   Termination of this permit shall not require notice, a decision document, or any environmental analysis or other
   documentation. Termination of this permit is not subject to administrative appeal and shall not give rise to any
   claim for damages by the holder against the Forest Service.

E. RIGHTS AND RESPONSIBILITIES UPON REVOCATION OR TERMINATION WITHOUT RENEWAL.
   Upon revocation or termination of this permit without renewal of the authorized use, the holder shall remove all
Special Use Permit SSC51                                                                                 Paee 8 of 16
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    structures and improvements, except those owned by the United States, within a reasonable period prescribed
    by the authorized officer and shall restore the site to the satisfaction of the authorized officer. If the holder fails
    to remove all structures and improvements within the prescribed period, they shall become the property of the
    United States and may be sold, destroyed, or otherwise disposed of without any liability to the United States.
    However, the holder shall remain liable for all costs associated with their removal, including costs of sale and
    impoundment, cleanup, and restoration of the site.

VIII. MISCELLANEOUS PROVISIONS

A. MEMBERS OF CONGRESS. No member of or delegate to Congress or resident commissioner shall benefit
   from this permit either directly or indirectly, except to the extent the authorized use provides a general benefit
   to a corporation.

B. CURRENT ADDRESSES. The holder and the Forest Service shall keep each other informed of current mailing
   addresses, including those necessary for billing and payment of land use fees.

C. SUPERSEDED PERMIT. This permit supersedes a special use permit designated J. R. SIMPLOT CO.,
   CAR406703, dated 09/16/1982 and CAR406705, dated 02/04/1991.

D. SUPERIOR CLAUSES. If there is a conflict between any of the preceding printed clauses and any of the
   following clauses, the preceding printed clauses shall control.

E. Surveys, Land Corners (D4). The holder shall protect, in place, all public land survey monuments, private
   property corners, and Forest boundary markers. In the event that any such land markers or monuments are
   destroyed in the exercise of the privileges permitted by this authorization, depending on the type of monument
   destroyed, the holder shall see that they are reestablished or referenced in accordance with (1) the procedures
   outlined in the "Manual of Instructions for the Survey of the Public Land of the United States," (2) the
   specifications of the county surveyor, or (3) the specifications of the Forest Service.

    Further, the holder shall cause such official survey records as are affected to be amended as provided by law.
    Nothing in this clause shall relieve the holder's liability for the willful destruction or modification of any
    Government survey marker as provided at 18 U.S.C. 1858.

F. Revegetation of Ground Cover and Surface Restoration (D9). The holder shall be responsible for
   prevention and control of soil erosion and gullying on lands covered by this authorization and adjacent thereto,
   resulting from construction, operation, maintenance, and termination of the authorized use. The holder shall so
   construct permitted improvements to avoid the accumulation of excessive heads of water and to avoid
   encroachment on streams. The holder shall revegetate or otherwise stabilize all ground where the soil has
   been exposed as a result of the holder's construction, maintenance, operation, or termination of the authorized
   use and shall construct and maintain necessary preventive measures to supplement the vegetation.

G. Pesticide Use (D23). Pesticides may not be used to control undesirable woody and herbaceous vegetation,
   aquatic plants, insects, rodents, trash fish, etc., without the prior written approval of the Forest Service. A
   request for approval of planned uses of pesticides will be submitted annually by the holder on the due date
   established by the authorized officer. The report will cover a 12-month period of planned use beginning 3
   months after the reporting date. Information essential for review will be provided in the form specified.
   Exceptions to this schedule may be allowed, subject to emergency request and approval, only when
   unexpected outbreaks of pests require control measures which were not anticipated at the time an annual
   report was submitted.

    Only those materials registered by the U.S. Environmental Protection Agency for the specific purpose planned
    will be considered for use on National Forest System lands. Label instructions will be strictly followed in the
    application of pesticides and disposal of excess materials and containers.

H. Improvement Relocation (X33). This authorization is granted with the express understanding that should
    future location of United States Government-owned improvements or road rights-of-way require the relocation
    of the holder's improvements, such relocation will be done by, and at the expense of, the holder within a
    reasonable time as specified by the authorized officer.

I. Performance by Holder, Successors, or Assigns (X68). Notwithstanding the expiration or any renewal of
    this authorization or its earlier relinquishment, abandonment, or other termination, the provisions of this
Special Use Permit SSC51                                                                                      Page 9 of 16
              Caseto4:25-cv-00236-DCN
      authorization,     the extent applicable, shallDocument     1 Filed
                                                      continue in effect      05/02/25
                                                                         and shall be binding Page
                                                                                              on the 73  of 212
                                                                                                     holder, successors,
      or assigns, until they have fully performed their respective obligations and liabilities accruing before or on
      account of the expiration, or prior termination, of the authorization.

3. Water Rights (X74). This authorization does not convey any legal interest in water rights as defined by
   applicable State law.

K. Disputes (X96). Appeal of any provisions of this authorization or any requirements thereof shall be subject to
   the appeal regulations at 36 CFR 251, Subpart C, or revisions thereto.

This permit is accepted subject to the conditions set out above.

Date       ocht2yv A olop                                 J.R. Simplot Company


By:                                                                                       (CORPORATE SEAL)
                                            sident)


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                                        ame and Title)

ATTEST:


By:                                 4       14 ' \
                                        (Secretary)


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                                   /(Name and Title)




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 The following certificate shall be executed by the Secretary or Assistant Secretary of the Corporation:

 I            Civh-v\       \LAAA3           certify that I am the       ASSI5h4-               Secretary of the
Corporation that-executecithe above permit; that       J             IA k Ii ^f who signed said permit on behalf of
said Corporation was then 5V. V 9, S‘-t, • f- 61.C -       of laid Corporat(on; that I kno is her signature on said
permit is genuine; and that said permit was duly signed, sealed, and attested to for and on behalf of said
Corporation by authority of its governing body


 By:                                                                                                           (CORPORATE SEAL)
                                        'ilature)


                                       A5C1S(11)+
                                       (Name and Title)

U. S. DEPA            ENT OF AGRICULTURE - Forest Service


 By:
                               (Authorized Officer Signature)

                            Brent L. Larson, Forest Supervisor
                                     (Name and Title)


                                              (Date)
According to the Paperwork Reduction Act of 1995, an agency may not conduct or sponsor, and a person is not required to respond to a collection of
   information unless it displays a valid OMB control number. The valid OMB control number for this information collection is 0596-0082. The time
required to complete this information collection is estimated to average 1hour per response, including the time for reviewing instructions, searching
existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of information. The U.S. Department
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                                                               at 202-720-2600 (voice and TDD).

To file a complaint of discrimination, write USDA, Director, Office of Civil Rights, 1400 Independence Avenue, SW, Washington, DC 20250-9410 or call
 toll free (866) 632-9992 (voice). TDD users can contact USDA through local relay or the Federal relay at (800) 877-8339 (TDD) or (866) 377-8642
                                            (relay voice). USDA is an equal opportunity provider and employer.

The Privacy Act of 1974 (5 U.S.C. 552a) and the Freedom of Information Act (5 U.S.C. 552) govern the confidentiality to be provided for information
                                                        received by the Forest Service.




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                                                                                                Exhibit A




                                            Conda Plant


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                                                                                                                                                                                          Smoky Canyon Mine




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                                                                                                                                              Exhibit A (cont.)

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 Special Use Permit SSC51                                                                                                                                                                                                                                                                                       Page 13 of 16
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VIDEO STILL SHOT HORNET CREEK CANYON SEPTEMBER 2023
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VIDEO STILL SHOT DIAMOND CREEK SEPTEMBER 2023
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  VIDEO STILL SHOT DIAMOND CREEK SEPTEMBER 2023
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Chart from October 2023 Simplot Report                 EXHIBIT 4                   Page 8 of 10


  Figure 2. Pipeline Pressure Record from January 9, 2021 to August 25, 2023




                                                 Pressure readings missing 4/29 - 5/26
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Simplot Slurry Line Release
Summary
May 22, 2024


This document is a review of events to this point concerning the release of product from the Simplot Slurry Line
into Hornet Creek Canyon and waters of the US in the spring of 2023.

The Department of Environmental Quality (DEQ) was informed by the Simplot Company that they had a
release from their slurry line which resulted in phosphate ore material to be deposited into Hornet Creek
Canyon. Below is a timeline with the highlights of events since the report to DEQ of the incident:

   •   August 7, 2023 – DEQ was informed of slurry line material in Hornet Canyon. Simplot conducted
       extensive water quality sampling, including a suite of metals analyses, in the area which showed no
       exceedances of Idaho water quality standards.
   •   August 24, 2023 – Agencies and Simplot met at the confluence of Hornet Creek and Diamond Creek to
       discuss the incident and clean up options. The group also hiked up the canyon to observe the amount
       of material that was deposited. At this time DEQ expressed the need to put out a public announcement
       and for the Forest Service to inform any land users such as the grazers and hunters who use the area.
   •   August 31, 20213 – The Forest Service received Simplot's Slurry Line Release Report.
   •   September 1, 2023 - The Forest Service issued a Notice of Non Compliance to Simplot in regard to the
       release of slurry material into Hornet Canyon.
   •   October 3, 2023 – Simplot issued an updated edited slurry line release report.
   •   October 4, 2023 – Simplot and the Forest Service issued public notices about the slurry line leak with
       information about the incident as well as the current status of the ongoing issue.
   •   October 27, 2023 – Simplot provided a slurry line release monitoring plan.
   •   October 2023 - Simplot conducted clean up and removal of slurry material on the lower half mile of
       Hornet Canyon and deployed sediment controls into Hornet Canyon Creek just above the confluence
       with Diamond Creek.
   •   October 31, 2023 – Idaho DEQ took samples of water and the slurry material in the area near the
       confluence of Hornet Creek and Diamond Creek. The water samples were run for total phosphorus with
       no exceedances. The slurry material samples were analyzed with the TCLP method to determine the
       available heavy metals that may be affecting the environment from the slurry mixture. The results of the
       TCLP analysis indicated the slurry material did not characterize as a hazardous material.
   •   November 30, 2023 – Simplot provided data from sampling Diamond Creek for phosphorus in surface
       water, in stream habitat, and benthic organisms conducted by the company in September 2023.
       Surface water analyses did not exceed Idaho water quality standards.
   •   January 8, 2023 – Simplot provided the data from analyses the company conducted on the ore material
       released into Hornet Canyon. The samples were collected August 8th. The results showed
       concentrations above risk based action levels for sensitive species.
   •   January 26, 2024 - Forest Service requested from Simplot a Slurry Pipeline O&M Plan.
   •   March 26, 2024 - Idaho DEQ issued to Simplot a Notice of Non Compliance for the discharge of ore
       material into Hornet Canyon.
   •   March 29, 2024 - Simplot issued to the agencies a Revised Ore Release Monitoring Plan based on
       agency comments.
   •   April 16, 2024 – Simplot provided to the agencies a final pipeline replacement and repair plan.
   •   April 17, 2024 – the Forest Service issued a letter of approval for Simplot’s ore release monitoring plan.

All data, reports, and action plans are available for review. Currently Simplot is organizing a spring tour of the
Hornet Canyon area to review current clean up actions and determine next steps.
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                                                                                                 EXHIBIT 6
                                          IAS EnviroChem
                                   3314 Pole Line Rd. • Pocatello, ID 83201
                                 Phone: (208) 237-3300 • Fax: (208) 237-3336
                              email: iasec3308@iasenvirochem.com.www.iasenvirochem.com

J.R. Simplot Co. Smoky Canyon Mine Ron QuinE
                                                                                       Date Submitted: 08/10/2023
Ron Quinn
                                                                                        Date Reported: 08/17/2023
P.O. Box 1270
Afton, WY 83110                         Certificate of Analysis
   Sample Description: LOCI Dry
   Lab Tracking#:      1308179-01
   Sampling Date/Time: 08/08/23 12:05

     A11alvte                              8sB!J.          IlBi!!            Metl1od         AnalF,;,ed      Analyst
  % Moisture                                  26.1           %                Grav           08/10/2023        JW
  % Solids                                    73.9           %                Grav           08/10/2023        JW
  Extractable Sulfate                          40           ppm                IC            08/14/2023         TP
  pH                                           7.8          Units            150.1           08/10/2023        GMY
  Total Aluminum                            4748.39         ppm              6020A           08/16/2023         TP
  Total Arsenic                               7.87          ppm              6020A           08/16/2023         TP
  Total Barium                                80.79         ppm              6020A           08/16/2023         TP
  Total Cadmium                              93.79          ppm              6020A           08/16/2023         TP
  Total C hromium                           251.78          ppm              6020A           08/16/2023         TP
  Total Lead                                  8.24          ppm              6020A           08/16/2023         TP
  Total Mercury                               0.23          ppm              6020A           08/16/2023         TP
  Total Phosphorus as P                     113500          ppm               ICP            08/11/2023         JW
  Total Selenium                             18.115         ppm              6020A           08/16/2023         TP
  Total Silver                                3.91          ppm              6020A           08/16/2023         TP
  Total Vanadium                            435.64          ppm              6020A           08/16/2023         TP
  Total Zinc                                 798.89         ppm              6020A           08/16/2023         TP


   Sample Description: LOCI Wet
   Lab Tracking#:      1308179-02
   Sampling Date/Time: 08/08/23 12:05

     Analvte                               Result          Units             Method          Anal'l!,7.ed    Ana/'f_st
  % Moisture                                  27.9           %                Grav           08/10/2023       JW
  % Solids                                    72.1           %                Grav           08/10/2023       JW
  Extractable Sulfate                          30           ppm                IC            08/14/2023         TP
  pH                                           7.7          Units            150.1           08/10/2023        GMY
  Total Aluminum                            4988.76         ppm              6020A           08/16/2023         TP
  Total Arsenic                               7.64          ppm              6020A           08/16/2023         TP
  Total Barium                               85.26          ppm              6020A           08/16/2023         TP
  Total Cadmium                              95.38          ppm              6020A           08/16/2023         TP
  Total Chromium                             257.69         ppm              6020A           08/16/2023         TP
  Total Lead                                  8.48          ppm              6020A           08/16/2023         TP
  Total Mercury                               0.22          ppm              6020A           08/16/2023         TP
  Total Phosphorus as P                     116700          ppm               ICP            08/11/2023         JW
  Total Selenium                             18.110         ppm              6020A           08/16/2023         TP
  Total Silver                                3.93          ppm              6020A           08/16/2023         TP
  Total Vanadium                             450.62         ppm              6020A           08/16/2023         TP
  Total Zinc                                 814.40         ppm              6020A           08/16/2023         TP




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            UtahStateUniversity
            USU ANALYTICAL LABORATORIES

            Physical Address: 1541 North 800 East, North Logan
            Mailing Address: 9400 Old Main Hill, Logan, UT 84322 - 9400
            Phone: (435) 797- 2217 • Fax: (435) 797 - 2117                                                                                                                                       EXHIBIT 7
            Web: usual.usu.edu




9122/2023


Donny Rasmus�
160 Steele Lano
Garce. ID 83241


Samples Rooeived: 9/16/2023



                                                                                                                                                        ......
  USU ID            Identification      Al      As      8     Ba             Ca       Cd      Co            Cr    Cu         Fe        K        Mg         Mn     Mo                      Ni       p       Pb       s      Se     Sr    Zn
                                                        mg/kg---             %                       mg/k                                               ·---mg/kg---        N            mg/kg     %      mg/kg     %
   4344       Hornet Canyon Road       0.34     21.6   16.4        84.9     31.1     104      1.38          213   62.7      0.23      0.19     0.1B      140      6.88      0�
                                                                                                                                                                                a
                                                                                                                                                                                         72.2     11.5    4.50    0.45     16.2   942   769
   4345       Hornet Canyon East       0.43     15.1   15.4        72.2     29.5     95.4     2.12          201   59.6      0.27      0.22     0.19      220      6.08    t 0.29          69.5    11.2    4.32    0.41     13.9   885   74B
   434B       Hornet Turn Around       0.33     15.8   15.3        54.7     27.6     96.3     1.41          203   56.7      0.20      0.19     0.18      86.5     6.47      0.25         70.4     10.2    2.99    0.38     14.6   803   723
   4347             Hornet Culvert     0.36     19.8   17.5        57.5     27.2     95.3     2.11          230   58.6      0.26      0.19     0.19      190      8.41      0.23         83.9     9.62    3.23    0.40     19.8   768   733
Oeleciion Limits:                     0.00005   0.1    0.1         0.2     0.00001   0.1      0.1           0.1   0.1      0.00001   0.0001   0.00001      0.1   0.1                o1    0.1    0.0001    0.1    0.0001   0.1    0.1   0.1
                                                                                                                                                                          looo


AJ = AkJminum                        Mg = Magnesium
As = Arsenic                         Mn= Manganese
B =Bo,on                             Mo =Molybdenum
Ba=Barium                            Ne= Sodium
Ca= Calcium                          Ni=Nickel
Cd=Cadmium                           P = Phosphorus
Co= Cobatt                           Pb= Lead
Cr=Chromium                          S =Suttur
Cu=Copper                            Se=Selenium
Fe= Iron                             Si= SIiica
K= Potassium                         Sr=Strontium
                                     Zn=Zinc




                                                              Plant Analysis Lab
                                                              Soil Testing Lab
                                                              Feed Analysis Lab
                                                              Irrigation Water Analysis Lab
                                                              Manure Analysis Lab
                    Case 4:25-cv-00236-DCN                   Document 1          Filed 05/02/25       Page 99 of 212
                                       Analytical Sciences Laboratory
                                                      University of Idaho
                                                   Holm Research Center
                                                 875 Perimeter Dr. MS 2203
                                                 Moscow, Idaho 83844-2203
                                        Phone: (208) 885-7081    FAX: (208) 885-8937
                                  email: asl@uidaho.edu       http://www.agls.uidaho.edu/asl/

                                            Certificate of Analysis
Prepared For:       Wayne Cutler                                                                  Case ID: EOCT23-003
                    Gem Valley Veterinary Service                                             Report Date: 24-Oct-23
                    661 N. Hooper Ave                                                       Date Received: 06-Oct-23
                                                                                               Client Ref.: Bill
                    Soda Springs, ID       83276                                                Project ID:



                       1st Level QC:                                                Date:

                                              fl"i7
                       2nd Level QC:--�--------
                                                          [ "J -- l "( --L)
                                                    Date:-------
                                      --------·--··                         __,    _________

   Case Comments:




ND = Not Detected    NA = Not Applicable   RL = Reporting Limit   QNS = Quantity Not Sufficient
                                                                                                                Page 1 of 5
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 DANNY & LYNN RASMUSSEN                                              Case Coordinator: STEVE ENSLEY
   160 STEELE LN                                                     Received: 11/09/2023
   GRACE, ID 83241                                                   Finalized: PENDING
                                                                      Species: BOVINE
                                                                    Specimen: BIOPSY, LIVER
Rdvm:
  DR SCOTT LEIBSLE
                                                                            EXHIBIT 9
Clinic:
  IDAHO STATE DEPT AGRICULTURE
      2270 OLD PENITENTIARY RD
      BOISE, ID 83701




 Toxicology
    HEAVY METAL PANEL (Pending)
       Animal Id:                 Y-719
       Specimen Desc:             BIOPSY, LIVER
       As                                      0.072      ppm         No Ref Interval
       Cd                                      1.279      ppm         No Ref Interval
       Pb                                      0.070      ppm         No Ref Interval
       Tl                                      0.014      ppm         No Ref Interval

       Reported By
        Dr. Yuntao Zhang, PhD, Chemist

       Date Reported
        November 15, 2023
       Animal Id:                 Y-813
       Specimen Desc:             BIOPSY, LIVER
       As                                      0.029      ppm         No Ref Interval
       Cd                                      0.554      ppm         No Ref Interval
       Pb                                      0.035      ppm         No Ref Interval
       Tl                                      0.008      ppm         No Ref Interval

       Reported By
        Dr. Yuntao Zhang, PhD, Chemist

       Date Reported
        November 15, 2023
       Animal Id:                 Y-15
       Specimen Desc:             BIOPSY, LIVER
       As                                      0.015      ppm         No Ref Interval
       Cd                                      0.010      ppm         No Ref Interval
       Pb                                      0.008      ppm         No Ref Interval
       Tl                                      0.000      ppm         No Ref Interval



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Toxicology
   HEAVY METAL PANEL (Pending)
     Tl                                            0.000   ppm           No Ref Interval

      Reported By
       Dr. Yuntao Zhang, PhD, Chemist

      Date Reported
       November 15, 2023
      Animal Id:                 Y-589
      Specimen Desc:             BIOPSY, LIVER
      As                                      0.010        ppm           No Ref Interval
      Cd                                      0.012        ppm           No Ref Interval
      Pb                                      0.008        ppm           No Ref Interval
      Tl                                      0.000        ppm           No Ref Interval

      Reported By
       Dr. Yuntao Zhang, PhD, Chemist

      Date Reported
       November 15, 2023
      Animal Id:                 Y-434
      Specimen Desc:             BIOPSY, LIVER
      As                                      0.021        ppm           No Ref Interval
      Cd                                      1.423        ppm           No Ref Interval
      Pb                                      0.050        ppm           No Ref Interval
      Tl                                      0.003        ppm           No Ref Interval

      Reported By
       Dr. Yuntao Zhang, PhD, Chemist

      Date Reported
       November 15, 2023
      Animal Id:                 Y-700
      Specimen Desc:             BIOPSY, LIVER
   TOXICOLOGY INTERPRETATION
      Species:                   BOVINE
      Animal Id:                 Y-89

      Tox Comments
       heavy metal screen of liver biopsies is complete. contact me with any questions.

        Reference range ppm
        As (ppm)         < 2 ppm >3 toxic
        Cd (ppm)         < 0.5 ppm
        Pb (ppm)         < 5 ppm >5 is toxic
        Tl (ppm) < 2.5 ppm

      Reported By
       Steve Ensley, DVM PhD
       Veterinary Toxicologist




Accession Number: D23-072508                                                                Tuesday, 21 Nov 2023 8:47 AM
Status: Preliminary - This is not a Final Report                                                      Page 2 of 3
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Owner:                                                                     Accession Number: D23-072508
 DANNY & LYNN RASMUSSEN                                                     Case Coordinator: STEVE ENSLEY
   160 STEELE LN                                                            Received: 11/09/2023
   GRACE, ID 83241                                                          Finalized: PENDING
                                                                             Species: BOVINE
                                                                           Specimen: BIOPSY, LIVER
Rdvm:
  DR SCOTT LEIBSLE



Clinic:
  IDAHO STATE DEPT AGRICULTURE
      2270 OLD PENITENTIARY RD
      BOISE, ID 83701




                                       Summary of Estimated Charges
                          The charges displayed may be split among two or more client accounts.


 Description                                                               Item #     Qty      Unit Price             Total
 Accession/Biohazard Fee                                                 800.5003      1            $ 7.00           $ 7.00

 Heavy Metal Panel                                                       814.2014      6           $ 56.75         $ 340.50

 Toxicology Interpretation                                               814.2004      1            $ 0.00           $ 0.00

                                                                                                     Total:        $ 347.50


 This is not an invoice; it is a summary of charges for this accession as of this date and time.

 Monthly billing will be sent the first business day of the month from our KSVDL Business Office. Invoices will reflect all
 current charges and statements will display any previous balances, payments, adjustments, and the total balance due.
  For all fees not paid within 60 days of the date of the invoice, a 1.5% finance charge will be assessed. Please direct
 any billing questions to the Business Office, 866-884-3867.

 The new fee schedule for KSVDL is effective July 1. The new fee schedule is available under the Test & Fees link on
 our webpage at www.ksvdl.org. Please contact Client Care at 1-866-512-5650 or clientcare@vet.k-state.edu with any
 questions.




 Accession Number: D23-072508                                                                      Tuesday, 21 Nov 2023 8:47 AM
 Status: Preliminary - This is not a Final Report                                                            Page 3 of 3
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Owner:                                                                           Accession Number: D23-077013
 DANNY RASMUSSEN                                                                  Case Coordinator: STEVE ENSLEY
   160 STEELE LN                                                                  Received: 12/01/2023
   GRACE, ID 83241                                                                Finalized: 12/29/2023
                                                                                   Species: BOVINE


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      2270 OLD PENITENTIARY RD
      BOISE, ID 83701



                                                        FINAL REPORT
                                       This report supercedes all previous reports for this case

 Pathology
   NECROPSY HISTOPATH
      Species:                  BOVINE

                                                                                         EXHIBIT 10
      Animal Id:                1-12K
      Specimen Desc:            TISSUE, FIXED

      History
       see submission form.

      Diagnosis
       1. Kidney: Moderate autolysis (all sections)

       2. Kidney: Minimal to mild lymphocytic plasmacytic interstitial nephritis (all but 9 and 12)

       3. Kidney: Minimal to mild multifocal Bowman’s capsular thickening with rare to occasional
       glomerular synechia (all sections)

       4. KIDNEY (10 K): Mild multifocal cellular and globular pigment casts ( medulla)

       5. KIDNEY (8K). Focal tubular cyst (medulla)

       6. KIDNEY (7K). Multifocal , mild to moderate, lymphocytic and fibrosing, interstitial nephritis with
       mild to moderate interstitial fibrosis (outer medulla)

       7. Kidney (4K). Multifocal, mild, tubular degeneration with granular pigmented casts

      Comments
       Unfortunately preservation artifact/autolysis greatly hinders interpretation of subtle changes especially
       of tubular epithelium. Most tubules still retain discernible intact epithelium though subtle tinctorial
       properties are lost. Lymphocytic plasmacytic interstitial inflammation is common especially in older
       animals and generally incidental unless severe. In only one of these samples was there is significant
       areas of inflammation and associated fibrosis though still likely not of severe clinical impact. It is
       possible significant edema and proteinuria may be obscured by the autolysis.

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Pathology
  NECROPSY HISTOPATH

     Histopath Description
      Slide 1. Kidney (1K): Moderate autolysis. Small aggregates of lymphocytes and plasma cells are
      scattered to the interstitium. Multifocally Bowman’s capsules are mildly thickened typically in areas
      where surrounding basement membranes of the tubules are mildly thickened. In one subcapsular
      focus a small tangential section of glomerulus has thickened bowmen’s capsules hyperplastic parietal
      epithelium and central degenerative debris with loose fibrillar fibrosis of the surrounding interstitium.

      Slide 2. Kidney (2K): Moderate autolysis small numbers of lymphocytes and plasma cells are
      occasionally scattered in the interstitium. Multifocally there are mild to moderate areas of interstitial
      thickening separating tubules within the medulla. Rare medullary tubules contain mineral aggregates.
      Subjectively mesangium is diffusely mildly increased in glomeruli. Bowmen’s capsules is multifocally
      irregularly thickened.

      Slide 3. KIDNEY (3K). Mild to moderate autolysis. Tubules especially in the outer medulla are
      occasionally separated by homogeneous eosinophilic material disease edema versus autolysis)
      scattered lymphocytic plasmacytic aggregates are throughout the interstitium of the cortex. There is
      mild irregular thickening of bowmen’s capsules with occasional synechia the glomerular tufts.

      Slide 4. KIDNEY (4K). Moderate autolysis. There are scattered small interstitial aggregates of
      lymphocytes and plasma cells. Occasional tubules within the outer medulla contain sloughed slightly
      darker epithelial cells some with pyknotic nuclei. Occasional tubules contain yellow brown pigment
      within epithelial cells and in the deeper medulla forming a globular aggregates within tubules.

      Slide 5. KIDNEY (5K). Moderate autolysis. There are rare small lymphocytic plasmacytic
      aggregates in the interstitium. Occasionally interstitium especially around cellular aggregates
      contains karyorrhectic debris. Rare tubules contain mineral fragments in the medulla.

      Slide 6. KIDNEY (6K) moderate autolysis. Small aggregates of lymphocytes and plasma cells are
      scattered in the interstitium. Occasional bowmen’s capsules have irregular mild to moderate
      thickening.

      Slide 7. KIDNEY (7K) 2 sections. Moderate autolysis. There are scattered small interstitial
      aggregates of lymphocytes and plasma cells. In one of the sections a region of cortex has moderate
      multifocal aggregates of lymphocytes and plasma cells interspersed with mild to moderate interstitial
      fibrosis replacing and widely separating tubules in the adjacent glomeruli. Glomeruli have moderate
      thickening of bowmen’s capsules. Multifocally interstitial in the outer medulla is also significantly
      thickened separating tubules.

      Slide 8. KIDNEY (8K). Moderate autolysis. And approximately 7 cm diameter cyst is within the
      medulla filled with proteinaceous material and small numbers of foamy macrophages. Multifocal
      small aggregates of lymphocytes and plasma cells are scattered to the interstitium.

      Slide 9. KIDNEY. ( 9K). Moderate autolysis. This section although subjectively smaller amount of
      cortex represented lacks the typical scattered lymphocytic plasmacytic and penetrates. Rare
      glomeruli have mildly thickened bowmen’s capsules.

      Slide 10. KIDNEY (10 K). Moderate autolysis. There are rare small interstitial aggregates of
      lymphocytes and plasma cells. Bowmen’s capsules occasionally have mild to moderate thickening
      with occasional synechia. Tubules rarely contain brown pigments within the epithelium. Rare
      medullary tubules contain sloughed degenerate epithelial cells occasionally with small amounts of
      pigment.

      Slide 11. KIDNEY (11 K). The section has only rare small interstitial aggregates of lymphocytes and
      plasma cells. Along with rare mild thickening of bowmen’s capsules.

      Slide 12. Kidney (12 K). Moderate autolysis. Section lacks lymphocytic plasmacytic interstitial
      infiltrates. There is irregular separation and vacuolation of the inner medulla/renal papillae (autolysis
      versus tubular loss and edema). Rare aggregates of mineral are in the tubules. In some segments
      tubular epithelium is poorly discernible (degeneration versus autolysis) glomeruli have minimal




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Pathology
  NECROPSY HISTOPATH

     Histopath Description
      thickening of bowmen’s capsules but occasional synechia and mild thickening of mesangium.

     Pathologist
      TIMOTHY WALSH, DVM, DACVP

     Additional Info
      QUESTIONS? CALL KSVDL CLIENT CARE AT 866-512-5650

Histopathology
  HISTOPATH NECROPSY 1 TO 4 TISSUES

Toxicology
  TRACE MINERAL PANEL (LIVER - WET WEIGHT ADULT)
     Animal Id:              1L
     Specimen Desc:          LIVER
     Ca                                       24.1   L ppm             30.0 - 200.0
     Co                                      0.044     ppm            0.020 - 0.200
     Cr                                      0.088     ppm            0.040 - 3.800
     Cu                                         20   L ppm               25 - 150
     Fe                                         61     ppm               45 - 220
     K                                       2257      ppm             1400 - 4000
     Mg                                        126     ppm              100 - 250
     Mn                                      1.940     ppm            1.500 - 5.000
     Mo                                      0.820     ppm            0.200 - 1.400
     Na                                        746   L ppm              900 - 3000
     P                                       2269      ppm             2000 - 4000
     Se                                      0.249     ppm            0.200 - 0.700
     Zn                                         21   L ppm               25 - 125
     Animal Id:              2L
     Specimen Desc:          LIVER
     Ca                                       22.5   L ppm             30.0 - 200.0
     Co                                      0.041     ppm            0.020 - 0.200
     Cr                                      0.136     ppm            0.040 - 3.800
     Cu                                          3   L ppm               25 - 150
     Fe                                         69     ppm               45 - 220
     K                                       2194      ppm            1400 - 4000
     Mg                                        123     ppm              100 - 250
     Mn                                      1.658     ppm            1.500 - 5.000
     Mo                                      0.648     ppm            0.200 - 1.400
     Na                                        768   L ppm             900 - 3000
     P                                       2146      ppm            2000 - 4000
     Se                                      0.269     ppm            0.200 - 0.700
     Zn                                         18   L ppm               25 - 125
     Animal Id:              3L
     Specimen Desc:          LIVER
     Ca                                       26.7 L ppm               30.0 - 200.0
     Co                                      0.063   ppm              0.020 - 0.200
     Cr                                      0.046   ppm              0.040 - 3.800
     Cu                                         23 L ppm                 25 - 150
     Fe                                         42 L ppm                 45 - 220
     K                                       2548    ppm              1400 - 4000
     Mg                                        143   ppm                100 - 250




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Toxicology
  TRACE MINERAL PANEL (LIVER - WET WEIGHT ADULT)
    Mn                               2.393   ppm          1.500 - 5.000
    Mo                               0.899   ppm          0.200 - 1.400
    Na                                 574 L ppm           900 - 3000
    P                                2579    ppm          2000 - 4000
    Se                               0.401   ppm          0.200 - 0.700
    Zn                                  27   ppm             25 - 125
     Animal Id:           4L
     Specimen Desc:       LIVER
     Ca                              19.8 L ppm            30.0 - 200.0
     Co                             0.051   ppm           0.020 - 0.200
     Cr                             0.019 L ppm           0.040 - 3.800
     Cu                                27   ppm              25 - 150
     Fe                                86   ppm              45 - 220
     K                              2588    ppm           1400 - 4000
     Mg                               142   ppm             100 - 250
     Mn                             1.873   ppm           1.500 - 5.000
     Mo                             1.125   ppm           0.200 - 1.400
     Na                               520 L ppm            900 - 3000
     P                              2501    ppm           2000 - 4000
     Se                             0.273   ppm           0.200 - 0.700
     Zn                                25   ppm              25 - 125
     Animal Id:           5L
     Specimen Desc:       LIVER
     Ca                              21.7   L ppm          30.0 - 200.0
     Co                             0.053     ppm         0.020 - 0.200
     Cr                             0.031   L ppm         0.040 - 3.800
     Cu                                 4   L ppm            25 - 150
     Fe                                51     ppm            45 - 220
     K                              2727      ppm         1400 - 4000
     Mg                               150     ppm           100 - 250
     Mn                             2.249     ppm         1.500 - 5.000
     Mo                             1.094     ppm         0.200 - 1.400
     Na                               583   L ppm          900 - 3000
     P                              2611      ppm         2000 - 4000
     Se                             0.350     ppm         0.200 - 0.700
     Zn                                23   L ppm            25 - 125
     Animal Id:           6L
     Specimen Desc:       LIVER
     Ca                              24.6 L ppm            30.0 - 200.0
     Co                             0.056   ppm           0.020 - 0.200
     Cr                             0.050   ppm           0.040 - 3.800
     Cu                                36   ppm              25 - 150
     Fe                                75   ppm              45 - 220
     K                              2728    ppm           1400 - 4000
     Mg                               157   ppm             100 - 250
     Mn                             2.934   ppm           1.500 - 5.000
     Mo                             0.937   ppm           0.200 - 1.400
     Na                               791 L ppm            900 - 3000
     P                              2855    ppm           2000 - 4000
     Se                             0.315   ppm           0.200 - 0.700
     Zn                                21 L ppm              25 - 125
     Animal Id:           7L
     Specimen Desc:       LIVER
     Ca                              27.5 L ppm            30.0 - 200.0
     Co                             0.046   ppm           0.020 - 0.200
     Cr                             0.082   ppm           0.040 - 3.800




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Toxicology
  TRACE MINERAL PANEL (LIVER - WET WEIGHT ADULT)
    Cu                                   2 L ppm            25 - 150
    Fe                                  39 L ppm            45 - 220
    K                                2346    ppm         1400 - 4000
    Mg                                 132   ppm           100 - 250
    Mn                               1.617   ppm         1.500 - 5.000
    Mo                               0.919   ppm         0.200 - 1.400
    Na                                 714 L ppm          900 - 3000
    P                                2215    ppm         2000 - 4000
    Se                               0.248   ppm         0.200 - 0.700
    Zn                                  19 L ppm            25 - 125
     Animal Id:           8L
     Specimen Desc:       LIVER
     Ca                              29.5   ppm           30.0 - 200.0
     Co                             0.061   ppm          0.020 - 0.200
     Cr                             0.061   ppm          0.040 - 3.800
     Cu                                 2 L ppm             25 - 150
     Fe                                54   ppm             45 - 220
     K                              2849    ppm          1400 - 4000
     Mg                               159   ppm            100 - 250
     Mn                             2.277   ppm          1.500 - 5.000
     Mo                             1.127   ppm          0.200 - 1.400
     Na                               744 L ppm           900 - 3000
     P                              2736    ppm          2000 - 4000
     Se                             0.309   ppm          0.200 - 0.700
     Zn                                25   ppm             25 - 125
     Animal Id:           9L
     Specimen Desc:       LIVER
     Ca                              24.7 L ppm           30.0 - 200.0
     Co                             0.058   ppm          0.020 - 0.200
     Cr                             0.009 L ppm          0.040 - 3.800
     Cu                                34   ppm             25 - 150
     Fe                               128   ppm             45 - 220
     K                              2855    ppm          1400 - 4000
     Mg                               167   ppm            100 - 250
     Mn                             2.667   ppm          1.500 - 5.000
     Mo                             1.086   ppm          0.200 - 1.400
     Na                               637 L ppm           900 - 3000
     P                              3067    ppm          2000 - 4000
     Se                             0.400   ppm          0.200 - 0.700
     Zn                                35   ppm             25 - 125
     Animal Id:           10L
     Specimen Desc:       LIVER
     Ca                              29.3   ppm           30.0 - 200.0
     Co                             0.045   ppm          0.020 - 0.200
     Cr                             0.016 L ppm          0.040 - 3.800
     Cu                                18 L ppm             25 - 150
     Fe                               195   ppm             45 - 220
     K                              2658    ppm           1400 - 4000
     Mg                               150   ppm            100 - 250
     Mn                             1.883   ppm          1.500 - 5.000
     Mo                             0.737   ppm          0.200 - 1.400
     Na                               779 L ppm            900 - 3000
     P                              2600    ppm           2000 - 4000
     Se                             0.322   ppm          0.200 - 0.700
     Zn                                94   ppm             25 - 125




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Toxicology
  TRACE MINERAL PANEL (LIVER - WET WEIGHT ADULT)
     Animal Id:           11L
     Specimen Desc:       LIVER
     Ca                              20.0   L ppm          30.0 - 200.0
     Co                             0.053     ppm         0.020 - 0.200
     Cr                             0.018   L ppm         0.040 - 3.800
     Cu                                25     ppm            25 - 150
     Fe                                61     ppm            45 - 220
     K                              2239      ppm         1400 - 4000
     Mg                               134     ppm           100 - 250
     Mn                             2.198     ppm         1.500 - 5.000
     Mo                             0.693     ppm         0.200 - 1.400
     Na                               638   L ppm          900 - 3000
     P                              2395      ppm         2000 - 4000
     Se                             0.274     ppm         0.200 - 0.700
     Zn                                18   L ppm            25 - 125
     Animal Id:           12L
     Specimen Desc:       LIVER
     Ca                              21.7   L ppm          30.0 - 200.0
     Co                             0.043     ppm         0.020 - 0.200
     Cr                             0.069     ppm         0.040 - 3.800
     Cu                                17   L ppm            25 - 150
     Fe                                62     ppm            45 - 220
     K                              2616      ppm          1400 - 4000
     Mg                               145     ppm           100 - 250
     Mn                             1.861     ppm         1.500 - 5.000
     Mo                             0.956     ppm         0.200 - 1.400
     Na                               669   L ppm           900 - 3000
     P                              2622      ppm          2000 - 4000
     Se                             0.294     ppm         0.200 - 0.700
     Zn                                24   L ppm            25 - 125
     Animal Id:           1K
     Specimen Desc:       KIDNEY
     Ca                              41.8   ppm            30.0 - 200.0
     Co                             0.019 L ppm           0.020 - 0.200
     Cr                             0.039 L ppm           0.040 - 3.800
     Cu                                 4 L ppm               25 - 150
     Fe                                62   ppm               45 - 220
     K                              2166    ppm            1400 - 4000
     Mg                               126   ppm              100 - 250
     Mn                             0.996 L ppm           1.500 - 5.000
     Mo                             0.498   ppm           0.200 - 1.400
     Na                             1481    ppm             900 - 3000
     P                              1726 L ppm             2000 - 4000
     Se                             1.282 H ppm           0.200 - 0.700
     Zn                                20 L ppm               25 - 125
     Animal Id:           2K
     Specimen Desc:       KIDNEY
     Ca                              49.9     ppm          30.0 - 200.0
     Co                             0.017   L ppm         0.020 - 0.200
     Cr                             0.021   L ppm         0.040 - 3.800
     Cu                                 3   L ppm            25 - 150
     Fe                                64     ppm            45 - 220
     K                              1518      ppm         1400 - 4000
     Mg                               115     ppm           100 - 250
     Mn                             0.964   L ppm         1.500 - 5.000
     Mo                             0.384     ppm         0.200 - 1.400




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Toxicology
  TRACE MINERAL PANEL (LIVER - WET WEIGHT ADULT)
    Na                               1553    ppm           900 - 3000
    P                                1700 L ppm           2000 - 4000
    Se                               1.252 H ppm         0.200 - 0.700
    Zn                                  15 L ppm            25 - 125
     Animal Id:           3K
     Specimen Desc:       KIDNEY
     Ca                              52.3   ppm           30.0 - 200.0
     Co                             0.028   ppm          0.020 - 0.200
     Cr                             0.053   ppm          0.040 - 3.800
     Cu                                 4 L ppm             25 - 150
     Fe                                61   ppm             45 - 220
     K                              1712    ppm          1400 - 4000
     Mg                               137   ppm            100 - 250
     Mn                             1.120 L ppm          1.500 - 5.000
     Mo                             0.421   ppm          0.200 - 1.400
     Na                             2192    ppm           900 - 3000
     P                              2007    ppm          2000 - 4000
     Se                             1.299 H ppm          0.200 - 0.700
     Zn                                19 L ppm             25 - 125
     Animal Id:           4K
     Specimen Desc:       KIDNEY
     Ca                              52.0   ppm           30.0 - 200.0
     Co                             0.023   ppm          0.020 - 0.200
     Cr                             0.014 L ppm          0.040 - 3.800
     Cu                                 4 L ppm              25 - 150
     Fe                                90   ppm              45 - 220
     K                              2069    ppm           1400 - 4000
     Mg                               137   ppm             100 - 250
     Mn                             0.996 L ppm          1.500 - 5.000
     Mo                             0.782   ppm          0.200 - 1.400
     Na                             1722    ppm            900 - 3000
     P                              1967 L ppm            2000 - 4000
     Se                             1.114 H ppm          0.200 - 0.700
     Zn                                16 L ppm              25 - 125
     Animal Id:           5K
     Specimen Desc:       KIDNEY
     Ca                              49.8   ppm           30.0 - 200.0
     Co                             0.018 L ppm          0.020 - 0.200
     Cr                             0.020 L ppm          0.040 - 3.800
     Cu                                 3 L ppm              25 - 150
     Fe                                34 L ppm              45 - 220
     K                              1427    ppm           1400 - 4000
     Mg                               107   ppm             100 - 250
     Mn                             0.916 L ppm          1.500 - 5.000
     Mo                             0.418   ppm          0.200 - 1.400
     Na                             2219    ppm            900 - 3000
     P                              1465 L ppm            2000 - 4000
     Se                             0.997 H ppm          0.200 - 0.700
     Zn                                11 L ppm              25 - 125
     Animal Id:           6K
     Specimen Desc:       KIDNEY
     Ca                              61.0   ppm           30.0 - 200.0
     Co                             0.021   ppm          0.020 - 0.200
     Cr                             0.045   ppm          0.040 - 3.800
     Cu                                 4 L ppm             25 - 150
     Fe                                61   ppm             45 - 220




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Toxicology
  TRACE MINERAL PANEL (LIVER - WET WEIGHT ADULT)
    K                                1976    ppm          1400 - 4000
    Mg                                 135   ppm            100 - 250
    Mn                               1.025 L ppm         1.500 - 5.000
    Mo                               0.538   ppm         0.200 - 1.400
    Na                               1670    ppm           900 - 3000
    P                                1973 L ppm           2000 - 4000
    Se                               1.357 H ppm         0.200 - 0.700
    Zn                                  15 L ppm             25 - 125
     Animal Id:           7K
     Specimen Desc:       KIDNEY
     Ca                              46.1   ppm           30.0 - 200.0
     Co                             0.023   ppm          0.020 - 0.200
     Cr                             0.039 L ppm          0.040 - 3.800
     Cu                                 4 L ppm              25 - 150
     Fe                                44 L ppm              45 - 220
     K                              1994    ppm           1400 - 4000
     Mg                               134   ppm             100 - 250
     Mn                             1.040 L ppm          1.500 - 5.000
     Mo                             0.591   ppm          0.200 - 1.400
     Na                             1797    ppm            900 - 3000
     P                              1814 L ppm            2000 - 4000
     Se                             1.007 H ppm          0.200 - 0.700
     Zn                                18 L ppm              25 - 125
     Animal Id:           8K
     Specimen Desc:       KIDNEY
     Ca                              42.3   ppm           30.0 - 200.0
     Co                             0.021   ppm          0.020 - 0.200
     Cr                             0.012 L ppm          0.040 - 3.800
     Cu                                 4 L ppm              25 - 150
     Fe                                64   ppm              45 - 220
     K                              1817    ppm           1400 - 4000
     Mg                               129   ppm             100 - 250
     Mn                             1.039 L ppm          1.500 - 5.000
     Mo                             0.682   ppm          0.200 - 1.400
     Na                             1729    ppm            900 - 3000
     P                              1887 L ppm            2000 - 4000
     Se                             1.336 H ppm          0.200 - 0.700
     Zn                                15 L ppm              25 - 125
     Animal Id:           9K
     Specimen Desc:       KIDNEY
     Ca                              35.7   ppm           30.0 - 200.0
     Co                             0.019 L ppm          0.020 - 0.200
     Cr                             0.021 L ppm          0.040 - 3.800
     Cu                                 3 L ppm              25 - 150
     Fe                                70   ppm              45 - 220
     K                              1969    ppm           1400 - 4000
     Mg                               128   ppm             100 - 250
     Mn                             0.910 L ppm          1.500 - 5.000
     Mo                             0.453   ppm          0.200 - 1.400
     Na                             1437    ppm            900 - 3000
     P                              1811 L ppm            2000 - 4000
     Se                             1.229 H ppm          0.200 - 0.700
     Zn                                13 L ppm              25 - 125
     Animal Id:           10K
     Specimen Desc:       KIDNEY
     Ca                              50.3   ppm           30.0 - 200.0




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Toxicology
  TRACE MINERAL PANEL (LIVER - WET WEIGHT ADULT)
    Co                               0.019 L ppm         0.020 - 0.200
    Cr                               0.037 L ppm         0.040 - 3.800
    Cu                                   4 L ppm            25 - 150
    Fe                                  59   ppm            45 - 220
    K                                1972    ppm         1400 - 4000
    Mg                                 137   ppm           100 - 250
    Mn                               0.812 L ppm         1.500 - 5.000
    Mo                               0.330   ppm         0.200 - 1.400
    Na                               1977    ppm          900 - 3000
    P                                2037    ppm         2000 - 4000
    Se                               1.292 H ppm         0.200 - 0.700
    Zn                                  21 L ppm            25 - 125
     Animal Id:           11K
     Specimen Desc:       KIDNEY
     Ca                              43.9   ppm           30.0 - 200.0
     Co                             0.025   ppm          0.020 - 0.200
     Cr                             0.010 L ppm          0.040 - 3.800
     Cu                                 4 L ppm             25 - 150
     Fe                                81   ppm             45 - 220
     K                              2480    ppm          1400 - 4000
     Mg                               155   ppm            100 - 250
     Mn                             1.369 L ppm          1.500 - 5.000
     Mo                             0.368   ppm          0.200 - 1.400
     Na                             1383    ppm           900 - 3000
     P                              2249    ppm          2000 - 4000
     Se                             1.782 H ppm          0.200 - 0.700
     Zn                                15 L ppm             25 - 125
     Animal Id:           12K
     Specimen Desc:       KIDNEY
     Ca                              45.9   ppm           30.0 - 200.0
     Co                             0.023   ppm          0.020 - 0.200
     Cr                             0.032 L ppm          0.040 - 3.800
     Cu                                 4 L ppm             25 - 150
     Fe                                72   ppm             45 - 220
     K                              2197    ppm          1400 - 4000
     Mg                               153   ppm            100 - 250
     Mn                             1.209 L ppm          1.500 - 5.000
     Mo                             0.585   ppm          0.200 - 1.400
     Na                             1947    ppm           900 - 3000
     P                              2141    ppm          2000 - 4000
     Se                             1.429 H ppm          0.200 - 0.700
     Zn                                15 L ppm             25 - 125
  HEAVY METAL PANEL
     Animal Id:           1L
     Specimen Desc:       LIVER
     As                             0.009   ppm         No Ref Interval
     Cd                             0.320   ppm         No Ref Interval
     Pb                             0.018   ppm         No Ref Interval
     Tl                             0.002   ppm         No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      December 6, 2023




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Toxicology
  HEAVY METAL PANEL
     Animal Id:           2L
     Specimen Desc:       LIVER
     As                           0.005   ppm        No Ref Interval
     Cd                           0.232   ppm        No Ref Interval
     Pb                           0.012   ppm        No Ref Interval
     Tl                           0.001   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      December 6, 2023
     Animal Id:           3L
     Specimen Desc:       LIVER
     As                           0.007   ppm        No Ref Interval
     Cd                           0.422   ppm        No Ref Interval
     Pb                           0.010   ppm        No Ref Interval
     Tl                           0.002   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      December 6, 2023
     Animal Id:           4L
     Specimen Desc:       LIVER
     As                           0.005   ppm        No Ref Interval
     Cd                           0.404   ppm        No Ref Interval
     Pb                           0.023   ppm        No Ref Interval
     Tl                           0.002   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      December 6, 2023
     Animal Id:           5L
     Specimen Desc:       LIVER
     As                           0.007   ppm        No Ref Interval
     Cd                           0.358   ppm        No Ref Interval
     Pb                           0.013   ppm        No Ref Interval
     Tl                           0.002   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      December 6, 2023
     Animal Id:           6L
     Specimen Desc:       LIVER
     As                           0.006   ppm        No Ref Interval
     Cd                           0.274   ppm        No Ref Interval
     Pb                           0.018   ppm        No Ref Interval




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Toxicology
  HEAVY METAL PANEL
    Tl                            0.002   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      December 6, 2023
     Animal Id:           7L
     Specimen Desc:       LIVER
     As                           0.007   ppm        No Ref Interval
     Cd                           0.644   ppm        No Ref Interval
     Pb                           0.009   ppm        No Ref Interval
     Tl                           0.001   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      December 6, 2023
     Animal Id:           8L
     Specimen Desc:       LIVER
     As                           0.008   ppm        No Ref Interval
     Cd                           0.336   ppm        No Ref Interval
     Pb                           0.011   ppm        No Ref Interval
     Tl                           0.002   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      December 6, 2023
     Animal Id:           9L
     Specimen Desc:       LIVER
     As                           0.006   ppm        No Ref Interval
     Cd                           0.163   ppm        No Ref Interval
     Pb                           0.024   ppm        No Ref Interval
     Tl                           0.001   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      December 6, 2023
     Animal Id:           10L
     Specimen Desc:       LIVER
     As                           0.002   ppm        No Ref Interval
     Cd                           0.424   ppm        No Ref Interval
     Pb                           0.014   ppm        No Ref Interval
     Tl                           0.001   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT




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Toxicology
  HEAVY METAL PANEL

     Date Reported
      December 6, 2023
     Animal Id:           11L
     Specimen Desc:       LIVER
     As                            0.004   ppm        No Ref Interval
     Cd                            0.127   ppm        No Ref Interval
     Pb                            0.010   ppm        No Ref Interval
     Tl                            0.001   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      December 6, 2023
     Animal Id:           12L
     Specimen Desc:       LIVER
     As                            0.004   ppm        No Ref Interval
     Cd                            0.260   ppm        No Ref Interval
     Pb                            0.015   ppm        No Ref Interval
     Tl                            0.002   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      December 6, 2023
     Animal Id:           1K
     Specimen Desc:       KIDNEY
     As                            0.007   ppm        No Ref Interval
     Cd                            7.340   ppm        No Ref Interval
     Pb                            0.034   ppm        No Ref Interval
     Tl                            0.005   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      December 6, 2023
     Animal Id:           2K
     Specimen Desc:       KIDNEY
     As                            0.005   ppm        No Ref Interval
     Cd                            5.922   ppm        No Ref Interval
     Pb                            0.030   ppm        No Ref Interval
     Tl                            0.003   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      December 6, 2023
     Animal Id:           3K
     Specimen Desc:       KIDNEY




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Toxicology
  HEAVY METAL PANEL
    As                             0.006   ppm        No Ref Interval
    Cd                             5.078   ppm        No Ref Interval
    Pb                             0.022   ppm        No Ref Interval
    Tl                             0.025   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      December 6, 2023
     Animal Id:           4K
     Specimen Desc:       KIDNEY
     As                            0.012   ppm        No Ref Interval
     Cd                            4.069   ppm        No Ref Interval
     Pb                            0.043   ppm        No Ref Interval
     Tl                            0.008   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      December 6, 2023
     Animal Id:           5K
     Specimen Desc:       KIDNEY
     As                            0.007   ppm        No Ref Interval
     Cd                            2.547   ppm        No Ref Interval
     Pb                            0.022   ppm        No Ref Interval
     Tl                            0.004   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      December 6, 2023
     Animal Id:           6K
     Specimen Desc:       KIDNEY
     As                            0.007   ppm        No Ref Interval
     Cd                            3.309   ppm        No Ref Interval
     Pb                            0.039   ppm        No Ref Interval
     Tl                            0.003   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      December 6, 2023
     Animal Id:           7K
     Specimen Desc:       KIDNEY
     As                            0.006   ppm        No Ref Interval
     Cd                            7.157   ppm        No Ref Interval
     Pb                            0.024   ppm        No Ref Interval
     Tl                            0.006   ppm        No Ref Interval

     Reported By




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Toxicology
  HEAVY METAL PANEL

     Reported By
      LEANNA DEMONT

     Date Reported
      December 6, 2023
     Animal Id:           8K
     Specimen Desc:       KIDNEY
     As                            0.005   ppm        No Ref Interval
     Cd                            3.412   ppm        No Ref Interval
     Pb                            0.025   ppm        No Ref Interval
     Tl                            0.003   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      December 6, 2023
     Animal Id:           9K
     Specimen Desc:       KIDNEY
     As                            0.015   ppm        No Ref Interval
     Cd                            1.618   ppm        No Ref Interval
     Pb                            0.034   ppm        No Ref Interval
     Tl                            0.004   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      December 6, 2023
     Animal Id:           10K
     Specimen Desc:       KIDNEY
     As                            0.003   ppm        No Ref Interval
     Cd                            5.211   ppm        No Ref Interval
     Pb                            0.027   ppm        No Ref Interval
     Tl                            0.004   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      December 6, 2023
     Animal Id:           11K
     Specimen Desc:       KIDNEY
     As                            0.009   ppm        No Ref Interval
     Cd                            0.835   ppm        No Ref Interval
     Pb                            0.029   ppm        No Ref Interval
     Tl                            0.004   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported




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Toxicology
  HEAVY METAL PANEL

     Date Reported
      December 6, 2023
     Animal Id:                12K
     Specimen Desc:            KIDNEY
     As                                        0.009     ppm            No Ref Interval
     Cd                                        2.223     ppm            No Ref Interval
     Pb                                        0.034     ppm            No Ref Interval
     Tl                                        0.014     ppm            No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      December 7, 2023
  TOXICOLOGY INTERPRETATION
     Species:                  BOVINE
     Animal Id:                1L

     Tox Comments
      I am concerned about the very deficient liver Cu and low liver Fe and Zn.

      contact me with any questions.

      Kidney Cd is consistently elevated.


      Bovine Kidney reference range
      Cd (ppm)         0.05-1.5
      Ca (ppm)         45-200
      Cr (ppm)0.05-6.2
      Co (ppm)         0.071
      Cu (ppm)         4-6
      Fe (ppm)         30-150
      Mg (ppm)         50-200
      Mn (ppm)         1.2-2
      Mo (ppm)         0.22-0.57
      P (ppm) 2000-3250
      K (ppm)
      Se (ppm)         1-1.5
      Na (ppm)
      Zn (ppm)         18-25

      Reference range bovine liver ppm
      As (ppm)         < 2 ppm >3 toxic
      Cd (ppm)         < 1 ppm
      Pb (ppm)         < 5 ppm >5 is toxic
      Tl (ppm) < .05 ppm

      Reference range bovine kidney ppm
      As (ppm)         < 1.5 ppm
      Cd (ppm)         < 1.5
      Pb (ppm)         < 2.5 ppm
      Tl (ppm) < .06 ppm

     Reported By




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Toxicology
  TOXICOLOGY INTERPRETATION

     Reported By
      Steve Ensley, DVM PhD
      Veterinary Toxicologist




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Owner:                                                                     Accession Number: D23-077013
 DANNY RASMUSSEN                                                            Case Coordinator: STEVE ENSLEY
   160 STEELE LN                                                            Received: 12/01/2023
   GRACE, ID 83241                                                          Finalized: 12/29/2023
                                                                             Species: BOVINE


Rdvm:
  DR SCOTT LEIBSLE



Clinic:
  IDAHO STATE DEPT AGRICULTURE
      2270 OLD PENITENTIARY RD
      BOISE, ID 83701




                                       Summary of Estimated Charges
                           The charges displayed may be split among two or more client accounts.


 Description                                                               Item #     Qty      Unit Price             Total
 Accession/Biohazard Fee                                                 800.5003      1            $ 7.00           $ 7.00

 Heavy Metal Panel                                                       814.2014      24          $ 56.75       $ 1,362.00

 Histo Necropsy 1-4 Tiss                                                  805.11       3           $ 79.00        $ 237.00

 Necropsy Histopath                                                      810.1004      1            $ 0.00           $ 0.00

 Toxicology Interpretation                                               814.2004      1            $ 0.00           $ 0.00

 Trace Mineral Panel (Liver-Wet Weight Adult)                            814.4000      24          $ 55.00       $ 1,320.00

                                                                                                    Total:       $ 2,926.00


 This is not an invoice; it is a summary of charges for this accession as of this date and time.

 Monthly billing will be sent the first business day of the month from our KSVDL Business Office. Invoices will reflect all
 current charges and statements will display any previous balances, payments, adjustments, and the total balance due.
  For all fees not paid within 60 days of the date of the invoice, a 1.5% finance charge will be assessed. Please direct
 any billing questions to the Business Office, 866-884-3867.

 The new fee schedule for KSVDL is effective July 1. The new fee schedule is available under the Test & Fees link on
 our webpage at www.ksvdl.org. Please contact Client Care at 1-866-512-5650 or clientcare@vet.k-state.edu with any
 questions.




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KANSAS STATE
U NIVER SIT Y
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                   Ldbotatory
                                                                EXHIBIT 12
                       Danny Rasmussen cases from 10/11/23 through 3/01/2024

Cattle in this case were exposed to soil, forage, and drinking water contaminated by an industrial
waste spill that occurred when these cattle were on summer grazing pasture. Soil samples
confirmed elevated levels of cadmium (Cd) and arsenic (As). The owner of the affected animals is
concerned that these exposed cattle may have absorbed heavy metals that they were exposed to,
into their system. Additionally, the owner is concerned about the future risk of feeding forage grown
on the contaminated ground and drinking water that was contaminated by the industrial waste
spill.

Exposure to elevated concentrations of Cd can have potentially negative effects on the kidneys,
liver, lungs, bones, immune system, blood, and nervous system of cattle. Cadmium is a known
carcinogen.

Kansas State Veterinary Diagnostic Laboratory (KSVDL) has these 4 case reports that pertain to this
case. The following are the KSVDL case number and day received.

    1. D23-065799 received 10/11/2023
    2. D23-072508 received 11/09/2023
    3.   D23-077013 received 12/01/2023
    4.   D24-012516 received 02/28/2024

These cases involved analyzing whole blood and tissue for selected minerals.

Kidney cadmium concentrations were above the normal range in samples received on 11/09/2023.
Twelve liver samples were received on 12/01/2023 for trace mineral analysis. A consistent finding in
this case (D23-077013} was very deficient liver copper in many cattle. In this case (D23-077013}, a
gross and microscopic examination was also performed. Elevated dietary Cd in cattle can reduce
tissue and serum copper (Cu) and kidney iron (Fe) concentrations.

Heavy metals like Cd can have many adverse effects on animals. The Agency for Toxic Substances
and Disease Registry (ATSDR) has a good summary of the issues associated with Cd exposure.

http�/Lwww�tsd r.cdc._g ov/ToxProfilesl1p_5. pdl




Steve Ensley DVM, PhD
Veterinary Diagnostic Laboratory, http://www.ksvdl.org/ I College of Veterinary Medicine
Kansas State University I P217 Mosier Hall j 1800 Denison Ave. I Manhattan, KS 66506 I 785-532-4287
Client Care: 866-512-5650

           Kansas State Veterinary
           DIAGNOSTIC LABORATORY
              Develop. Defend. Deliver.
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                                                  EXHIBIT 13
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Owner:                                                                    Accession Number: D24-012516
 DANNY RASMUSSEN                                                           Case Coordinator: STEVE ENSLEY
   160 STEELE LN                                                           Received: 02/28/2024
   GRACE, ID 83241                                                         Finalized: 03/01/2024
                                                                            Species: BOVINE


Rdvm:                                                                    EXHIBIT 14
  DR SCOTT LEIBSLE



Clinic:
  IDAHO STATE DEPT AGRICULTURE
      2270 OLD PENITENTIARY RD
      BOISE, ID 83701



                                                 FINAL REPORT
                                This report supercedes all previous reports for this case

 Toxicology
   TRACE MINERAL PANEL (LIVER - WET WEIGHT ADULT)
      Animal Id:           541
      Specimen Desc:       LIVER
      Ca                                     32.0   ppm                        30.0 - 200.0
      Co                                    0.062   ppm                       0.020 - 0.200
      Cr                                    0.140   ppm                       0.040 - 3.800
      Cu                                       24 L ppm                          25 - 150
      Fe                                       85   ppm                          45 - 220
      K                                     2993    ppm                        1400 - 4000
      Mg                                      166   ppm                         100 - 250
      Mn                                    3.382   ppm                       1.500 - 5.000
      Mo                                    1.344   ppm                       0.200 - 1.400
      Na                                    1019    ppm                         900 - 3000
      P                                     2982    ppm                        2000 - 4000
      Se                                    0.384   ppm                       0.200 - 0.700
      Zn                                       29   ppm                          25 - 125
      Animal Id:           926
      Specimen Desc:       LIVER
      Ca                                     36.0   ppm                        30.0 - 200.0
      Co                                    0.063   ppm                       0.020 - 0.200
      Cr                                    0.030 L ppm                       0.040 - 3.800
      Cu                                       50   ppm                          25 - 150
      Fe                                       50   ppm                          45 - 220
      K                                     3013    ppm                       1400 - 4000
      Mg                                      174   ppm                         100 - 250
      Mn                                    3.080   ppm                       1.500 - 5.000
      Mo                                    1.263   ppm                       0.200 - 1.400
      Na                                      854 L ppm                        900 - 3000
      P                                     3256    ppm                       2000 - 4000
      Se                                    0.424   ppm                       0.200 - 0.700
      Zn                                       25   ppm                          25 - 125


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Toxicology
  TRACE MINERAL PANEL (LIVER - WET WEIGHT ADULT)
     Animal Id:           821
     Specimen Desc:       LIVER
     Ca                              32.1   ppm           30.0 - 200.0
     Co                             0.065   ppm          0.020 - 0.200
     Cr                             0.028 L ppm          0.040 - 3.800
     Cu                                36   ppm             25 - 150
     Fe                                56   ppm             45 - 220
     K                              3085    ppm          1400 - 4000
     Mg                               169   ppm            100 - 250
     Mn                             2.806   ppm          1.500 - 5.000
     Mo                             1.155   ppm          0.200 - 1.400
     Na                             1042    ppm           900 - 3000
     P                              3188    ppm          2000 - 4000
     Se                             0.377   ppm          0.200 - 0.700
     Zn                                23 L ppm             25 - 125
     Animal Id:           12
     Specimen Desc:       LIVER
     Ca                              25.1 L ppm           30.0 - 200.0
     Co                             0.053   ppm          0.020 - 0.200
     Cr                             0.015 L ppm          0.040 - 3.800
     Cu                                28   ppm             25 - 150
     Fe                               297 H ppm             45 - 220
     K                              3087    ppm          1400 - 4000
     Mg                               166   ppm            100 - 250
     Mn                             3.238   ppm          1.500 - 5.000
     Mo                             1.168   ppm          0.200 - 1.400
     Na                               941   ppm           900 - 3000
     P                              2918    ppm          2000 - 4000
     Se                             0.368   ppm          0.200 - 0.700
     Zn                                29   ppm             25 - 125
     Animal Id:           253
     Specimen Desc:       LIVER
     Ca                              28.1 L ppm           30.0 - 200.0
     Co                             0.069   ppm          0.020 - 0.200
     Cr                             0.034 L ppm          0.040 - 3.800
     Cu                                 8 L ppm             25 - 150
     Fe                                47   ppm             45 - 220
     K                              3291    ppm          1400 - 4000
     Mg                               176   ppm            100 - 250
     Mn                             2.785   ppm          1.500 - 5.000
     Mo                             1.403 H ppm          0.200 - 1.400
     Na                               882 L ppm           900 - 3000
     P                              3230    ppm          2000 - 4000
     Se                             0.409   ppm          0.200 - 0.700
     Zn                                32   ppm             25 - 125
     Animal Id:           579
     Specimen Desc:       LIVER
     Ca                              22.2 L ppm           30.0 - 200.0
     Co                             0.056   ppm          0.020 - 0.200
     Cr                             0.021 L ppm          0.040 - 3.800
     Cu                                 9 L ppm             25 - 150
     Fe                               108   ppm             45 - 220
     K                              2563    ppm          1400 - 4000
     Mg                               149   ppm            100 - 250
     Mn                             1.885   ppm          1.500 - 5.000
     Mo                             0.845   ppm          0.200 - 1.400




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Toxicology
  TRACE MINERAL PANEL (LIVER - WET WEIGHT ADULT)
    Na                                 982  ppm            900 - 3000
    P                                2902   ppm           2000 - 4000
    Se                               0.410  ppm           0.200 - 0.700
    Zn                                  27  ppm              25 - 125
     Animal Id:           728
     Specimen Desc:       LIVER
     Ca                              43.1   ppm            30.0 - 200.0
     Co                             0.060   ppm           0.020 - 0.200
     Cr                             0.019 L ppm           0.040 - 3.800
     Cu                                35   ppm              25 - 150
     Fe                               216   ppm              45 - 220
     K                              2974    ppm           1400 - 4000
     Mg                               161   ppm             100 - 250
     Mn                             2.891   ppm           1.500 - 5.000
     Mo                             1.316   ppm           0.200 - 1.400
     Na                               829 L ppm            900 - 3000
     P                              2827    ppm           2000 - 4000
     Se                             0.416   ppm           0.200 - 0.700
     Zn                                23 L ppm              25 - 125
     Animal Id:           809
     Specimen Desc:       LIVER
     Ca                              22.7   L ppm          30.0 - 200.0
     Co                             0.057     ppm         0.020 - 0.200
     Cr                             0.011   L ppm         0.040 - 3.800
     Cu                                22   L ppm            25 - 150
     Fe                               100     ppm            45 - 220
     K                              2782      ppm          1400 - 4000
     Mg                               158     ppm           100 - 250
     Mn                             2.778     ppm         1.500 - 5.000
     Mo                             0.882     ppm         0.200 - 1.400
     Na                               964     ppm           900 - 3000
     P                              2939      ppm          2000 - 4000
     Se                             0.322     ppm         0.200 - 0.700
     Zn                                24   L ppm            25 - 125
     Animal Id:           409
     Specimen Desc:       LIVER
     Ca                              25.1 L ppm            30.0 - 200.0
     Co                             0.064   ppm           0.020 - 0.200
     Cr                             0.013 L ppm           0.040 - 3.800
     Cu                                44   ppm              25 - 150
     Fe                                96   ppm              45 - 220
     K                              2749    ppm           1400 - 4000
     Mg                               151   ppm             100 - 250
     Mn                             2.835   ppm           1.500 - 5.000
     Mo                             1.304   ppm           0.200 - 1.400
     Na                               908   ppm            900 - 3000
     P                              2833    ppm           2000 - 4000
     Se                             0.491   ppm           0.200 - 0.700
     Zn                                36   ppm              25 - 125
     Animal Id:           726
     Specimen Desc:       LIVER
     Ca                              29.8   ppm            30.0 - 200.0
     Co                             0.064   ppm           0.020 - 0.200
     Cr                             0.022 L ppm           0.040 - 3.800
     Cu                                38   ppm              25 - 150
     Fe                                76   ppm              45 - 220




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Toxicology
  TRACE MINERAL PANEL (LIVER - WET WEIGHT ADULT)
    K                                3042   ppm          1400 - 4000
    Mg                                 168  ppm            100 - 250
    Mn                               2.518  ppm          1.500 - 5.000
    Mo                               1.223  ppm          0.200 - 1.400
    Na                               1109   ppm           900 - 3000
    P                                3064   ppm          2000 - 4000
    Se                               0.419  ppm          0.200 - 0.700
    Zn                                  40  ppm             25 - 125
  HEAVY METAL PANEL
     Animal Id:           541
     Specimen Desc:       LIVER
     As                             0.010   ppm         No Ref Interval
     Cd                             0.385   ppm         No Ref Interval
     Pb                             0.015   ppm         No Ref Interval
     Tl                             0.001   ppm         No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      February 29, 2024
     Animal Id:           541
     Specimen Desc:       KIDNEY
     As                             0.009   ppm         No Ref Interval
     Cd                             4.733   ppm         No Ref Interval
     Pb                             0.040   ppm         No Ref Interval
     Tl                             0.004   ppm         No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      February 29, 2024
     Animal Id:           926
     Specimen Desc:       LIVER
     As                             0.006   ppm         No Ref Interval
     Cd                             0.091   ppm         No Ref Interval
     Pb                             0.021   ppm         No Ref Interval
     Tl                             0.001   ppm         No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      February 29, 2024
     Animal Id:           926
     Specimen Desc:       KIDNEY
     As                             0.013   ppm         No Ref Interval
     Cd                             1.377   ppm         No Ref Interval
     Pb                             0.050   ppm         No Ref Interval
     Tl                             0.003   ppm         No Ref Interval

     Reported By
      LEANNA DEMONT




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Toxicology
  HEAVY METAL PANEL

     Date Reported
      February 29, 2024
     Animal Id:           821
     Specimen Desc:       LIVER
     As                            0.006   ppm        No Ref Interval
     Cd                            0.218   ppm        No Ref Interval
     Pb                            0.015   ppm        No Ref Interval
     Tl                            0.001   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      February 29, 2024
     Animal Id:           821
     Specimen Desc:       KIDNEY
     As                            0.009   ppm        No Ref Interval
     Cd                            6.125   ppm        No Ref Interval
     Pb                            0.063   ppm        No Ref Interval
     Tl                            0.001   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      February 29, 2024
     Animal Id:           12
     Specimen Desc:       LIVER
     As                            0.007   ppm        No Ref Interval
     Cd                            0.483   ppm        No Ref Interval
     Pb                            0.024   ppm        No Ref Interval
     Tl                            0.001   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      February 29, 2024
     Animal Id:           12
     Specimen Desc:       KIDNEY
     As                            0.009   ppm        No Ref Interval
     Cd                            2.056   ppm        No Ref Interval
     Pb                            0.042   ppm        No Ref Interval
     Tl                            0.001   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      February 29, 2024
     Animal Id:           253
     Specimen Desc:       LIVER




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Toxicology
  HEAVY METAL PANEL
    As                             0.011   ppm        No Ref Interval
    Cd                             0.319   ppm        No Ref Interval
    Pb                             0.022   ppm        No Ref Interval
    Tl                             0.001   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      February 29, 2024
     Animal Id:           253
     Specimen Desc:       KIDNEY
     As                            0.010   ppm        No Ref Interval
     Cd                            6.791   ppm        No Ref Interval
     Pb                            0.071   ppm        No Ref Interval
     Tl                            0.001   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      February 29, 2024
     Animal Id:           579
     Specimen Desc:       LIVER
     As                            0.008   ppm        No Ref Interval
     Cd                            0.398   ppm        No Ref Interval
     Pb                            0.020   ppm        No Ref Interval
     Tl                            0.002   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      February 29, 2024
     Animal Id:           579
     Specimen Desc:       KIDNEY
     As                            0.010   ppm        No Ref Interval
     Cd                            4.508   ppm        No Ref Interval
     Pb                            0.048   ppm        No Ref Interval
     Tl                            0.003   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      February 29, 2024
     Animal Id:           728
     Specimen Desc:       LIVER
     As                            0.008   ppm        No Ref Interval
     Cd                            0.327   ppm        No Ref Interval
     Pb                            0.024   ppm        No Ref Interval
     Tl                            0.001   ppm        No Ref Interval

     Reported By




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Toxicology
  HEAVY METAL PANEL

     Reported By
      LEANNA DEMONT

     Date Reported
      February 29, 2024
     Animal Id:           728
     Specimen Desc:       KIDNEY
     As                            0.011   ppm        No Ref Interval
     Cd                            5.196   ppm        No Ref Interval
     Pb                            0.049   ppm        No Ref Interval
     Tl                            0.001   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      February 29, 2024
     Animal Id:           809
     Specimen Desc:       LIVER
     As                            0.005   ppm        No Ref Interval
     Cd                            0.187   ppm        No Ref Interval
     Pb                            0.012   ppm        No Ref Interval
     Tl                            0.001   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      February 29, 2024
     Animal Id:           809
     Specimen Desc:       KIDNEY
     As                            0.009   ppm        No Ref Interval
     Cd                            1.551   ppm        No Ref Interval
     Pb                            0.032   ppm        No Ref Interval
     Tl                            0.004   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      February 29, 2024
     Animal Id:           409
     Specimen Desc:       LIVER
     As                            0.009   ppm        No Ref Interval
     Cd                            0.494   ppm        No Ref Interval
     Pb                            0.014   ppm        No Ref Interval
     Tl                            0.001   ppm        No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported




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Toxicology
  HEAVY METAL PANEL

     Date Reported
      February 29, 2024
     Animal Id:                409
     Specimen Desc:            KIDNEY
     As                                         0.007     ppm             No Ref Interval
     Cd                                         8.884     ppm             No Ref Interval
     Pb                                         0.039     ppm             No Ref Interval
     Tl                                         0.001     ppm             No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      February 29, 2024
     Animal Id:                726
     Specimen Desc:            LIVER
     As                                         0.007     ppm             No Ref Interval
     Cd                                         0.524     ppm             No Ref Interval
     Pb                                         0.021     ppm             No Ref Interval
     Tl                                         0.001     ppm             No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      February 29, 2024
     Animal Id:                726
     Specimen Desc:            KIDNEY
     As                                         0.010     ppm             No Ref Interval
     Cd                                         3.849     ppm             No Ref Interval
     Pb                                         0.047     ppm             No Ref Interval
     Tl                                         0.002     ppm             No Ref Interval

     Reported By
      LEANNA DEMONT

     Date Reported
      February 29, 2024
  TOXICOLOGY INTERPRETATION
     Species:                  BOVINE
     Animal Id:                541

     Tox Comments
      Animal 541 has slightly lower copper than the normal reference range.
      Animal 926 has slightly low chromium and sodium, though this is likely not clinically significant.
      Animal 821 has mildly lowered zinc.
      Animal 12 has slightly elevated iron, though likely not to a clinically significant degree.
      Animal 253's most significant finding is low copper. This might partially be explained by the mild
      elevation in molybdenum as this mineral is a copper antagonist.
      Animal 579 has very low copper, which can affect the ability of the immune system to function.
      Animal 728 has mildly lowered zinc, though this is not likely to be clinically significant.
      Animal 809 has mildly low zinc and slightly low copper.
      Animal 409 has no clinically significant findings.




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Toxicology
  TOXICOLOGY INTERPRETATION

     Tox Comments
      Animal 726 has no clinically significant findings.

      Normal reference ranges for heavy metals in bovine liver are the following:
      As (ppm) < 2 ppm > 3 toxic
      Cd (ppm) < 1 ppm
      Pb (ppm) < 5 ppm > 5 is toxic
      Tl (ppm) < .05 ppm

      All of the liver samples tested for heavy metals were within normal range.

      Normal reference ranges for heavy metals in bovine kidney are the following:
      As (ppm) < 1.5 ppm
      Cd (ppm) < 1.5
      Pb (ppm) < 2.5 ppm
      Tl (ppm) < .06 ppm

      Elevated kidney cadmium levels were seen in animals 541, 821, 12, 253, 579, 728, 809, 409, and
      726. All other heavy metal values were normal. Cadmium accumulates in kidney naturally over time.
      Cadmium can cross the placental barrier at high enough levels and can result in clinical signs such as
      abortions, stillbirths, and congenital defects. Cattle also can become anemic, hypertensive, and
      develop enlarged joints and/or scaly skin. Results should be interpreted within this clinical context.

     Reported By
      Steve Ensley, DVM PhD
      Veterinary Toxicologist
  TRACE MINERAL BOVINE KIDNEY-WET WEIGHT ADULT
     Animal Id:                 541
     Specimen Desc:             KIDNEY
     Ca                                          47.9   ppm               45.0 - 200.0
     Co                                         0.023 L ppm                   0.071
     Cr                                         0.032 L ppm              0.050 - 6.200
     Cu                                            5.3  ppm                 4.0 - 6.0
     Fe                                          70.3   ppm               30.0 - 150.0
     K                                         2677.6 H ppm             2250.0 - 2400.0
     Mg                                           168   ppm                 50 - 200
     Mn                                         1.469   ppm              1.000 - 2.000
     Mo                                         0.600   ppm              0.200 - 0.600
     Na                                         1945 H ppm                1450 - 1700
     P                                          2498    ppm               2000 - 3250
     Se                                            1.6  ppm                 1.0 - 2.0
     Zn                                            25   ppm                  18 - 25
     Animal Id:                 926
     Specimen Desc:             KIDNEY
     Ca                                          49.1    ppm              45.0 - 200.0
     Co                                         0.033 L ppm                   0.071
     Cr                                         0.154    ppm             0.050 - 6.200
     Cu                                            4.9   ppm                4.0 - 6.0
     Fe                                          74.0    ppm              30.0 - 150.0
     K                                         2870.5 H ppm             2250.0 - 2400.0
     Mg                                           174    ppm                50 - 200
     Mn                                         1.792    ppm             1.000 - 2.000
     Mo                                         0.638 H ppm              0.200 - 0.600
     Na                                         1639     ppm              1450 - 1700
     P                                          2664     ppm              2000 - 3250
     Se                                            2.3 H ppm                1.0 - 2.0




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Toxicology
  TRACE MINERAL BOVINE KIDNEY-WET WEIGHT ADULT
    Se                               2.3 H ppm            1.0 - 2.0
    Zn                                19   ppm            18 - 25
     Animal Id:           821
     Specimen Desc:       KIDNEY
     Ca                              49.6   ppm          45.0 - 200.0
     Co                             0.022 L ppm              0.071
     Cr                             0.023 L ppm         0.050 - 6.200
     Cu                                4.6  ppm            4.0 - 6.0
     Fe                              99.8   ppm          30.0 - 150.0
     K                             2229.9 L ppm        2250.0 - 2400.0
     Mg                               162   ppm            50 - 200
     Mn                             1.443   ppm         1.000 - 2.000
     Mo                             0.548   ppm         0.200 - 0.600
     Na                             2369 H ppm           1450 - 1700
     P                              2338    ppm          2000 - 3250
     Se                                1.3  ppm            1.0 - 2.0
     Zn                                21   ppm             18 - 25
     Animal Id:           12
     Specimen Desc:       KIDNEY
     Ca                              48.7   ppm          45.0 - 200.0
     Co                             0.029 L ppm              0.071
     Cr                             0.050   ppm         0.050 - 6.200
     Cu                                4.8  ppm            4.0 - 6.0
     Fe                              65.9   ppm          30.0 - 150.0
     K                             2486.7 H ppm        2250.0 - 2400.0
     Mg                               165   ppm            50 - 200
     Mn                             1.501   ppm         1.000 - 2.000
     Mo                             0.866 H ppm         0.200 - 0.600
     Na                             1702 H ppm           1450 - 1700
     P                              2490    ppm          2000 - 3250
     Se                                1.8  ppm            1.0 - 2.0
     Zn                                18   ppm             18 - 25
     Animal Id:           253
     Specimen Desc:       KIDNEY
     Ca                              54.4   ppm          45.0 - 200.0
     Co                             0.025 L ppm              0.071
     Cr                             0.019 L ppm         0.050 - 6.200
     Cu                                4.6  ppm            4.0 - 6.0
     Fe                              65.3   ppm          30.0 - 150.0
     K                             2754.4 H ppm        2250.0 - 2400.0
     Mg                               162   ppm            50 - 200
     Mn                             1.221   ppm         1.000 - 2.000
     Mo                             0.975 H ppm         0.200 - 0.600
     Na                             1982 H ppm           1450 - 1700
     P                              2416    ppm          2000 - 3250
     Se                                1.6  ppm            1.0 - 2.0
     Zn                                22   ppm             18 - 25
     Animal Id:           579
     Specimen Desc:       KIDNEY
     Ca                              55.6   ppm          45.0 - 200.0
     Co                             0.022 L ppm              0.071
     Cr                             0.115   ppm         0.050 - 6.200
     Cu                                4.4  ppm            4.0 - 6.0
     Fe                              75.3   ppm          30.0 - 150.0
     K                             2636.7 H ppm        2250.0 - 2400.0
     Mg                               174   ppm            50 - 200




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Toxicology
  TRACE MINERAL BOVINE KIDNEY-WET WEIGHT ADULT
    Mn                             1.119   ppm          1.000 - 2.000
    Mo                             0.584   ppm          0.200 - 0.600
    Na                             2117 H ppm            1450 - 1700
    P                              2621    ppm           2000 - 3250
    Se                                1.6  ppm             1.0 - 2.0
    Zn                                21   ppm             18 - 25
     Animal Id:           728
     Specimen Desc:       KIDNEY
     Ca                              54.1   ppm          45.0 - 200.0
     Co                             0.025 L ppm              0.071
     Cr                             0.019 L ppm         0.050 - 6.200
     Cu                                4.4  ppm            4.0 - 6.0
     Fe                              72.8   ppm          30.0 - 150.0
     K                             2835.9 H ppm        2250.0 - 2400.0
     Mg                               168   ppm            50 - 200
     Mn                             1.552   ppm         1.000 - 2.000
     Mo                             0.702 H ppm         0.200 - 0.600
     Na                             1782 H ppm           1450 - 1700
     P                              2506    ppm          2000 - 3250
     Se                                1.9  ppm            1.0 - 2.0
     Zn                                21   ppm             18 - 25
     Animal Id:           809
     Specimen Desc:       KIDNEY
     Ca                              47.0   ppm          45.0 - 200.0
     Co                             0.020 L ppm              0.071
     Cr                             0.038 L ppm         0.050 - 6.200
     Cu                                4.7  ppm            4.0 - 6.0
     Fe                              68.6   ppm          30.0 - 150.0
     K                             2726.6 H ppm        2250.0 - 2400.0
     Mg                               169   ppm            50 - 200
     Mn                             1.521   ppm         1.000 - 2.000
     Mo                             0.464   ppm         0.200 - 0.600
     Na                             2023 H ppm           1450 - 1700
     P                              2553    ppm          2000 - 3250
     Se                                1.8  ppm            1.0 - 2.0
     Zn                                21   ppm             18 - 25
     Animal Id:           409
     Specimen Desc:       KIDNEY
     Ca                              44.7 L ppm          45.0 - 200.0
     Co                             0.027 L ppm              0.071
     Cr                             0.012 L ppm         0.050 - 6.200
     Cu                                4.9  ppm            4.0 - 6.0
     Fe                              81.1   ppm          30.0 - 150.0
     K                             2401.7 H ppm        2250.0 - 2400.0
     Mg                               162   ppm            50 - 200
     Mn                             1.438   ppm         1.000 - 2.000
     Mo                             0.724 H ppm         0.200 - 0.600
     Na                             2032 H ppm           1450 - 1700
     P                              2413    ppm          2000 - 3250
     Se                                1.9  ppm            1.0 - 2.0
     Zn                                27 H ppm             18 - 25
     Animal Id:           726
     Specimen Desc:       KIDNEY
     Ca                             46.4   ppm           45.0 - 200.0
     Co                            0.026 L ppm              0.071
     Cr                            0.027 L ppm          0.050 - 6.200




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Toxicology
  TRACE MINERAL BOVINE KIDNEY-WET WEIGHT ADULT
    Cu                                4.7  ppm            4.0 - 6.0
    Fe                              63.3   ppm          30.0 - 150.0
    K                             2770.2 H ppm        2250.0 - 2400.0
    Mg                               168   ppm            50 - 200
    Mn                             1.427   ppm         1.000 - 2.000
    Mo                             0.732 H ppm         0.200 - 0.600
    Na                             1790 H ppm           1450 - 1700
    P                              2563    ppm          2000 - 3250
    Se                                1.5  ppm            1.0 - 2.0
    Zn                                24   ppm             18 - 25




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Owner:                                                                     Accession Number: D24-012516
 DANNY RASMUSSEN                                                            Case Coordinator: STEVE ENSLEY
   160 STEELE LN                                                            Received: 02/28/2024
   GRACE, ID 83241                                                          Finalized: 03/01/2024
                                                                             Species: BOVINE


Rdvm:
  DR SCOTT LEIBSLE



Clinic:
  IDAHO STATE DEPT AGRICULTURE
      2270 OLD PENITENTIARY RD
      BOISE, ID 83701




                                       Summary of Estimated Charges
                          The charges displayed may be split among two or more client accounts.


 Description                                                               Item #     Qty      Unit Price             Total
 Accession/Biohazard Fee                                                 800.5003      1            $ 7.00           $ 7.00

 Heavy Metal Panel                                                       814.2014      20          $ 56.75      $ 1,135.00

 Toxicology Interpretation                                               814.2004      1            $ 0.00           $ 0.00

 Trace Mineral Bovine Kidney-Wet Weight Adult                            814.4007      10          $ 56.00        $ 560.00

 Trace Mineral Panel (Liver-Wet Weight Adult)                            814.4000      10          $ 55.00        $ 550.00

                                                                                                    Total:      $ 2,252.00


 This is not an invoice; it is a summary of charges for this accession as of this date and time.

 Monthly billing will be sent the first business day of the month from our KSVDL Business Office. Invoices will reflect all
 current charges and statements will display any previous balances, payments, adjustments, and the total balance due.
  For all fees not paid within 60 days of the date of the invoice, a 1.5% finance charge will be assessed. Please direct
 any billing questions to the Business Office, 866-884-3867.

 The new fee schedule for KSVDL is effective July 1. The new fee schedule is available under the Test & Fees link on
 our webpage at www.ksvdl.org. Please contact Client Care at 1-866-512-5650 or clientcare@vet.k-state.edu with any
 questions.




 Accession Number: D24-012516                                                                        Friday, 1 Mar 2024 8:55 AM
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           EXHIBIT 15
                                              Wednesday,
                                              Wednesday, April
                                                         April 9,
                                                               9, 2025
                                                                  2025 at
                                                                       at 18:06:43
                                                                          18:06:43 Mountain
                                                                                   Mountain Daylight
                                                                                            Daylight Time
                                                                                                     Time

Subject:
Subject:      RE: KSVDL Diagnostic Results Report for Accession: D24-012516 - DANNY, RASMUSSEN - N/A
Date:
Date:         Tuesday, March 5, 2024 at 9:03:54 AM Mountain Standard Time
From:
From:         Dr. Scott Leibsle
To:
To:          Lloyd Knight
Attachments:
Attachments: image001.png


Microsoft Exchange Server;converted from html;
Hi Danny –
When you made the original plea for assistance to the Governor and to ISDA, you were looking for
support in determining if heavy metal toxicity was tangibly a[ecting the health and well-being of your
cattle. The one round of liver biopsies combined with 2 rounds of tissue collection at slaughter totaled
over 30 cattle tested. Those samples combined with your post-mortem submissions to Utah State
should be a large enough sample size to su[iciently document the e[ects of heavy metal toxicity in
your cattle. I don’t think additional testing, at least for the purposes of documenting if heavy metal
toxicity had a tangible impact on your herd, is necessary. Since you now have multiple sets of test
results that are potentially indicative of disease process(es) a[ecting your cattle due to exposure to
contaminated feed, water & soil, I would recommend you reach back out to Simplot to discuss the
issue. Alan Prouty is Simplot’s Vice President of Environmental and Regulatory A[airs and he is
familiar with the testing you’ve been conducting and the concerns that you have for your cattle. I
recommend you get in contact with Alan. I am not an expert in heavy metal toxicity in cattle so I could
not o[er any expert testimony in your case other than to acknowledge I was the veterinarian that
collected the tissue samples. Your best bet for expert analysis continues to lie with Steve Ensley, Je[
Hall or another toxicologist with experience with heavy metal toxicity in livestock.




From:
From: Danny <drhornhunter@hotmail.com>
Sent:
Sent: Monday, March 4, 2024 9:43 AM
To:
To: Dr. ScoA Leibsle <ScoA.Leibsle@ISDA.IDAHO.GOV>
Subject:
Subject: RE: KSVDL DiagnosOc Results Report for Accession: D24-012516 - DANNY, RASMUSSEN - N/A
CAUTION:
CAUTION: This
          This email
               email originated
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                                                                                    sender. Contact
                                                                                            Contact
your
your agency
     agency service
            service desk
                    desk with
                          with any
                                any concerns.
                                     concerns.

Hello Scott
Thanks for collecting those tissues and sending them and also the results , which are quite
alarming.
The toxicology interpretation from Dr Steve Ensley seems to indicate that the metals are
causing death in calves being abortions, still born, congenital defects, and immune sytem
defeciencies. ( also the health problems in cows ) which i did have one die showing clinical
signs of everything he explained. I did send her liver and kidneys along with a calf tissues to


                                                                                                            1 of 3
         Case 4:25-cv-00236-DCN       Document 1      Filed 05/02/25     Page 171 of 212


kansas but have yet to see those results.
This has all happened in about 6 months time since the exposure. Im worried about the
health of the whole herd moving forward as the cadmium and other toxic metals will continue
to raise havoc with all their bodily systems. Im hoping to get an expert analysis from you as
well to support that.
100% of the cows (9 out of10) exposed to environmental spill tested high elevated levels of
cadmium etc. 1 of 10 showed normal ranges cow #926. This cow was from the control group
of unexposed heifers.
When your schedule permits i would like to discuss this with you.
Thanks
Danny
Also we will be taking 2 more calves to Utah state today for necropsy and send livers to
Kansas for mineral screening. The toxicologists there have indicated that we dont need to
send kidneys from calves anymore ? Do you think that we need to ? That seems to be the
target area for the cadmium
I will wait to send more cattle to C S packers until I'm closer to ﬁnished with calving. I have 3
now that have lost calves since the 10 you tested and i sadly suspect that number will
continue to go up......
Sent from my Galaxy
-------- Original message --------
From: "Dr. Scott Leibsle" <Scott.Leibsle@ISDA.IDAHO.GOV>
Date: 3/1/24 4:37 PM (GMT-07:00)
To: Danny <DRHORNHUNTER@HOTMAIL.COM>
Subject: FW: KSVDL Diagnostic Results Report for Accession: D24-012516 - DANNY,
RASMUSSEN - N/A
Test results attached.




From:
From: ksuvdl@vet.k-state.edu <ksuvdl@vet.k-state.edu>
Sent:
Sent: Friday, March 1, 2024 7:56 AM
To:
To: Dr. ScoA Leibsle <ScoA.Leibsle@ISDA.IDAHO.GOV>
Subject:
Subject: KSVDL DiagnosOc Results Report for Accession: D24-012516 - DANNY, RASMUSSEN - N/A
CAUTION: This email originated outside the State of Idaho network. Verify links and attachments
BEFORE you click or open, even if you recognize and/or trust the sender. Contact your agency
service desk with any concerns.

Thank you for using KSVDL

**** Please see attached Adobe Acrobat PDF ﬁle for information regarding D24-012516.
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                                                                                                    2 of 3
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                                                                         Page 173


                                                Wednesday,
                                                Wednesday, April
                                                           April 9,
                                                                 9, 2025
                                                                    2025 at
                                                                         at 18:07:48
                                                                            18:07:48 Mountain
                                                                                     Mountain Daylight
                                                                                              Daylight Time
                                                                                                       Time

Subject:
Subject:       RE: KSVDL Diagnostic Results Report for Accession: D24-012516 - DANNY, RASMUSSEN - N/A
Date:
Date:          Tuesday, March 5, 2024 at 9:35:11 AM Mountain Standard Time
From:
From:          Lloyd Knight
To:
To:          Dr. Scott Leibsle, Chanel Tewalt
Attachments:
Attachments: image001.png


Scott (and Chanel) – Not sure if this is best put in a call or an email, but either way I amended your
message a bit. I think we need to stress that his best resources for his case/investigation/research are
the expert toxicologists and his local veterinarian. And I think he should call Alan and discuss with
him.

But letting you all review.

Thanks.

Hi Danny –

I am not an expert in heavy metal toxicity in cattle or your regular veterinarian, and as such I am not in
the best position to provide you with further advice or consultation on your particular case. Your best
bet for expert analysis continues to lie with Steve Ensley, Jea Hall, or another toxicologist with
experience with heavy metal toxicity in livestock. Those experts, as well as your regular veterinarian,
should have the best understanding of toxicity and the unique characteristics of any toxicity or
possible background levels for heavy metals in your area.

I do encourage you to reach out to Alan Prouty, Vice President of Environmental and Regulatory Aaairs
for Simplot. The company has interest in your case.

Lloyd B. Knight
Deputy Director
Idaho State Department of Agriculture
Oﬃce: (208)332-8615
Cell: (208)859-4173
From:
From: Dr. ScoM Leibsle <ScoM.Leibsle@ISDA.IDAHO.GOV>
Sent:
Sent: Tuesday, March 5, 2024 9:04 AM
To:
To: Lloyd Knight <Lloyd.Knight@ISDA.IDAHO.GOV>
Subject:
Subject: RE: KSVDL Diagnos\c Results Report for Accession: D24-012516 - DANNY, RASMUSSEN - N/A

Hi Danny –

When you made the original plea for assistance to the Governor and to ISDA, you were looking for
support in determining if heavy metal toxicity was tangibly aaecting the health and well-being of your
cattle. The one round of liver biopsies combined with 2 rounds of tissue collection at slaughter totaled
over 30 cattle tested. Those samples combined with your post-mortem submissions to Utah State
should be a large enough sample size to suaiciently document the eaects of heavy metal toxicity in
your cattle. I don’t think additional testing, at least for the purposes of documenting if heavy metal
toxicity had a tangible impact on your herd, is necessary. Since you now have multiple sets of test

                                                                                                              1 of 4
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results that are potentially indicative of disease process(es) aaecting your cattle due to exposure to
contaminated feed, water & soil, I would recommend you reach back out to Simplot to discuss the
issue. Alan Prouty is Simplot’s Vice President of Environmental and Regulatory Aaairs and he is
familiar with the testing you’ve been conducting and the concerns that you have for your cattle. I
recommend you get in contact with Alan. I am not an expert in heavy metal toxicity in cattle so I could
not oaer any expert testimony in your case other than to acknowledge I was the veterinarian that
collected the tissue samples. Your best bet for expert analysis continues to lie with Steve Ensley, Jea
Hall or another toxicologist with experience with heavy metal toxicity in livestock.




From:
From: Danny <drhornhunter@hotmail.com>
Sent:
Sent: Monday, March 4, 2024 9:43 AM
To:
To: Dr. ScoM Leibsle <ScoM.Leibsle@ISDA.IDAHO.GOV>
Subject:
Subject: RE: KSVDL Diagnos\c Results Report for Accession: D24-012516 - DANNY, RASMUSSEN - N/A

CAUTION:
CAUTION: This
          This email
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                                                                                    sender. Contact
                                                                                            Contact
your
your agency
     agency service
            service desk
                    desk with
                          with any
                                any concerns.
                                     concerns.


Hello Scott

Thanks for collecting those tissues and sending them and also the results , which are quite
alarming.
The toxicology interpretation from Dr Steve Ensley seems to indicate that the metals are
causing death in calves being abortions, still born, congenital defects, and immune sytem
defeciencies. ( also the health problems in cows ) which i did have one die showing clinical
signs of everything he explained. I did send her liver and kidneys along with a calf tissues to
kansas but have yet to see those results.
This has all happened in about 6 months time since the exposure. Im worried about the
health of the whole herd moving forward as the cadmium and other toxic metals will continue
to raise havoc with all their bodily systems. Im hoping to get an expert analysis from you as
well to support that.
100% of the cows (9 out of10) exposed to environmental spill tested high elevated levels of
cadmium etc. 1 of 10 showed normal ranges cow #926. This cow was from the control group
of unexposed heifers.
When your schedule permits i would like to discuss this with you.
Thanks
Danny


                                                                                                          2 of 4
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Also we will be taking 2 more calves to Utah state today for necropsy and send livers to
Kansas for mineral screening. The toxicologists there have indicated that we dont need to
send kidneys from calves anymore ? Do you think that we need to ? That seems to be the
target area for the cadmium
I will wait to send more cattle to C S packers until I'm closer to ﬁnished with calving. I have 3
now that have lost calves since the 10 you tested and i sadly suspect that number will
continue to go up......



Sent from my Galaxy




-------- Original message --------
From: "Dr. Scott Leibsle" <Scott.Leibsle@ISDA.IDAHO.GOV>
Date: 3/1/24 4:37 PM (GMT-07:00)
To: Danny <DRHORNHUNTER@HOTMAIL.COM>
Subject: FW: KSVDL Diagnostic Results Report for Accession: D24-012516 - DANNY,
RASMUSSEN - N/A

Test results attached.




From:
From: ksuvdl@vet.k-state.edu <ksuvdl@vet.k-state.edu>
Sent:
Sent: Friday, March 1, 2024 7:56 AM
To:
To: Dr. ScoM Leibsle <ScoM.Leibsle@ISDA.IDAHO.GOV>
Subject:
Subject: KSVDL Diagnos\c Results Report for Accession: D24-012516 - DANNY, RASMUSSEN - N/A

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Thank you for using KSVDL

**** Please see attached Adobe Acrobat PDF ﬁle for information regarding D24-012516.
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                                                              EXHIBIT        17
                                                              Filed 05/02/25 Page 177 of 212


                                             Wednesday,
                                             Wednesday, April
                                                        April 9,
                                                              9, 2025
                                                                 2025 at
                                                                      at 17:30:52
                                                                         17:30:52 Mountain
                                                                                  Mountain Daylight
                                                                                           Daylight Time
                                                                                                    Time

Subject:
Subject: Follow up on a possible report
Date:
Date:    Friday, March 29, 2024 at 5:30:27 PM Mountain Daylight Time
From:
From:    Danny
To:
To:       Dr. Scott Leibsle


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service desk with any concerns.




Hello Doc

We have some meetings coming up in about a week with the forest service and shortly after that
with simplot. They have reached out to us and i have informed them that we should meet soon.
 I was wondering if you could possibly prepare some kind of report, through email about what
we've learned and discussed about the metals in the cows and the health effects thats causing on
them and fetuses. Knowing we are bound now through liability of full disclosure on these cattle
that they were exposed to high levels of toxic metals has really put us in a situation that needs
remedy. Also a recommendation as to what should happen to these cattle, as we discussed
earlier as if Simplot were to take them. (Condemned ?)
It would be very helpful for us to have you correlate what the experts with toxicology and
pathology reports are saying so they can understand that this is not just our opinion but factual
information.
I would really appreciatte your help with this Scott

Thanks
Danny



Sent from my Galaxy




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      <     New conversation                                 EXHIBIT 18
        Dr Scott Liesble

      �ecipient                                                0
                      Tuesday, February 27, 2024


              Got the tissue and the I Os
                                                   9:13 AM


                         Ok thanks Scott. Do you think it
                         would be a good idea to maybe
                         send a second sample to texas or
            9:13 AM      uc davis to verify?


                          Friday, March 29, 2024


                         Hello Scott
                         I sent you an email.
                         Also wondered if you had heard
            5:31 PM      much from fsis?



     f)       I did... I'll forward you the
              response. I've got a few more
              contact to reach out to with FDA
              (apparently FDA sets thresholds
              for heavy metal in tissues)                    5:49 PM


                          Tuesday, April 2, 2024




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              111                  0                     <
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           Case 4:25-cv-00236-DCN                    Document 1      Filed 05/02/25   Page 181 of 212
                                                                            EXHIBIT 19
  From: Danny Rasmussen drhornhunter@hotmail.com
Subject: Fw: [EXTERNAL] Heavy metal testing in tissue at slaughter
   Date: January 13, 2025 at 4:56 PM
     To: Nathan Olsen nolsen@olsentaggart.com




       From: Dr. Scott Leibsle <Scott.Leibsle@ISDA.IDAHO.GOV>
       Sent: Friday, April 5, 2024 2:46 PM
       To: Danny <DRHORNHUNTER@HOTMAIL.COM>
       Subject: FW: [EXTERNAL] Heavy metal testing in tissue at slaughter




       From: Cheney, Sean <Sean.Cheney@fda.hhs.gov>
       Sent: Friday, April 5, 2024 2:44 PM
       To: Dr. Scott Leibsle <Scott.Leibsle@ISDA.IDAHO.GOV>
       Cc: Domesle, Alexander - FSIS <alexander.domesle@usda.gov>; Li, Hui
       <Hui.Li@fda.hhs.gov>
       Subject: FW: [EXTERNAL] Heavy metal testing in tissue at slaughter

       CAUTION: This email originated outside the State of Idaho network. Verify links and
       attachments BEFORE you click or open, even if you recognize and/or trust the sender.
       Contact your agency service desk with any concerns.


       Hello Dr. Leibsle,

       Thank you for your inquiry regarding heavy metals in cattle intended for slaughter. We
       apologize for the interagency pinball as you were directed to someone to answer your
       questions. Residues in edible tissues of livestock are unique in that jurisdiction falls to two
       separate agencies; FDA has jurisdiction over food animals (as well as the feed they
       consume) until slaughter, at which time jurisdiction falls to USDA FSIS. In consultation with
       FSIS, here is the information available regarding cadmium testing/levels:

       In muscle tissue:
            There are no established U.S. regulatory levels for cadmium in most food products,
            including beef. Evaluating a cadmium contamination scenario would be done on a
            case-by-case basis in consultation with both FSIS and FDA’s Center for Veterinary
            Medicine (CVM), given that animal food (forage), live animals, and the final beef
            product are potentially involved.
            FSIS collects random samples of beef at slaughter and tests for cadmium. The vast
            majority of samples (>99%) test below our limit of detection of 10 parts per billion
            (ppb or ng/g). A handful of samples have tested higher, up to about 70 ppb.

       In animal food (including forage):
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In animal food (including forage):
      When looking at cadmium toxicity, FDA typically looks at the total diet, not just the
      potentially contaminated forage. Anything >10ppm Cadmium in the total diet would
      be of concern on a dry matter basis. If, for example, the forage tested at 30ppm and
      accounted for 30% (DM) of the total diet, the forage would be 10ppm in terms of the
      total diet and not of significant concern. Even if higher levels were calculated in the
      total diet, CVM would also have to look at the diet composition, duration of exposure
      to the forage and other factors. So, like with the meat, it would need to be evaluated
      on a case-by-case basis.

Hopefully this information will help as you work with this cattle producer. If you have further
questions specific to testing at slaughter, please feel free to contact Alex Domesle, who
works at the Office of Public Health Science at FSIS (copied on this e-mail). For additional
questions about toxicity in feed/forage and total diet, I am happy to assist.

Sincerely,

Sean

Sean M. Cheney
Consumer Safety Officer, Regulatory Policy & Programs Branch
Division of Food Compliance
FDA/Center for Veterinary Medicine (CVM)
Houston, TX
Work Cell: (301) 467-3408
sean.cheney@fda.hhs.gov




From: Dr. Scott Leibsle <Scott.Leibsle@ISDA.IDAHO.GOV>
Sent: Wednesday, April 3, 2024 1:26 PM
To: Li, Hui <Hui.Li@fda.hhs.gov>
Subject: [EXTERNAL] Heavy metal testing in tissue at slaughter

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attachments unless you recognize the sender and know the content is safe.

Dr. Li –

My name is Scott Leibsle and I’m the state veterinarian of Idaho. I have a cattle producer
here in Idaho that is concerned his cattle may have been exposed to heavy metals
(specifically Cadmium) and he is concerned about the potential risk to human health if he
were to send any of the exposed cattle to slaughter. I was referred to you in hopes that you
could answer some of his questions regarding what levels of cadmium that are detected in
routine tissue samples, taken at the slaughter plant, would be considered harmful to
humans. Can you provide any guidance of established heavy metal thresholds set by FDA
for cadmium in beef tissue? Thank you for your time and I appreciate any information you
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for cadmium in beef tissue? Thank you for your time and I appreciate any information you
have.




From: Boian, Lester <Les.Boian@fda.hhs.gov>
Sent: Wednesday, March 27, 2024 8:08 AM
To: Dr. Scott Leibsle <Scott.Leibsle@ISDA.IDAHO.GOV>
Subject: RE: [EXTERNAL] Heavy metal testing in tissue

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attachments BEFORE you click or open, even if you recognize and/or trust the sender.
Contact your agency service desk with any concerns.


Morning Dr. Leibsle,

The best option that I know would be to contact the Center of Veterinarian Medicine (CVM)
as they are the likely ones to have that type of information, or would be able to best direct
you.
Here are a couple folks in CVM to contact:
Hui Li - Office of Applied Sciences hui.li@fda.hhs.gov
Sean Cheney - Office of Surveillance and Compliance sean.cheney@fda.hhs,gov

Hope this helps and leads in the right direction……. LES



From: Dr. Scott Leibsle <Scott.Leibsle@ISDA.IDAHO.GOV>
Sent: Tuesday, March 26, 2024 10:38 AM
To: Boian, Lester <Les.Boian@fda.hhs.gov>
Subject: [EXTERNAL] Heavy metal testing in tissue

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attachments unless you recognize the sender and know the content is safe.

Les –

I wasn’t sure who to reach out to at FDA about this, so I’m starting with you. There’s an
Idaho beef producer that believes his cattle may have been exposed to heavy metal
contaminated forage. He is concerned with taking the animals to slaughter, because the
tissue may show up positive….so he asked me what were acceptable levels for heavy
metals in slaughter tissue testing to pass post-mortem inspection. I didn’t know….so I
contacted FSIS. FSIS told me that it was actually FDA that makes the determination of
acceptable levels of heavy metals in tissues collected at slaughter. So, you’re my first stop
to find out who in FDA would be the best person to talk to about this? Would you be able to
redirect me to the right office or person? Thank you.
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redirect me to the right office or person? Thank you.
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                                                                                     EXHIBIT 20
         OLSEN                                                                P O B O X 3 0 0 5 I I D A H O FA L L S . I D 8 3 4 0 3

         TAGGART                                                              1 4 4 9 E 1 7 T H S T. S U I T E A | I D A H O FA L L S . I D 8 3 4 0 4

          AT TO R N E Y S                   AT         LAW                    TEL: 208-552-6442            FAX: 208-524-6095




                                                               January 15, 2025


Scott Leibsle

I d a h o S t a t e Ve t e r i n a r i a n A d m i n i s t r a t o r

PO Box 7249

Boise, Idaho 83712
Via mail and e-mail at animal infora isda.Idaho.aov and scott.leibsle@isda.idaho.gov

                          Re:          Request on behalf Lynn and Glenna Rasmussen

D e a r M r. L e i b s l e :



        Irepresent Lynn and Glenna Rasmussen (hereafter the “Rasmussens”). The
purpose of this letter is to seek information, clarification and an opinion pertaining to
your involvement with cattle owned by the Rasmussens which in the summer of 2023
were exposed to high amounts of toxic metals (Slurry) leaked from apipeline rupture
owned and controlled by Simplot Corporation in the Diamond Creek/Homet Canyon area
in the Caribou National Forest. ATCLP (Toxicity Characteristic Leaching Procedure)
test was performed to analyze the Slurry materials, which showed several metallic
compounds and toxins including arsenic, boron, barium, cadmium, chromium, lead,
mercury, and selenium.


         It is my understanding that after being advised of the spill in October of 2023, that
you had the liver and kidney tissues of twelve of the open cows exposed to the spill sent
off for atoxicology test which came back showing extremely high levels of cadmium in
the kidneys (see December 1, 2024, Toxicology study conducted by Kansas State
Veterinary Diagnostic Laboratory.) Thereafter, you had another ten exposed mother cows
of dead calves tested, each of which came back with high levels of cadmium in their
kidney tissue. (See March 1, 2024, toxicology report.) In early April of 2024, when the
Rasmussens suggested testing another group of mothers of dead calves, you declined,
indicating that the Rasmussens “had enough” data to “prove what is going on” to support
potential claims against Simplot. Also, you were advised by the Rasmussens during this
period of dramatically increased numbers of cows and calve mortality.




                                                                                                  O L S E N TA G G A R T. C O M
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Page 2of2

       In November of2024, the Rasmussens received aletter from Simplot’s counsel
making certain representations pertaining to your involvement and opinion in this matter
for which Rasmussens seek clarification from you. Specifically, Simplot avers that you
represented to the company that your testing found “no adverse effects” to the
Rasmussens’ cattle. Rasmussens recall no such representation from you.

        The Rasmussens currently have 275 remaining cows that were exposed to the
Slurry, and 244 confirmed bred calves from the exposed cows. They went from 12 open
cows last year to 31 open cows this year, more than a150% increase. Their 30 unexposed
heifers all birthed calves, breeding back at 100%. The Rasmussens have grave
reservations of marketing and selling the animals into the stream of commerce due to a
number of potential harms caused by the contamination both to animal and possibly
human health.


       Rasmussens hereby seek confirmation or clarification from you as to whether the
contaminated animals have “no adverse effect” on animal or human health. Time is of the

essence on this request in that the Rasmussens now have 519 potentially contaminated
animals which they must continue to maintain and feed at great cost. As such, we request
aresponse no later than January 31, 2025.

         Pursuant to the Idaho Public Records Act, I.C. §74-101 er al Rasmussens also
request all records in your and the department’s possession within ten working days of
this letter (as required under I.C. §74-103) pertaining to this matter. Such records should
include all reports, memoranda, analysis, tests, notes, internal or interagency
communications, and external communications made by you and/or anyone in the
department to any agent of Simplot and all other outside parties regarding this matter.

       Your prompt attention to this matter is greatly appreciated. Please feel free to
contact me with any questions or to fiirther discuss this matter.

                                                         ndetely.

                                                    f\
                                                     N     lan M. Ols^
                                                     Attorney for Rasmussens
                                                     Email: nolsen@olsentaggart.com
                                                     Telephone: 208-552-6442
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                            EXHIBIT 23
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                            EXHIBIT 24
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                                    EXHIBIT      25
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                                            Wednesday,
                                            Wednesday, April
                                                       April 9,
                                                             9, 2025
                                                                2025 at
                                                                     at 17:50:29
                                                                        17:50:29 Mountain
                                                                                 Mountain Daylight
                                                                                          Daylight Time
                                                                                                   Time

Subject:
Subject:       Heavy Metal Test Results
Date:
Date:          Wednesday, May 22, 2024 at 12:34:57 PM Mountain Daylight Time
From:
From:          Dr. Scott Leibsle
To:
To:          Mary Anne Nelson
Attachments:
Attachments: Rasmussen Liver & Kidney Testing Dec 2023.pdf, image001.png, Rasmussen Liver & Kidney Testing Feb
             2024.pdf, Biopsy results.pdf


Microsoft Exchange Server;converted from html;




                                                                                                                 1 of 1
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                                                                   EXHIBIT 26
 1410 N Hilton Street                                                                Brad Little, Governor
 Boise, ID 83706 • (208) 373-0502                                                     Jess Byrne, Director




March 26, 2024


By Dan.darlington@simplot.com

Dan Darlington
Smoky Canyon Mine Manager
J.R. Simplot Company, Smoky Canyon Mine
PO Box 1270
Afton, WY 83110

Re: Notice of Noncompliance – J.R. Simplot Company, Smoky Canyon Mine Idaho Pollutant
Discharge Elimination System (IPDES) Permit IDR053128

Attention Dan Darlington:

The Idaho Department of Environmental Quality (DEQ) has determined that J.R. Simplot
Company, Smoky Canyon Mine is out of compliance with IPDES Permit IDR053128. The non-
compliance is due to:

   •    Illegal unpermitted discharge to waters of the US under the CWA section 301

DEQ is providing this notice so J.R. Simplot Company, Smoky Canyon Mine may correct the
noncompliance with IPDES Permit IDR053128. Please provide the following information or
documentation by May 1st, 2024:

   •    Continue to coordinate with the Forest Service and other jurisdictional agencies to assess the
        potential harm resulting from the slurry released to the environment.

   •    In writing, submit a report that describes the pipeline breach, the estimated volume of slurry
        released and potential hazards of the slurry to the environment and to human health. The
        report should include the results of any environmental sampling undertaken by Simplot since
        the breach occurred. Completed October 3, 2023

   •    In writing, submit a proposed response action plan that describes how Simplot proposes to
        prevent future pipeline breaches. Include any system or design failures that contributed to the
        pipeline breach and allowed the slurry reduction in the pipeline to go unnoticed, and how those
        will be corrected by Simplot. To be completed and submitted to the U S Forest Service by April
        26th, 2024
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      •    Provide a yearly summary report of sampling completed under the approved monitoring plan
           submitted to the Forest Service.

      •    The affected area from the release will be considered disturbed area due to mining
           operations and included under the MSGP. This area should be incorporated into your
           stormwater management plan until vegetation cover meets requirements to remove it.


DEQ appreciates your cooperation in resolving this matter. DEQ encourages you to continue
your compliance efforts; responsibility for compliance with the IPDES permit rests with the
permittee.

If you have any questions concerning this matter, please do not hesitate to contact me at 208-
239-5013 or via email roy.henson@deq.idaho.gov.



Sincerely,




Roy Henson
IPDES Pocatello Regional Compliance Officer

cc:        Troy Smith, IPDES Bureau Chief, DEQ State Office
           Jennifer Cornell, Surface Water Quality Manager, DEQ Pocatello Office
           Katy Bergholm, Regional Administrator, DEQ Pocatello Office
           Ron Quinn, Smoky Canyon Mine, lori.hamann@simplot.com
           Lori Lusty, Smoky Canyon Mine, ron.quinn@simplot.com




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  Lynn Rasmussen at Diamond Creek July 2024
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              Diamond Creek flats near campground 2024




           Diamond Creek riparian and marsh area to follow
                             July 2024
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Aerial Veiw Hornet Creek May 2024
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           EXHIBIT 29
